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 15                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 16                             LOS ANGELES DIVISION
 17   THE COUNTY OF LOS ANGELES, THE Case No. 2:19-cv-01773-JFW-MAA
      STATE OF CALIFORNIA, and THE
 18   UNITED STATES OF AMERICA ex rel.
      KAREN GLUCK                      THIRD AMENDED COMPLAINT
 19
            Plaintiffs,
 20                                            JURY TRIAL DEMANDED
                    v.
 21                                  Assigned to the Hon. John F. Walter,
      THOMAS SHEPOS, ARMAN GABAEE, Courtroom 7A, and Magistrate Judge
 22   MARK GABAEE, SANCAM, INC., THE Maria A. Audero, Courtroom 880
      CHARLES COMPANY, THE CHARLES
 23   COMPANY, INC., EXCEL PROPERTY
      MANAGEMENT SERVICES, INC.,
 24   OAKSHIRE, LLC, WILHURST, INC.,
      TOWN INVESTMENTS, LLC, M & A
 25   GABAEE, A CALIFORNIA LIMITED
      PARTNERSHIP, GREENOAK
 26   INVESTMENTS, LLC, MAPLE19, LP,
      URBAN GROVE19, LLC, OPPIDAN,
 27   LLC, LEON NEMAN, YOEL NEMAN,
      JOHN NEMAN, NEMAN BROTHERS &
 28

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      ASSOCIATES, INC., VERTIGO REAL
      ESTATE HOLDINGS, LP, LEGEND
      REAL ESTATE MANAGEMENT, INC.,
      DONALD G. ABBEY, NITTANY LION
      LANDSCAPING, INC. (d/b/a NL
      SERVICES, INC. and NL
      LANDSCAPING SERVICES, INC.),
      THE ABBEY COMPANIES LLC (d/b/a
      THE ABBEY COMPANY LLC),
      ABBEY-PROPERTIES LLC, DGA-
      PROPERTIES, LLC, AP-PALMDALE
      LLC, AP-PALMDALE PLACE LLC, AP-
      COMMERCE PLAZA LLC, CDCF III
      PACIFIC COMMERCE PLAZA, LLC,
      THE ABBEY MANAGEMENT
      COMPANY, LLC, AP-SIERRA LLC,
      ABBEY-PROPERTIES II LLC, DGA-
      PROPERTIES LLC, DGA-PROPERTIES
      II, LLC, FRANK A. VISCO, VISCO
      FINANCIAL INC., FRABER
      PROPERTIES II, LLC, GREGORY
      HANES, 300 K-6, LLC, and 43917
      DIVISION STREET, LLC.
           Defendants.




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                                       INTRODUCTION
            1.     Qui Tam Plaintiff Karen Gluck brings this suit against a group of
      commercial real estate developers, contractors, businesspersons, and a former Los
      Angeles County employee, Thomas Shepos (“Shepos”), who engaged in a decades-
      long bribery and kickback scheme to defraud Los Angeles County (the “County”),
      the State of California (the “State”), and the federal government through hundreds of
      millions of dollars in commercial real estate leases and other significant financial
      opportunities. This long-running and lucrative scheme would not have been
      discovered had it not been for the original source of information related to the
      fraudulent scheme—Ms. Gluck—who, when asked, cooperated fully with FBI
      investigators, County and State investigators, and the U.S. Attorney’s Office, turning
      over various types of evidence of the bribes received by her now-ex-husband Shepos.
            2.     Through the scheme, developers, contractors, and businesspersons
      provided Shepos with (a) cash and bank deposits on a monthly basis; (b) pre-paid
      credit and gift cards; (c) hundreds of thousands of dollars in free home construction;
      (d) valuable tickets to concerts and sporting events; (e) plane tickets, hotel stays, and
      trips to various destinations; and (f) property management contracts for Shepos’s side
      business CT Management. In exchange, developers, contractors, and businesspersons
      (1) minimized risk by getting assurances of future leases from the County before
      purchasing property to develop; (2) secured above-market leases, often on a no-bid
      basis; (3) avoided paying for repairs for which they were contractually obligated; and
      (4) were paid on fraudulent invoices to the County for inflated utility costs and
      improvements that were never made.
            3.     Ms. Gluck’s efforts to discover the truth and her cooperation, at the
      government’s request, have resulted in federal criminal proceedings and an extensive
      County-led investigation. Specifically, the U.S. Attorney’s Office has already
      indicted four individuals, including Defendant Arman Gabaee, a developer with over
      $100 million in County leases who pleaded guilty to one count of bribery, and
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      Shepos, who pleaded guilty to multiple offenses and admitted that Arman Gabaee
      provided him with hundreds of thousands of dollars in bribes since 2010 alone.
      Additionally, the County’s investigation has revealed that Shepos’s and Arman
      Gabaee’s federal guilty pleas were merely the tip of the iceberg: Shepos was
      responsible for hundreds of millions of dollars’ worth of contracts tainted by fraud,
      bribery, and corruption. Yet, other developers, contractors, and businesspersons—
      including Defendants here—have so far avoided accountability.
            4.     Ms. Gluck was married to Shepos and had a young daughter with him
      when she began to discover some of Shepos’s criminal activity and realized the man
      she thought she had married and her life with him had been a mirage. Shepos tried to
      convince her that he had a gambling addiction which explained his misconduct, but
      a psychiatrist instead diagnosed Shepos with antisocial personality disorder (i.e.,
      Shepos was a psychopath). The psychiatrist advised Ms. Gluck to “run, not walk” out
      of her marriage and, in 2011, she tried to do just that by filing for divorce.
            5.     During the subsequent years in which Shepos stalled their divorce-
      related proceedings by filing multiple, fraudulent bankruptcies, Ms. Gluck continued
      to find additional information about Shepos’s illegal activity in connection with his
      work at the County and in numerous other respects. What she found frightened her:
      Shepos appeared to have committed acts of tax evasion, money laundering, bribery,
      corruption, embezzlement, forgery, fraud, and more. Shepos’s extensive criminal
      activity not only lasted throughout their marriage and after, but it had begun much
      earlier: Ms. Gluck was shocked to discover that Shepos had a history of embezzling
      from prior employers and had committed bigamy with two prior wives before he met
      Ms. Gluck.
            6.     After a chance encounter with an assistant U.S. Attorney who worked
      in major frauds—and who urged Ms. Gluck to “do the right thing”—Ms. Gluck
      shared what she had discovered with the federal government and later with County
      and State investigators at the government’s request. Ms. Gluck did so freely and
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      without demanding anything in exchange. She did so, despite her own fears and at
      significant cost to her own peace of mind after years of trauma inflicted by Shepos,
      because she knew it was indeed the right thing to do.
              7.   Ms. Gluck continues to cooperate with the County, the State, and the
      federal government—and ultimately, taxpayers—to recover the money fraudulently
      obtained through Shepos’s illegal schemes.
                                          PARTIES
              8.   The Plaintiffs are the County of Los Angeles, the State of California,
      and the United States, all of which provided funds that paid for monthly lease
      payments and related charges under contracts entered into by Los Angeles County
      that had been procured through various fraudulent acts.
              9.   The following individuals and entities participated in the fraudulent
      acts:
                   a)    Thomas Shepos is a resident of Palmdale, California. From about
                         February 1998 to about August 2017, Shepos was a high-level
                         public official employed by the County’s Chief Executive Office
                         – Real Estate Division.
                   b)    Arman Gabaee (also known as “Arman Gabay”) is a resident of
                         California and is currently incarcerated at the Federal
                         Correctional Complex, Lompoc, located at 3705 West Farm
                         Road, Lompoc, CA 93436.
                   c)    Mark Gabaee (also known as “Mark Gabay”) is a resident of
                         Beverly Hills, California. Mark Gabaee is Arman Gabaee’s older
                         brother.
                   d)    Sancam, Inc. (“Sancam”) is a California corporation with its
                         principal place of business at 9034 W. Sunset Boulevard, West
                         Hollywood, CA 90069. Mark Gabaee is its Director, Chief
                         Executive Officer, and President. Sancam was identified as DOE
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                       4 in the Original Complaint.
                 e)    The Charles Company is a California general partnership with its
                       principal place of business at 9034 W. Sunset Blvd., West
                       Hollywood, CA 90069. Mark and Arman Gabaee are the co-
                       managing partners and co-founders of the Charles Company, a
                       real-estate development firm. The Charles Company also does
                       business as The Charles Company, Inc., a California corporation
                       with its principal place of business at 9034 W. Sunset Blvd., West
                       Hollywood, CA 90069. The Charles Company, Inc. (to the extent
                       it is distinct from the Charles Company) was identified as a DOE
                       Defendant in previous complaints in this action.
                 f)    Excel Property Management Services, Inc. (“Excel Property
                       Management”) is a corporation organized under the laws of
                       California with its principal place of business at 9034 W. Sunset
                       Blvd., West Hollywood, CA 90069. Mark Gabaee is the Director,
                       Chief Executive Officer, Chief Financial Officer, and Secretary
                       of Excel Property Management. John J. Carroll IV (“Carroll”)
                       previously acted as Excel Property Management’s President.
                       Arman Gabaee previously acted as Excel Property Management’s
                       Secretary.
                 g)    Oakshire, LLC (“Oakshire”) was a Delaware corporation with its
                       principal place of business at 9034 W. Sunset Boulevard, West
                       Hollywood, CA 90069. Oakshire was identified as DOE 1 in the
                       Original Complaint.
                 h)    Wilhurst, Inc. (“Wilhurst”) (formerly WDO, Inc.) is a Delaware
                       corporation with its principal place of business at 9034 W. Sunset
                       Boulevard, West Hollywood, CA 90069. Wilhurst was
                       Oakshire’s managing member and is Oakshire’s successor-in-
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                       interest. Mark Gabaee is Wilhurst’s Chief Executive Officer,
                       Chief Financial Officer, and President. Arman Gabaee is
                       Wilhurst’s Vice President. Wilhurst was identified as DOE 2 in
                       the Original Complaint.
                 i)    Town Investments, LLC (“Town Investments”) is a California
                       limited liability company with its principal place of business at
                       9034 W. Sunset Boulevard, West Hollywood, CA 90069. Sancam
                       is Town Investments’ managing member, and Mark Gabaee is a
                       member. Town Investments was identified as DOE 3 in the
                       Original Complaint.
                 j)    M & A Gabaee, a California Limited Partnership (“M&A
                       Gabaee”) is a limited partnership organized under the laws of
                       California with its principal place of business at 9034 W. Sunset
                       Blvd., West Hollywood, CA 90069. Sancam is M&A Gabaee’s
                       general partner.
                 k)    Greenoak Investments, LLC (“Greenoak”) is a California limited
                       liability corporation with its principal place of business at 9034
                       W. Sunset Boulevard, West Hollywood, CA 90069. Greenoak’s
                       managing member is Sancam, and its President is Mark Gabaee.
                       Previously, Greenoak’s managing member was Coland, Inc., of
                       which Mark Gabaee was President. Greenoak was identified as
                       DOE 5 in the Original Complaint.
                 l)    Maple19, LP (“Maple19”) is a limited partnership organized
                       under the laws of Delaware, with its principal place of business
                       at 9034 W. Sunset Boulevard, West Hollywood, CA 90069.
                       Maple19 was identified as DOE 6 in the Original Complaint.
                 m)    Urban Grove19, LLC (“Urban Grove19”) is a Delaware limited
                       liability corporation with its principal place of business at 9034
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                       W. Sunset Boulevard, West Hollywood, CA 90069. Urban
                       Grove19 is the general partner of Maple19. Mark Gabaee is
                       Urban Grove19’s manager. Urban Grovel9 was identified as DOE
                       7 in the Original Complaint.
                 n)    Oppidan, LLC (“Oppidan”) was a California limited liability
                       corporation with its principal place of business at 9034 W. Sunset
                       Boulevard, West Hollywood, CA 90069. Its managing member
                       was Sancam, and Mark and Arman Gabaee were its members.
                       Oppidan was identified as DOE 8 in the Original Complaint.
                 o)    Defendants Mark Gabaee, Arman Gabaee, The Charles
                       Company, The Charles Company, Inc., Excel Property
                       Management, M&A Gabaee, Oakshire, Wilhurst, Town
                       Investments, Sancam, Greenoak, Maple19, Urban Grove19, and
                       Oppidan are collectively referred to as the “Gabaee Defendants.”
                 p)    Leon Neman is a resident of Beverly Hills, California.
                 q)    Yoel Neman is a resident of Beverly Hills, California.
                 r)    John Neman is a resident of Beverly Hills, California. John
                       Neman was identified as DOE 9 in the Original Complaint.
                 s)    Neman Brothers & Associates, Inc. (“Neman Brothers”) is a
                       corporation organized under the laws of California with its
                       principal place of business at 1525 S. Broadway St., Los Angeles,
                       CA 90015. Leon, Yoel, and John Neman are the Directors of
                       Neman Brothers. Yoel Neman is its Chief Executive Officer,
                       Chief Financial Officer, and Secretary.
                 t)    Vertigo Real Estate Holdings, LP (“Vertigo”) is a limited
                       partnership organized under the laws of California with its
                       principal place of business at 1525 S. Broadway St., Los Angeles,
                       CA 90015.
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                 u)    Legend Real Estate Management, Inc. (“Legend”) is a
                       corporation organized under the laws of California with its
                       principal place of business at 1525 S. Broadway St., Los Angeles,
                       CA 90015. Legend is the general partner of Vertigo. Leon, Yoel,
                       and John Neman are Legend’s Directors. Leon Neman is also
                       Legend’s Chief Executive Officer and Chief Financial Officer.
                       Yoel Neman is Legend’s Secretary.
                 v)    Defendants Leon Neman, Yoel Neman, John Neman, Neman
                       Brothers, Vertigo, and Legend are hereinafter referred to as the
                       “Neman Defendants.”
                 w)    Donald G. Abbey is a resident of La Quinta, California.
                 x)    Nittany Lion Landscaping, Inc. (“Nittany Lion”) is a corporation
                       organized under the laws of California with its principal place of
                       business at 12447 Lewis Street, Suite 203, Garden Grove, CA
                       92840. Abbey owns Nittany Lion, which also does business as
                       NL Services, Inc. or NL Landscaping Services, Inc. (“NL
                       Services”).
                 y)    The Abbey Companies LLC (operating under the alternate name
                       “The Abbey Company LLC” in California) (“The Abbey
                       Company”) is a limited liability company organized under the
                       laws of Delaware with its principal place of business at 12447
                       Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey is the
                       managing member of the Abbey Company. The Abbey Company
                       was identified as DOE 39 in the Original Complaint.
                 z)    Abbey-Properties LLC (“Abbey-Properties”) is a limited liability
                       company organized under the laws of Delaware with its principal
                       place of business at 12447 Lewis Street, Suite 203, Garden Grove,
                       CA 92840. Its managing member is The Abbey Company.
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                 aa)    DGA-Properties LLC (“DGA-Properties”) is a Delaware limited
                        liability company with its principal place of business at 12447
                        Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey is the
                        Chief Executive Officer of DGA-Properties, and its managing
                        member is Abbey-Properties LLC. DGA-Properties was
                        identified as DOE 11 in the Original Complaint.
                 bb)    AP-Palmdale LLC (“AP-Palmdale”) is a limited liability
                        company organized under the laws of California with its principal
                        place of business at 12447 Lewis Street, Suite 203, Garden Grove,
                        CA 92840. Abbey is AP-Palmdale’s Chief Executive Officer, and
                        its managing member is DGA-Properties.
                  cc)   AP-Palmdale Place LLC (“AP-Palmdale Place’) is a Delaware
                        limited liability company with its principal place of business at
                        12447 Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey
                        is AP-Palmdale Place’s Chief Executive Officer, and its
                        managing member is DGA-Properties. AP-Palmdale Place is the
                        successor-in-interest to AP-Palmdale. AP-Palmdale Place was
                        identified as DOE 40 in the Original Complaint.
                  dd)   AP-Commerce Plaza LLC (“AP-Commerce Plaza”) was a limited
                        liability company organized under the laws of Delaware with its
                        principal place of business in 14770 E Firestone Blvd., Suite 206,
                        La Mirada, CA 90638. Abbey was AP-Commerce Plaza’s Chief
                        Executive Officer, and its managing member was Abbey-
                        Properties.
                 ee)    CDCF III Pacific Commerce Plaza, LLC (“CDCF III”) was a
                        Delaware limited liability company with its principal place of
                        business at 515 S. Flower Street, 44th Floor, Los Angeles, CA
                        90071. CDCF III is a successor-in-interest to AP-Commerce
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                       Plaza. CDCF III was identified as DOE 13 in the Original
                       Complaint.
                 ff)   The Abbey Management Company LLC (“The Abbey
                       Management Company”) is a limited liability company organized
                       under the laws of Delaware with its principal place of business at
                       12447 Lewis Street, Suite 203, Garden Grove, CA 92840. The
                       Abbey Company is the Abbey Management Company’s
                       managing member.
                 gg)   AP-Sierra LLC (“AP-Sierra”) is a limited liability company
                       organized under the laws of Delaware with its principal place of
                       business at 12447 Lewis Street, Suite 203, Garden Grove, CA
                       92840. Abbey is AP-Sierra’s Chief Executive Officer, and its
                       managing member is DGA-Properties.
                 hh)   Abbey-Properties II LLC (“Abbey-Properties II”) is a limited
                       liability company organized under the laws of Delaware on or
                       around December 21, 2021 and registered in California on
                       January 10, 2022 with its principal place of business at 12447
                       Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey-
                       Properties II’s managing member is The Abbey Company.
                       Abbey-Properties II is the successor-in-interest of two identically
                       named entities. The first “Abbey-Properties II LLC” was
                       organized under the laws of California in or around December
                       2005 and terminated on or around January 16, 2018. Abbey was
                       both the managing member and Chief Executive Officer of that
                       first predecessor-in-interest. The second “Abbey-Properties II
                       LLC” was organized under the law of Delaware in or around June
                       2017 and terminated on or around January 7, 2022. Abbey was
                       the Chief Executive Officer of that second predecessor-in-
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                       interest, and its managing member was the Abbey Company.
                       Abbey-Properties II was identified as DOE 10 in the Original
                       Complaint.
                 ii)   DGA-Properties II, LLC (“DGA-Properties II”) was a Delaware
                       limited liability company with its principal place of business at
                       14770 E. Firestone Blvd., Suite 206, La Mirada, CA 90638.
                       Abbey was DGA-Properties II’s Chief Executive Officer, and its
                       managing member was Abbey-Properties. DGA-Properties II
                       was identified as DOE 12 in the Original Complaint.
                 jj)   Defendants Abbey, Nittany Lion, The Abbey Company, Abbey-
                       Properties, DGA-Properties, AP-Palmdale, AP-Palmdale Place,
                       AP-Commerce Plaza (to which CDCF III is a successor-in-
                       interest), The Abbey Management Company, AP-Sierra, Abbey-
                       Properties II, and DGA-Properties II are hereinafter referred to as
                       the “Abbey Defendants.”
                 kk)   Frank A. Visco is a resident of Thousand Oaks, California.
                 ll)   Visco Financial Inc. (“Visco Financial”) is a California
                       corporation with its principal place of business at 44824 Cedar
                       Avenue, Lancaster, CA 93534. Visco is its Director and Chief
                       Executive Officer. Visco Financial was identified as DOE 14 in
                       the Original Complaint.
                 mm) Fraber Properties II, LLC (also doing business as Fraber II, LLC)
                       (“Fraber II”) is a California limited liability company with its
                       principal place of business at 44824 Cedar Avenue, Lancaster,
                       CA 93534. Visco is its manager. Fraber II was identified as DOE
                       15 in the Original Complaint.
                 nn)   Defendants Visco, Visco Financial and Fraber II are hereinafter
                       referred to as the “Visco Defendants.”
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                   oo)   Gregory Hanes (“Hanes”) is a resident of California and can be
                         found at 43903 Division Street, Lancaster, CA 93535. Hanes is a
                         landlord for certain properties leased by the County and a
                         construction contractor who has done business with the County.
                         Hanes was identified as DOE 19 in the Original Complaint.
                   pp)   300 K-6, LLC (“300 K-6”) is a limited liability company
                         organized under the laws of California with its principal place of
                         business at 43903 Division Street, Lancaster, CA 93535. Hanes
                         is its managing member. 300 K-6 was identified as DOE 20 in the
                         Original Complaint.
                   qq)   43917 Division Street, LLC (“43917 Division”) is a limited
                         liability company organized under the laws of California with its
                         principal place of business at 43903 Division Street, Lancaster,
                         CA 93535. Hanes is its managing member. 43917 was identified
                         as DOE 21 in the Original Complaint.
                   rr)   Defendants Hanes, 300 K-6, and 43917 Division are hereinafter
                         referred to as the “Hanes Defendants.”
                                JURISDICTION AND VENUE
            10.    Under 31 U.S.C. § 3732(a) and 28 U.S.C. § 1331, this Court has subject
      matter jurisdiction over all alleged violations of 31 U.S.C. § 3730, the federal False
      Claims Act (“FCA”). Under 31 U.S.C. § 3732(b) and 28 U.S.C. § 1332, this Court
      has jurisdiction over all alleged violations of Cal. Gov’t Code § 12651, the California
      False Claims Act (“CFCA”).1

      1
        By virtue of the County’s intervention in this case, the County’s Amended
      Complaint in Intervention is the operative complaint with respect to Qui Tam
      Plaintiff’s claims, first alleged in the Original Complaint, under the CFCA on behalf
      of the County and the State. Qui Tam Plaintiff has “the right to continue as a party”
      to those CFCA claims, and she elects to do so. Cal. Gov’t Code § 12652(b)(3). The
      County’s Amended Complaint in Intervention is incorporated by reference herein.
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             11.   Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1), (2), and/or
      (3).
                                               FACTS
      I.     Ms. Gluck Begins to Uncover Shepos’s Misconduct.
             A.    Ms. Gluck’s Background.
             12.   Ms. Gluck was born in New York and raised in Los Angeles by her
      parents, two working-class immigrants from Europe who owned a small bakery.
      Throughout her life, Ms. Gluck’s parents taught her the importance of hard work,
      integrity, telling the truth, and doing the right thing.
             13.   Ms. Gluck studied at California State University in Northridge, where
      she earned a B.A. in Radio and Television with a minor in Journalism.
             14.   After graduating from college, Ms. Gluck embarked on a successful
      career in the entertainment industry. In the late 1970s, Ms. Gluck worked at the
      KTTV Channel 11 television station as a research analyst supporting the sales
      department. Ms. Gluck then accepted an opportunity to work as an assistant associate
      producer for the 1979 Academy Awards. In the 1980s, Ms. Gluck continued her
      entertainment career working with well-known manager Marty Litke, who managed
      notable film and television writers and actors, including Valerie Bertinelli and Kate
      Capshaw. Ms. Gluck also helped launch HITS Magazine, a music industry
      publication. By the late 1980s, Ms. Gluck worked in sales for IDB Communications,
      a company producing international and domestic live satellite shows focused on news
      and entertainment. Over the course of her career, Ms. Gluck also pitched film projects
      to major studios, produced a seven-site album release event for Bon Jovi, and
      produced other work in live audio and video projects.
             15.   By the 1990s, Ms. Gluck became the CEO of her own successful
      syndication company focused on television specials, including Cirque du Soleil and
      Black History Month specials. Ms. Gluck was a successful, independent professional
      who, through years of hard work and perseverance, owned her own entertainment
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      business and a condominium in Santa Monica.
            B.     Ms. Gluck Marries Shepos.
            16.    Ms. Gluck then met Shepos in 1993 at the airport after attending an
      event for volunteers for the City of Hope, a cancer treatment center. Shepos was
      charming and charismatic—they hit it off, exchanged information, and began dating.
            17.    At that time, Shepos seemed to have very little to his name. Shepos’s
      occupation at the time was running a small property management company called CT
      Management, which managed a couple of strip mall properties for their owners.
      Shepos drove an old, beat-up car, claimed to own no real estate, and told Ms. Gluck
      that he was paying child and spousal support from a prior marriage (though his
      children from that marriage would not speak to him at the time).
            18.    Ms. Gluck did not care about Shepos’s apparent lack of material
      success—she fell in love with him, and that was all that mattered to her.
            19.    In 1993, Shepos moved into Ms. Gluck’s condominium in Santa
      Monica, and in 1996, he and Ms. Gluck were married.
            C.     Shepos Begins Working for the County.
            20.    Only two years after they were married, in 1998, a friend of Ms. Gluck’s
      told Shepos about a job opening in the Real Estate and Leasing Division of the Los
      Angeles County Chief Executive Office.
            21.    Ms. Gluck thought the position would be a good fit for Shepos because
      of his background as a property manager and encouraged him to apply. Shepos
      applied and was hired by the County. Even while working for the County, however,
      Shepos continued to maintain his property management company CT Management
      on the side and, to the best of Ms. Gluck’s knowledge, continued to manage multiple
      strip malls that housed restaurants and other businesses.
            22.    Shepos’s role with the County gave him the authority to bind the County
      to real estate transactions, influence County real estate decisions, and manage
      ongoing commercial relationships relating to real estate. Often, these leases were on
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      behalf of government departments seeking space, such as property for a school or a
      health clinic. However, Shepos also purchased land on behalf of the County for
      environmental restoration efforts and other green space initiatives, and he was privy
      to non-public information as to the County’s future development plans. In theory,
      Shepos should have acted on behalf of the County and its taxpayers and sought public
      and transparent bids in order to ensure the County paid a fair market rate. In practice,
      Shepos solicited and accepted bribes in exchange for his acts on behalf of billion-
      dollar commercial real estate companies—including funneling hundreds of
      transactions to them on a no-bid basis so that they could bilk taxpayers for above
      market rents, phantom improvement charges, and inflated management costs and
      utilities.
             D.    Ms. Gluck Steps Back from Work to Become the Primary Caregiver
                   for Her Daughter and Her Ailing Parents at Shepos’s Insistence.
             23.   Within a few years after Shepos began working for the County, life
      circumstances forced Ms. Gluck to leave her professional career in order to become
      a caretaker for her parents and, a couple of years later, her daughter.
             24.   Between 1997 and 1998, Ms. Gluck’s mother became seriously ill and
      was hospitalized for seven months. During that time, Ms. Gluck cared for her mother
      daily until she passed away.
             25.   Then in 2000, Shepos and Ms. Gluck had their only child, a daughter.
      At Shepos’s urging, Ms. Gluck then left her successful career at age 43 to become a
      stay-at-home mother.
             26.   While she was raising their daughter, Ms. Gluck was also taking care of
      her father, who moved into Ms. Gluck’s building in 2000 to be closer to her. Ms.
      Gluck’s father became increasingly reliant on Ms. Gluck to drive, cook, and care for
      his escalating medical needs.
             27.   From 2004 to 2008, Ms. Gluck’s father was in and out of the hospital
      with cancer, and Ms. Gluck became his round-the-clock caregiver.
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             28.    While she was caring for her daughter and father, Ms. Gluck was also
      managing her own long-standing, auto-immune disease that doctors at the time
      diagnosed as Lupus.
             29.    Under these circumstances, and at Shepos’s repeated insistence, Ms.
      Gluck focused on caring for herself and her family, stepping back from her career
      while Shepos took over the family’s finances.
             30.    Ms. Gluck had no reason at that time to distrust Shepos. She believed
      him to be a family man who, by this point and with Ms. Gluck’s help, had repaired
      his relationship with his now-adult children from his prior marriage and was thrilled
      to be a father again to their daughter later in life.
             31.    And Ms. Gluck thought, despite hardships with her health and her father,
      that she and Shepos had made a beautiful and perfectly happy family together. She
      believed they had a fairy-tale love story that was the envy of their friends and
      acquaintances. Her happiness shone through in family photos from the early-to-mid
      2000s:




             E.     Shepos Convinces Ms. Gluck to Purchase the Bel Air Property,
                    Which (Unbeknownst to Ms. Gluck at the Time) Was a Vehicle for
                    Him to Receive Bribes.
             32.    In 2003, while the real estate market was booming, Shepos convinced
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      Ms. Gluck to purchase a property in Bel Air on Roscomare Road, renovate it, and
      later sell it for a profit.
             33.     The property was a “fixer upper” which cost around $800,000 to
      purchase. Shepos convinced Ms. Gluck to take out equity in her Santa Monica
      condominium, which had appreciated substantially since she purchased it in the early
      1990s, to pay the approximately $160,000 down payment. Ms. Gluck agreed. 2
             34.     Shepos told Ms. Gluck that he would take out a construction loan to
      renovate the Roscomare Road property and that, through his work as a property
      manager with CT Management, he knew various contractors and vendors who could
      provide discounted services to renovate the property.
             35.     Ms. Gluck believed Shepos because this statement was consistent with
      others he had made since their marriage: he had previously opened a separate P.O.
      box for his CT Management side business, claiming that he would receive an
      overwhelming amount of vendor solicitation mail from roofers, painters, and other
      construction workers and did not want it to clog their home mailbox.
             36.     Once the renovations began, Ms. Gluck visited the Bel Air property on
      a near-daily basis and spoke to various workers and contractors who were on site,
      believing them to be acquaintances of Shepos’s through CT Management. (It was not
      until years later that she would learn otherwise. As detailed in Parts I.G and I.I below,
      she only later learned that many of the workers she met at the property were
      associated with County vendors who were, in fact, bribing Shepos).
             37.     Ms. Gluck was primarily involved with landscaping, interior design
      features, and working with the architect, but she had little-to-no insight into the
      finances underlying the property. That is because (1) Shepos kept a separate bank

      2
       Shepos had also previously convinced Ms. Gluck that she should add Shepos to the
      grant deed for her condominium, even though it was her separate property from
      before their marriage. Shepos told her that given her auto-immune disorder, he should
      be listed as an owner of the condominium to make sure that he could take care of
      their daughter should Ms. Gluck’s health unexpectedly deteriorate.
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      account for CT Management (which Ms. Gluck would only later learn he used to
      funnel bribes related to the Roscomare Road property); and (2) Ms. Gluck had
      deferred to Shepos on overseeing their finances in order to focus on her health issues,
      raising her daughter, and caring for her father.
            F.     Ms. Gluck Begins to Notice Shepos’s Suspicious Behavior.
            38.    During the renovations on the Bel Air property, Ms. Gluck began to
      notice that Shepos was becoming increasingly stressed and was taking out his
      frustration by verbally berating their daughter. Ms. Gluck then began to notice other
      signs that something was amiss. And those signs led her to recall other things that
      had struck her as odd over the course of their marriage.
            39.    For example, Shepos seemed to spend an inordinate amount of time with
      a man named Frank Visco who Shepos referred to as one of his “County clients.”
      Visco would frequently call Shepos on weekends (sometimes asking if Shepos
      wanted to “go for a ride in his Maybach”), and Shepos would travel to Lancaster
      every Wednesday to meet with Visco and others. Shepos never told Ms. Gluck why
      he needed to be in Lancaster during a workday or why he met with Visco so
      frequently. On one occasion, Shepos borrowed Ms. Gluck’s car, which was larger
      than his, saying that he needed to drive Visco and others to look at some real estate
      in Tehachapi.
            40.    Additionally, when Shepos and Ms. Gluck would take occasional
      weekend trips to Las Vegas, Visco frequently happened to be in Vegas as well, and
      Shepos would insist on having dinner with Visco or otherwise meeting with him.
      Visco would pick up the tab for these expensive meals, and Ms. Gluck also noticed
      Shepos gambling with Visco in a high-limit room at a Las Vegas casino on one
      occasion. Around 2008, Ms. Gluck also observed Visco visiting the Bel Air property
      that she and Shepos were renovating.
            41.    Shepos would frequently make disturbing comments about Visco being
      “connected.” On one occasion, he showed Ms. Gluck a news article that called Visco
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      the “godfather.” Shepos loved the article and told Ms. Gluck that he showed it to
      Visco and kneeled down to kiss Visco’s ring. Ms. Gluck found that Shepos even kept
      a copy of this article in an envelope with other important documents like the titles to
      their cars and her father’s eulogy, having hand-written a label on the envelope that
      read, in part, “Visco — newspaper godfather.”
              42.     While Shepos also regularly referred to Visco as his “County client,” in
      reality, Visco was a developer with County contracts. This foreshadowed Shepos’s
      gross distortion of his role and his failure to respect that his client was the County
      and its taxpayers, not the vendors and developers leasing property to the County.
              G.      Ms. Gluck Discovers Evidence of Shepos’s Inappropriate
                      Relationships with Developers.
              43.     Then, in March 2010, while Ms. Gluck was cleaning and organizing her
      condominium, she discovered multiple alarming documents in a box under Shepos’s
      bedside table: (1) a tax document from the Palm Springs Hotel and Casino with
      Shepos’s social security number transposed; and (2) credit card statements appearing
      to show that Shepos had taken out a cash advance of over $48,000 in separate
      transactions.
              44.     Ms. Gluck was shocked. She did not know that Shepos had been to the
      Palm Springs Hotel and Casino, nor could she think of any reason why he would
      have (1) transposed his social security number or (2) taken out such a large cash
      advance. Ms. Gluck called a close friend, a lawyer, over to the condominium to show
      her what she had found.
              45.     Ms. Gluck was scared that perhaps someone had stolen Shepos’s credit
      cards or identity. At her friend’s urging, and while her friend was present, Ms. Gluck
      called Shepos frantically asking what had happened and whether his credit card had
      been stolen. Shepos seemed strangely calm over the phone, told her his cards had not
      been stolen, and told her he would explain what happened when he got home from
      work.
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            46.      Ms. Gluck confronted Shepos with the documents when he arrived
      home and again asked what had happened. Shepos seemed off-kilter and began
      saying things he had never told Ms. Gluck before. Shepos told Ms. Gluck that he and
      Visco had been gambling in Palm Springs and that Shepos had “loaned” the cash
      advance of approximately $48,000 to Visco. This made no sense to Ms. Gluck
      because Visco was a wealthy developer and Shepos was merely a government
      employee on a public servant’s salary.
            47.      Ms. Gluck asked that Shepos write down every time he had gambled
      with a “County client,” as Shepos referred to them. Shepos began writing a note titled
      “Backwards” which listed, in reverse chronological order, the times he claimed to
      have gambled with Visco.
            48.      Shepos also listed all the times he claimed to have gambled with another
      individual: Arman Gabaee. Ms. Gluck recalled that name because she had met Arman
      Gabaee several times earlier.
            49.      First, on October 13, 2000, the day after Ms. Gluck gave birth to their
      daughter, Shepos brought Arman Gabaee into the hospital room to meet Ms. Gluck
      and her newborn baby (and Arman Gabaee presented Ms. Gluck with a large basket
      filled to the brim with clothes for her baby). Ms. Gluck thought it was very strange
      for Shepos to bring a “County client” to her hospital room so shortly after she gave
      birth, but she chalked it up to Shepos’s excitement at being a father again.
            50.      Second, and as discussed further below, Ms. Gluck and Shepos also
      socialized with Arman Gabaee and his cousins, Isaac and Alex Moradi, attending the
      House of Blues together on occasion.
            51.      Third, Ms. Gluck and Shepos had on occasion been invited to personal
      Gabaee family events, including a family funeral and Arman Gabaee’s daughter’s
      bat mitzvah.
            52.      Ms. Gluck was shocked to see the note that Shepos had written. This
      was the final straw for her with respect to Shepos’s inappropriate relationship with
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      Visco. She immediately told Shepos that she did not like the influence Visco had on
      their lives and told him: “You need to choose. It’s me and our daughter and your
      family, or it’s Frank.”
            53.    Ms. Gluck told Shepos to call Visco and his boss at the County, Carlos
      Marquez, in front of her to request that he no longer work on Visco’s projects for the
      County.
            54.    In response, Shepos cried in front of Ms. Gluck for the first time ever,
      begging and pleading with her to be allowed to continue working with Visco until
      “September or October” because there was a “big deal” they were working on
      together. Ms. Gluck insisted that Shepos call Visco, and Shepos appeared afraid to
      do so, sobbing while repeatedly saying “you know who he knows!” Ms. Gluck
      assumed this was yet another of Shepos’s references to Visco being “the godfather”
      or “connected.”
            55.    Shepos finally called Visco in front of Ms. Gluck, still sobbing, telling
      Visco, “Frank, she knows! She knows! Frank, I just wanted to be like you!” Ms.
      Gluck was shocked, because she thought she knew nothing at all and had no idea
      what Shepos was talking about. Ms. Gluck did not say so, however, because she
      hoped that if Shepos believed she knew more than she did, he would begin telling her
      the truth about his bizarre relationship with Visco.
            56.    Shepos then ended the call with Visco to call his boss at Ms. Gluck’s
      insistence, and for the next 15 minutes Visco appeared to be frantically trying to call
      Shepos back, repeatedly calling his mobile and home phone numbers.
            57.    Shepos, however, was on the line with his boss at the County, Carlos
      Marquez. Shepos told Marquez that Ms. Gluck demanded that he no longer work on
      projects with Visco. While Marquez was on the phone, Shepos again began begging
      Ms. Gluck to be able to work with Visco just a few more months to complete his
      “really big project” in September or October.
            58.    Ms. Gluck was in disbelief that Shepos seemed to be choosing Visco,
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      who should merely have been one of many County vendors with whom Shepos did
      business, over her family. Clearly, there was something more to Visco’s relationship
      with Shepos. But that “something” was unknown to Ms. Gluck at the time.
            H.     Shepos Is Diagnosed as a Psychopath, and Gluck Files for Divorce.
            59.    After the incident in March 2010, Shepos blamed a purported gambling
      problem for his verbal abuse towards his and Ms. Gluck’s daughter and his frequent
      gambling with Visco and Gabaee. Shepos begged Ms. Gluck to give him another
      chance and to stay in the marriage.
            60.    Unbeknownst to Ms. Gluck at the time, Shepos used the notion of
      having a “gambling addiction” as cover for his illegal bribery schemes; indeed, years
      later, as discussed below, he would lie to the FBI by claiming that bribe proceeds
      were gambling proceeds.
            61.    Ms. Gluck was, however, extremely suspicious that Shepos’s claim to
      be an addict of any kind was a lie. Shepos rarely drank, never did drugs, and exhibited
      no signs of an addictive personality to Ms. Gluck’s knowledge. So the notion that he
      was a gambling addict made no sense to her.
            62.    In truth, Shepos’s supposed “gambling” and other “addictions”—of
      which Ms. Gluck saw no evidence during their marriage—were merely a pretext to
      (1) cover for large sums of money he received; (2) meet people who were actually
      struggling with addiction and whom he could manipulate into helping with his illicit
      schemes; and (3) manipulate the courts and others into sympathizing with him and
      believing he could be “reformed.”
            63.    Indeed, years later when going through papers she found (discussed
      further below), Ms. Gluck found Shepos’s hand-written notes to himself, apparently
      from the morning after she confronted him in March 2010. The notes in Shepos’s
      handwriting are shown below and reveal his cool calculation, noting:



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             I’m overwhelmed. I’m scared. I must rationally take steps slow to
             resolve issues which are coming to bear. . . . Relax and don’t get
             overwhelmed – make a list – set priorities – slow – think . . . . All Right.
             This is what I have to work with. It’s not the best in the world but I will
             do what I can with what I have!




            64.    Shepos’s claim to have a gambling addiction was his apparent solution,
      a way he could explain away his behavior and relationship with Visco without
      revealing the full truth to Ms. Gluck: that he was involved in a bribery scheme
      involving multiple developers to give them favorable contracts, inside information,
      and other benefits from the County.
            65.    And Shepos’s plan worked, at least for a time. Because Shepos claimed
      to have an addiction—and for the sake of their young daughter—Ms. Gluck insisted
      that they see a psychiatrist together, hoping that Shepos would seek treatment and
      finally come clean with the truth.
            66.    Ms. Gluck and Shepos began seeing a psychiatrist named Dr. Richard

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      Brightman. Shortly thereafter, Dr. Brightman diagnosed Shepos with antisocial
      personality disorder (“ASPD”). Ms. Gluck had no idea what that meant and initially
      reacted by saying, “no, that can’t be true; Tom is a very social person.”
            67.    Dr. Brightman explained that the ASPD diagnosis actually meant that
      Shepos was a psychopath and that, in his view, Ms. Gluck should “run, not walk” out
      of the marriage. At the very least, Dr. Brightman recommended that Ms. Gluck
      protect herself financially and lock away any valuables, keepsakes, or items of
      sentimental value from Shepos.
            68.    Once again, Ms. Gluck later found Shepos’s hand-written notes to
      himself confirming his diagnosis from “Richard,” stating, “I read @ least 6 different
      articles on ASD and it scares me – I shudder at what I read”:




            69.    Ms. Gluck shuddered at what she read as well. She quickly began
      researching what ASPD meant and discovered that people with ASPD have limited
      capacity for empathy, self-reflection, remorse, or improvement, and that famous
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      examples of people with ASPD include financial criminals like Bernie Madoff.
            70.     She also learned that the Diagnostic and Statistical Manual (“DSM”)
      defines the disorder as a pervasive pattern of and disregard for and violation of the
      rights of others, including three or more of the following: (i) engaging in unlawful
      behaviors; (ii) deceitfulness, such as lying, using aliases, or conning others for
      personal profit or pleasure; (iii) impulsivity; (iv) irritability and aggressiveness; (v)
      reckless disregard for safety of self or others; (vi) consistent irresponsibility, such as
      repeated failure to sustain consistent work behavior or honor financial obligations;
      and (vii) lack of remorse, such as being indifferent to or rationalizing having hurt,
      mistreated, or stolen from others. Dr. Brightman told Ms. Gluck that Shepos
      exhibited all the criteria for ASPD (though a subset would have been enough for the
      diagnosis).
            71.     Ms. Gluck, in short, began coming to the stunning realizations that she
      was married to an imposter and a monster, that her seemingly “perfect” life had been
      a lie, and that in fact she had no idea who her husband truly was.
            72.     In the months that followed—as Ms. Gluck struggled to cope with
      trauma from these discoveries while remaining strong for the sake of her young
      daughter—Ms. Gluck started uncovering numerous financial improprieties by
      Shepos.
            73.     She discovered evidence that Shepos had taken money out of their joint
      accounts and had fraudulently misappropriated her inheritance from her father, who
      by that point had passed away. Shepos had not only done so alone, but he had also
      enlisted the help of Ms. Gluck’s own sister. Shepos did so by falsifying escrow
      instructions for the inheritance: after Ms. Gluck signed those escrow instructions for
      the inheritance to be split 50/50 between Ms. Gluck and her sister, according to the
      will, Shepos then whited out the numbers and replaced them with 100% going to Ms.
      Gluck’s sister and 0% going to Ms. Gluck.
            74.     This was confirmed in a post-nuptial agreement that Shepos and Ms.
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      Gluck signed in June 2010, in which Shepos “acknowledge[d] that Karen received
      or was to receive inherited funds during their marriage, and that he borrowed funds
      from Karen’s father, some of which were wrongfully used by him without Karen’s
      knowledge or consent or as a result of misrepresentations by [Shepos] as to the
      parties’ financial circumstances.”
             75.   Ms. Gluck began going through mail that arrived at their house more
      carefully. Ms. Gluck remembered that Shepos had a P.O. box purportedly because
      the mailbox at their home was too small and he received a lot of vendor mail for CT
      Management. When she remembered Shepos’s P.O. box, Ms. Gluck demanded a key.
      Shepos reluctantly gave Ms. Gluck the key.
             76.   When Ms. Gluck visited Shepos’s P.O. box, the staff was sorting mail
      and had left the cover down. The names assigned to each mail slot were visible, and
      Ms. Gluck saw that Shepos’s P.O. box listed both his name and Arman Gabaee’s
      name. Ms. Gluck could think of no legitimate reason why Shepos and Arman
      Gabaee—one of Shepos’s “County clients” as he called them—would share a P.O.
      box.
             77.   Later in 2010, Ms. Gluck was putting away laundry and discovered a
      wad of $5,000 in cash and an expensive gold watch estimated to be worth over
      $20,000 in Shepos’s sock drawer. Ms. Gluck confronted Shepos about the P.O. box,
      the money, and the watch.
             78.   Shepos admitted that, for years, Arman Gabaee had been giving him
      $5,000 a month. Shepos claimed that the watch was a “birthday gift” from Arman
      Gabaee; Ms. Gluck thought this made no sense because, if that were true, it meant
      Shepos had been hiding the watch from her for at least 10 months since his birthday.
      Why would he hide something if it was truly innocuous?
             79.   Ms. Gluck began to understand that she knew little to nothing about
      what Shepos had been up to financially and decided she would never file joint tax
      returns with Shepos again as a result. Ms. Gluck retained an attorney and a CPA to
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      help her prepare to file separate tax returns for the first time since their marriage.
            80.    In March 2011, Ms. Gluck learned that Shepos had cashed in an $85,000
      insurance policy without her consent. She did not know what he did with the money.
            81.    Additionally, although by now Shepos had sold the Bel Air property for
      a profit in 2009, Shepos never told her where he deposited the proceeds of the sale.
      Then, in mid-2011, Ms. Gluck received a letter from the IRS identifying Shepos’s
      unreported income, including gambling proceeds and over $1 million in profits from
      the sale of the Bel Air property.
            82.    This was the final straw. Ms. Gluck knew she could no longer remain
      married to Shepos, however much she had hoped to keep her family together for their
      daughter’s sake.
            83.    Shortly thereafter, on June 16, 2011, Ms. Gluck separated from Shepos,
      and the following month, Ms. Gluck filed for divorce.
            I.     During Divorce Proceedings, Ms. Gluck Begins Piecing Together
                   Some of Shepos’s Fraud and Corruption.
            84.    During her divorce proceedings, Ms. Gluck obtained some discovery of
      Shepos’s bank accounts and credit cards. Ms. Gluck went to each of the banks at
      which she and Shepos had maintained joint bank accounts and asked whether Shepos
      maintained any other separate accounts. Ms. Gluck found several bank accounts and
      dozens of credit cards she was not aware of during her marriage. The bank statements
      revealed monthly direct deposits and numerous cash deposits ranging from $4,000 to
      $8,000. The bank statements also revealed that Shepos had written checks in the
      amount of $25,000 payable to one of Arman Gabaee’s employees, Sarah Withers.
      Over time, Ms. Gluck learned that Shepos had millions of dollars flowing through
      bank accounts that Ms. Gluck was not aware of because the accounts belonged to
      Shepos’s separate business, CT Management, and because Ms. Gluck deferred to
      Shepos on financial matters after her daughter was born.
            85.    Ms. Gluck wondered: how could a County employee who managed a
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      few strip malls through a side business have millions of dollars flowing in and out of
      his bank accounts? And where had the money gone—the money from Ms. Gluck’s
      inheritance from her father and the proceeds from the sale of the Roscomare house?
      Ms. Gluck was determined to find out so that, after years as a stay-at-home mom and
      now that she and Shepos were separated, she could support her daughter.
               86.   Then, in December 2012, a friend told Ms. Gluck that she needed a table,
      and Ms. Gluck remembered that she had a table in a storage unit that she and Shepos
      had shared during their marriage. Ms. Gluck did not have a key to the storage unit,
      so she asked Shepos to meet her and her friend at the unit. Shepos agreed.
               87.   When Shepos arrived and opened the unit, Ms. Gluck looked up and
      noticed that, on shelves at the top of the unit, there were boxes and tubs that appeared
      to be filled with documents and checks. Ms. Gluck suspected that the documents
      were from the time of their marriage, and she hoped to find more financial documents
      indicating where Shepos had moved money to which Ms. Gluck was entitled
      (including her inheritance and the proceeds of the sale of the Bel Air home).
               88.   Thinking quickly on her feet, Ms. Gluck told Shepos that it would be
      too difficult for her to remove the table from the packed storage unit and move it
      herself. Ms. Gluck demanded that Shepos give her the key so that she could come
      back with movers. Shepos appeared reluctant to part with the key but could not
      articulate a good reason not to give it to Ms. Gluck in front of her friend (and, as Ms.
      Gluck now knew, people with ASPD care deeply about maintaining a charming
      “mask” in front of friends and acquaintances to hide their true inner nature). Shepos
      handed over the key.
               89.   The next day, Ms. Gluck returned with movers to take the table, and she
      also took the boxes and tubs of documents, which she began to review carefully at
      home. Ms. Gluck painstakingly pieced together seemingly small or insignificant
      clues that began to point to what Ms. Gluck suspected to be corruption on a massive
      scale.
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            90.   Ms. Gluck’s review uncovered a startling amount of evidence indicating
      that Shepos’s “County clients,” as he called them, had been funneling cash, sporting
      event tickets, concert tickets, House of Blues memberships, airline tickets, hotel
      rooms, expensive dinners, and other benefits as bribes for nearly two decades,
      including for example:
                  a)     Several 1099s issued to Shepos from the “Neman Brothers” and
                         their business Vertigo. Ms. Gluck knew that Neman Brothers
                         were a “County client” of Shepos. Much like the social security
                         number on the tax document from the Palm Springs Hotel and
                         Casino, the 1099s from the Neman Brothers had Shepos’s social
                         security number transposed.
                  b)     Evidence that Arman Gabaee had been paying for the renovations
                         to Shepos’s Bel Air property, including documents indicating that
                         Arman Gabaee’s company, M&A Gabaee, paid for materials
                         from Nichol’s Hardware, and that one of Arman Gabaee’s
                         employees, Kang Lee, had done structural engineering work for
                         the house.
                  c)     Evidence that Shepos submitted false vouchers to a construction
                         lender indicating that he had paid for materials and services when,
                         in fact, a “County client” associated with Donald Abbey had paid
                         for those materials and services.
                  d)     Documents indicating that Shepos and Arman Gabaee shared an
                         account with Southwest Airlines and had been traveling to Las
                         Vegas together since 1999, with Shepos holding himself out as an
                         employee of the Charles Company and attending conferences
                         paid for by Arman Gabaee.
                  e)     Additional documents regarding Visco, including documents
                         which revealed that Visco had seemingly paid thousands of
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                          dollars in connection with a trip to Bacarra Resort that Shepos
                          and Ms. Gluck took to celebrate Shepos’s 60th birthday.
            91.     Once Ms. Gluck discovered these additional documents, she also began
      reviewing old emails that had been sent to a shared email account that she and Shepos
      jointly used during their marriage, TJS2291@aol.com. Ms. Gluck was a technology
      neophyte, having left her professional career in the early 2000s (when AOL dial-up
      was the dominant mode of internet access), and had rarely checked the email address
      herself during the course of her marriage. But when she went back to look through
      the emails years later, Ms. Gluck discovered additional evidence of bribery and
      corruption:
                    a)    Documents suggesting that an associate of Arman Gabaee was
                          funneling bribes to Shepos through Jeff Kurtz, an acquaintance
                          Shepos met in the “Gambler’s Anonymous” meetings he attended
                          to keep up the ruse of an addiction and who later became Shepos’s
                          roommate.
                    b)    Documents suggesting that Shepos caused County checks to be
                          issued to Visco in connection with repair work completed by
                          Wade Sawyer, who owned Sawyer Construction & Associates.
                          Ms. Gluck recalled that Sawyer was another contractor who had
                          performed work on the Bel Air property.
                    c)    Documents suggesting that Arman Gabaee and his cousins jointly
                          paid for Shepos’s membership at the House of Blues club.
            92.     Ms. Gluck also discovered that, in addition to the family email address
      “TJS2291@aol.com,” Shepos had created the nearly identical email address,
      “TJS2292@aol.com,” and attributed it to Ms. Gluck’s sister.
            93.     And on an old phone that belonged to Shepos, Ms. Gluck found some
      developers’ numbers listed under fake names, such as “Dad.” Ms. Gluck discovered
      this by painstakingly researching every number in Shepos’s phone to determine who
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      it truly belonged to.
            J.     Shepos Fraudulently Files for Bankruptcy to Stall Divorce
                   Proceedings, and Ms. Gluck Uncovers More of Shepos’s
                   Misconduct.
            94.    In 2012, around the time that Ms. Gluck began to uncover more
      evidence of Shepos’s corruption and criminality from the boxes in the storage unit,
      Shepos filed a fraudulent bankruptcy in order to stall the approaching divorce trial.
      Ms. Gluck had to hire a bankruptcy lawyer to challenge Shepos’s claim to be
      bankrupt. This initial bankruptcy petition was rejected, and the divorce proceedings
      resumed.
            95.    Ms. Gluck continued to piece together the clues she was finding in the
      boxes of documents, inviting friends over to help her sort through the documents,
      examine them one by one, and attempt to figure out what Shepos had been doing.
            96.    Given the evidence she had by now uncovered in the emails, checks,
      insurance policies, and other documents from the boxes, Ms. Gluck was concerned
      that Shepos appeared to have engaged in extensive, criminal misconduct before and
      during their marriage—what appeared to be acts of wire fraud, bank fraud, insurance
      fraud, money laundering, bribery, and much more.
            97.    Ms. Gluck was frightened about what she now knew, but was even more
      frightened by what she still did not know. She asked that the boxes of documents be
      kept at her divorce attorneys’ office rather than at her home. And she also consulted
      with a criminal lawyer and later hired a retired IRS agent.
            98.    Ms. Gluck asked the former IRS agent to help determine what Shepos
      had done with the money that he had stolen from her, and to prove that Shepos’s
      bankruptcies were fraudulent.
            99.    The investigative efforts of Ms. Gluck and the former IRS agent
      continued to uncover additional, disturbing evidence of Shepos’s criminality,
      including a history of bigamy and embezzlement before Shepos met Ms. Gluck; his
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      embezzling of over $100,000 from a longstanding CT Management client Dr. George
      Boris during his marriage to Ms. Gluck; and even deliberately misappropriating the
      money Ms. Gluck and Shepos had set aside for their daughter’s education, leaving
      her unable to afford tuition at a four-year university. Shepos took these actions at the
      very same time he was receiving hundreds of thousands of dollars in illicit bribes
      from developers who did business with the County.
            100. As Ms. Gluck’s investigation continued, a stunning picture continued to
      emerge: Shepos was indeed a psychopath whose entire life had been permeated by
      fraud, corruption, and criminality.
      II.   Ms. Gluck Becomes the Original Source of the County, State, and Federal
            Government’s Investigations into Shepos’s Far-Reaching Corruption.
            A.     Ms. Gluck Meets Assistant U.S. Attorney Ranee Katzenstein, Who
                   Encourages Ms. Gluck to “Do the Right Thing.”
            101. In or around April 2014, Ms. Gluck attended a cyber security panel
      hosted by Loyola Law School.
            102. Ms. Gluck attended the Loyola conference because she had been trying
      to restart her entertainment career and had been working with a team of producers
      developing a project with famous comic creator Stan Lee. Ms. Gluck and the other
      producers believed they were the victims of intellectual property theft by someone
      they had pitched the project to and who later posted similar material online. Ms.
      Gluck heard about the Loyola Law School cybercrime panel and hoped she might
      learn something that would help her in deciding what next steps to take regarding the
      stolen project.
            103. One of the panelists turned out to be Ranee Katzenstein, an Assistant
      United States Attorney at the Department of Justice. Ms. Katzenstein had a history
      of working on major frauds, including bankruptcy fraud.
            104. After the panel discussion concluded, Ms. Gluck approached Ms.
      Katzenstein and introduced herself. Ms. Gluck told Ms. Katzenstein that she
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      recognized Ms. Katzenstein’s name because a criminal attorney she had consulted
      had mentioned Ms. Katzenstein as someone Ms. Gluck may wish to speak to
      regarding Shepos’s misconduct.
            105. Ms. Gluck had not done so at that time, as her only goals were to (1)
      finalize her divorce-related proceedings from Shepos, and (2) identify her funds that
      Shepos had misappropriated, and which should rightfully be used for their daughter’s
      care and education. However, Ms. Gluck now found herself faced with Ms.
      Katzenstein by chance and in person.
            106. Ms. Katzenstein asked Ms. Gluck how she knew the criminal attorney
      she had consulted. Ms. Gluck explained that her ex-husband was a County employee
      who had engaged in misconduct that ultimately led her to consult with a criminal
      attorney. Ms. Katzenstein then reached for the program that Ms. Gluck was holding
      for the panel, opened it to the page with Ms. Katzenstein’s photograph, and wrote
      down her phone number. Ms. Katzenstein handed the program back to Ms. Gluck,
      told Ms. Gluck to please call her, imploring her “do the right thing” and saying “bring
      it to me” while gesturing toward herself with her hands.
            107. Over the next several months, Ms. Gluck hesitated to call Ms.
      Katzenstein. Ms. Gluck’s life had been turned upside down by Shepos’s fraud and
      criminality, and she was focused on finding the money that Shepos had
      misappropriated and moving forward with her life parenting their daughter. She had
      no personal desire at that time to turn the father of her child in to law enforcement,
      which she feared could only lead to further trauma for their daughter and herself.
            108. But Ms. Gluck also recalled the lessons she had learned from her father,
      who had taught her the importance of speaking truth and doing the right thing—the
      very same thing Ms. Katzenstein said to her—words that rang in her ears. The more
      Ms. Gluck reflected on Ms. Katzenstein urging her to “do the right thing,” the more
      certain she became that her parents would have wanted her to tell the truth about what
      she had found.
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            109. Ms. Gluck called Ms. Katzenstein later in 2014, and they spoke on the
      phone several times. Eventually, Ms. Katzenstein put Ms. Gluck sufficiently at ease
      that she agreed for Ms. Katzenstein and her colleagues Lawrence Middleton and
      Michael Chai to meet at Ms. Gluck’s divorce attorneys’ office to look at some of the
      documents Ms. Gluck had found.
            110. At the meeting, Ms. Katzenstein and her colleagues reviewed some of
      the documents that Ms. Gluck had uncovered and expressed interest in taking copies
      of the papers. But Ms. Gluck hesitated to have her name attached to a report to the
      government, and Ms. Gluck’s divorce lawyers indicated that they would have to
      document the names of the individuals to whom they released any documents.
            111. Ms. Gluck decided that she would take the boxes of documents home so
      that the government could collect them directly while listing Ms. Gluck as a
      “Confidential Informant.”
            112. After several months went by without contact from the government, Ms.
      Gluck called Ms. Katzenstein again to ask if anyone was going to pick up the
      documents or else Ms. Gluck would no longer keep them at her home. Ms.
      Katzenstein seemed surprised that no one had picked up the documents, and she said
      she would send some people over to pick them up.
            113. Ms. Gluck assumed that Ms. Katzenstein would send couriers or file
      clerks. Instead, in March 2015, two FBI agents, Brian Adkins and Lucas Bauers,
      came to Ms. Gluck’s home and took boxes of documents and electronic devices.
      Adkins and Bowers gave Ms. Gluck a receipt documenting the items they took.
            114. Just over one month later in April 2015, Shepos yet again fraudulently
      filed for bankruptcy to disrupt his divorce-related proceedings with Ms. Gluck.
            B.    Ms. Gluck Continues to Cooperate with the FBI and Provides a
                  Critical Piece of Evidence Triggering Multiple Indictments.
            115. After the FBI came to her condominium in March 2015, Ms. Gluck
      subsequently met, spoke, and texted with FBI agent Adkins several times over the
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      next year and a half to assist the FBI in its investigation. The FBI would sometimes
      reach out to Ms. Gluck with questions, and she did her best to answer them.
            116. In addition, Ms. Gluck continued to communicate with other personnel
      from the United States Attorneys’ Office. During one of Ms. Gluck’s phone calls
      with Ms. Katzenstein, Ms. Katzenstein put Brandon Fox on the phone. Mr. Fox was
      an Assistant United States Attorney and the head of the Los Angeles office’s criminal
      division. Mr. Fox asked Ms. Gluck several questions, and Ms. Gluck mentioned that
      she had hired a retired IRS agent (now investigator) to assist her in gathering evidence
      concerning Shepos’s finances given the second fraudulent bankruptcy he had filed.
      Mr. Fox asked to meet with Ms. Gluck and the former IRS agent and asked if the
      former IRS agent would prepare materials summarizing what he had found.
            117. At Mr. Fox’s request, in or around April 2015, Ms. Gluck and the retired
      IRS agent visited Mr. Fox’s office, met with Mr. Fox and FBI agent Brian Adkins,
      and provided them with a copy of the report the IRS agent had prepared at Mr. Fox’s
      request. That report was dated April 15, 2015, listed the “subject” as “Thomas Joseph
      Shepos,” and was labeled “In Re: Public Corruption.” The report outlined “possible
      public corruption within the Los Angeles County, Real Estate Division” stemming
      from an improper “relationship between Thomas Shepos, Lead Acquisition Manager,
      Real Estate Division and two major real estate developers in the Los Angeles County
      area”—namely, “Arman Gabay and Frank Visco.”
            118. With respect to Arman Gabaee, the report indicated that (1) Arman
      Gabaee had made payments to Shepos of “$5,000 per month,” and (2) an associate
      of Arman Gabaee named John Carroll had also been serving as a “conduit for funds
      to get to Shepos from Gabay,” funneling bribe money to an acquaintance of Shepos’s
      named “Jeff Kurtz.”
            119. With respect to Visco, the report indicated that “Visco and Shepos have
      a personal relationship” which Ms. Gluck believed was “inappropriate because Visco
      and the Real Estate Division have a very active business relationship.” The report
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      also indicated that “Shepos has loaned $50,000 in the past to Visco for gambling
      purposes,” which is the explanation Shepos provided Ms. Gluck when she confronted
      him in March 2010 with documents showing a $48,000 cash advance.
              120. In addition, the report stated that Shepos’s 2012 tax returns falsely
      claimed a significantly lower amount of gross receipts and therefore income from CT
      Management than was reflected in Shepos’s banking records. And the report stated
      that Shepos had claimed yet a different income figure for CT Management in filings
      with the United States Bankruptcy Court in 2012.
              121. The report concluded by indicating that “[t]he information reflected
      above are examples of the potential criminal acts perpetrated by Shepos during the
      recent past.” Indeed, these were merely two prominent examples: Ms. Gluck
      provided FBI Agent Brian Adkins with extensive documents and communications
      indicating that Shepos’s bribery and kickback schemes involved other developers as
      well (discussed further below).
              122. Ms. Gluck continued to meet with, have phone calls with, and exchange
      text messages with FBI Agent Adkins through 2016, providing him and his
      colleagues with information about Shepos’s bank accounts and transactions, among
      other things, as requested. Ms. Gluck also allowed the FBI to make a copy of her
      entire computer hard drive, as she had shared an email address with Shepos.
              123. Then, in September 2016, Ms. Gluck and Shepos decided to buy a used
      car for their daughter for her sixteenth birthday. Ms. Gluck identified the car that
      their daughter wanted, a six-year-old, used Range Rover and asked Shepos for a
      check for $25,000 to pay for it. Shepos said he would give Ms. Gluck a cashier’s
      check issued to the owner of the vehicle. Below is a copy of the check Ms. Gluck
      took:




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            124. When Shepos gave Ms. Gluck the cashier’s check, she immediately
      became suspicious for several reasons. First, the check was issued from US Bank
      and, to Ms. Gluck’s knowledge at that time, Shepos had no banking relationship with
      US Bank. Further raising Ms. Gluck’s suspicion was that the branch that issued the
      cashier’s check was in Lancaster, where Visco’s businesses were based and where
      Shepos would meet with Visco every Wednesday for years. Based on these
      suspicious circumstances, and the other extensive evidence of bribery Ms. Gluck had
      already found, Ms. Gluck believed that the check represented bribe proceeds.
            125. Before giving the check to the owner of the vehicle, Ms. Gluck took a
      picture of the check and texted it to FBI Agent Adkins on September 12, 2016, at
      1:40 p.m., explaining some of the reasons why she found the check to be suspicious.
      On the same day at 4:41 p.m., FBI Agent Adkins responded: “Thank you, Karen.
      This is helpful”:




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            126. Unbeknownst to Ms. Gluck at that time, her tip to FBI Agent Adkins
      brought Shepos’s house of cards tumbling down. As indicated in Shepos’s plea
      agreement (attached as Exhibit A and incorporated by reference herein), the FBI
      brought Shepos in for questioning because of the check. Shepos initially lied and said
      the check represented gambling proceeds—the same excuse he had given Ms. Gluck
      when confronted years earlier—but later told the FBI that the check represented
      bribery proceeds from an electrical contractor, and that he had kept the bribery
      proceeds in an account belonging to “Individual A.”
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            127. With assistance from Ms. Gluck, the County later learned that
      “Individual A” was yet another developer named Gregory Hanes—an associate of
      Frank Visco’s.
            128. Based on Shepos’s lie about the check that Ms. Gluck shared with the
      FBI, the FBI was able to convince Shepos to cooperate (in part), wear a wire, and
      implicate Arman Gabaee while Shepos was still working for the County.
            129. But Shepos’s “cooperation” was a farce: as explained below and
      established by contemporaneous documents, he continued to lie to the FBI about the
      nature and scope of his relationship with Arman Gabaee and other developers, and
      parroted those lies in his plea agreement submitted to this federal court.
             C.    Ms. Gluck Begins Working with County and State Investigators.
            130. In June 2017, two strangers showed up at Ms. Gluck’s home and
      knocked on her door. The strangers informed Ms. Gluck through her door that they
      were investigators working for the County.
            131. Ms. Gluck called FBI Agent Adkins to ask him if she should speak with
      the County’s investigators. Adkins told Ms. Gluck that it was her choice whether to
      speak with the County investigators.
            132. Shortly thereafter, Ms. Gluck agreed to meet with the County’s
      investigators who had shown up at her home with questions about Shepos. The
      investigator from the County was named Bryan Bell, and he was joined by a
      colleague Robert Campbell. Ms. Gluck agreed to meet them at a café near her
      condominium.
            133. During that meeting, Ms. Gluck asked Bell how he had found her. Bell
      told Ms. Gluck that someone had flagged a suspicious lease for his review and that
      Shepos was involved in the lease. When Bell looked up Shepos’s divorce records, he
      noted that Ms. Gluck had filed several documents in the divorce case alleging that
      Shepos had engaged in corruption while employed at the County. Bell and Campbell
      then showed Ms. Gluck several photographs and asked her to identify anyone she
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      knew, which she did. One was a photograph of Shepos and Visco’s long-time
      assistant Michele Lantz on a boat together (Shepos and Lantz now live together).
            134. Ms. Gluck then agreed to let Bell and Campbell come with her to her
      condominium to look at some of her documents. Ms. Gluck began showing Bell some
      of the documents she had found evidencing bribery. Bell appeared to be stunned.
            135. Bell and Ms. Gluck stayed in touch after that initial meeting and Ms.
      Gluck continued to provide Bell with additional information and documents.
            136. In or around September 2017, Bell returned to Ms. Gluck’s
      condominium with a colleague named Amanda Andrews, as well as two investigators
      from the State of California’s Department of Insurance named Pollie Pent and Randy
      Hudson.
            137. Ms. Gluck told Pent and Hudson about Shepos’s bribery scheme. Pent
      and Hudson also seemed particularly interested in documents showing that Shepos
      had taken out numerous life insurance policies, that he had ties to multiple casinos in
      Las Vegas, and that he appeared to be engaged in business of some unknown sort
      with a large number of dentists. Ms. Gluck continued to communicate with Ms. Pent
      into 2018.
            138. Ms. Gluck also continued cooperating and communicating with County
      investigator Bell into 2018. Ms. Gluck came to trust Bell and endeavored to provide
      him with the same information she had thought it important enough to provide FBI
      Agent Adkins.
            139. However, Bell’s communication with Ms. Gluck ended abruptly after
      he told Ms. Gluck that he had been offered a pay increase at work to accept a
      reassignment to another division.
            D.      Shepos Continues to Lie About the Scope and Timing of His
                    Bribery Scheme, Attempting to Avoid Responsibility and Deflect
                    Blame onto Ms. Gluck.
            140. In September 2018, Shepos pleaded guilty to federal criminal charges
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      of making a false statement to a government agent and subscribing to a false tax
      return.
            141. Ms. Gluck was struck by Shepos’s plea agreement because, despite
      agreeing to cooperate with the government, Shepos was continuing to blatantly lie
      about the scope of his corruption.
            142. Most notably, Shepos falsely claimed in his plea agreement that while
      Arman Gabaee “began to seek improper assistance” from Shepos sometime “between
      2000 and 2005,” Arman Gabaee “did not compensate [Shepos] for assistance and
      non-public County information at this time” and only “began giving cash payments”
      to Shepos in “approximately 2010 or 2011.”
            143. But Ms. Gluck had found documents making clear that Arman Gabaee’s
      improper bribes of Shepos had begun at least as early as 1999 and continued for years
      until 2011 when Ms. Gluck filed for divorce.
            144. Ms. Gluck found evidence that Arman Gabaee and Shepos shared an
      account with Southwest Airlines and would travel to Las Vegas together as far back
      as 1999.
            145. First, Ms. Gluck found the below Southwest Airlines rewards card dated
      November 1999 belonging to Arman Gabaee (or “Gabay”) in Shepos’s boxes of
      documents:




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              146. Second, Ms. Gluck found a credit card statement indicating that Shepos
        and Arman Gabaee had traveled to Las Vegas together on January 7, 1999, excerpts
        of which are shown below with Ms. Gluck’s contemporaneous highlights from the
        time that she found the document:




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              147. Third, Ms. Gluck found evidence that Shepos attended a shopping center
        convention in Las Vegas in May 1999, which Arman Gabaee paid for. Shepos kept
        a copy of his registration form, in which he held himself out as an executive of
        “Charles Company,” one of Arman Gabaee’s businesses. And Shepos kept a copy of
        the credit card receipt showing that Arman Gabaee paid $400 for Shepos’s
        attendance. Excerpts from both sets of documents are shown below:




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            148. Ms. Gluck also found extensive evidence that Arman Gabaee funneled
      bribes to Shepos through the Roscomare Road property during the years in which
      Shepos falsely claimed in his plea agreement he was not receiving any such elicit
      payments.
            149. When Shepos and Ms. Gluck renovated the Bel Air property, they
      overhauled the backyard and did extensive work to two stone stairways leading to an
      upper level, as shown in the photograph below from an October 20, 2008 appraisal
      report on the property:




            150. In the boxes of documents, Ms. Gluck found contracts with a contractor
      named Center Line construction to perform work on Shepos’s Bel Air property,
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      directed to Arman Gabaee’s company Excel Property management, signed by
      Shepos, and falsely indicating that instead the work was being done on the Hawthorne
      Mall (a building that Arman Gabaee leased to the County). These documents were
      dated in or around July 2003—a time when Shepos falsely claimed in his federal plea
      agreement he was not yet being bribed by Arman Gabaee.
            151. Below are excerpts showing the language in just one of many such
      Center Line Construction contracts—describing work performed on the Roscomare
      Road property—along with Shepos’s signature and handwriting:




            152. Arman Gabaee’s company Excel Property Management performed
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      construction work on Shepos’s personal property at no charge to Shepos. Then,
      Arman Gabaee and Shepos (together with Arman Gabaee’s brother, Mark Gabaee)
      sought to have the County reimburse the Gabaees for that construction by submitting
      fraudulent invoices to the County falsely claiming that work performed on Shepos’s
      personal property was for improvements on the Hawthorne Mall property, which the
      Gabaees were then leasing to the County.
            153. In addition, between 2004 and 2007, Shepos hired a stonemason named
      Cirilo Rubalcava to perform construction work on the Roscomare Road property.
            154. Years later, Ms. Gluck found handwritten invoices that Rubalcava
      submitted to Shepos. In those invoices, Rubalcava would list his time and fees,
      explain what portion had already been paid by the Gabaees’ company Excel Property
      Management, and advise Shepos what balance was owed, if any. Rubalcava also
      provided Shepos with copies of the checks he had already received from Excel
      Property Management for work performed on the house.
            155. For instance, in the below invoice, Rubalcava explained that his total
      bill was for $5,730, that he had received two checks from Excel Property on January
      22, 2007 for $3,000 and $500, that he had also received a check from Shepos for
      $2,500, and that he therefore “owe[d] money balance to Tom” of $270:




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            156. Ms. Gluck found enclosed with this invoice copies of the two checks
      from Excel Property Management Services, Inc. dated January 22, 2007, to
      Rubalcava in the amount of $3,000 and $500. The checks also had a remark that
      stated “Hawthorne,” apparently indicating that Arman and Mark Gabaee intended to
      seek reimbursement from the County by falsely claiming that this work was
      performed on the County’s leased Hawthorne Mall property when in fact it was
      performed on Shepos’s Roscomare Road property.
            157. Ms. Gluck found a similar check from Excel Property Management
      Services, Inc. to Rubalcava from 2004 in the amount of $5,000—squarely during the
      period in which Shepos falsely claimed in his federal plea agreement that he was not
      yet being bribed by Arman Gabaee. Copies of all three checks are shown below:




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            158. As the above examples show, Shepos received bribes from Arman
      Gabaee beginning in 1999, almost as early as he began working for the County. Those
      bribes continued throughout Ms. Gluck’s marriage to Shepos and for years after—
      until around August 2017. Shepos’s false story that Arman Gabaee only began
      bribing him in or around 2010 or 2011—the precise time when Ms. Gluck first

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      discovered some of Shepos’s misconduct and began taking steps to divorce him—
      appears to have been a calculated effort on his part to gain sympathy by deflecting
      blame onto Ms. Gluck.
             159. Indeed, when news of his guilty plea came out, Shepos sent his lawyer
      out to smear Ms. Gluck publicly, making a false statement to the LA Times that
      Shepos only began accepting bribes after “a contentious divorce that left him trapped
      in debt . . . .”
             160. Shepos’s “blame the victim” approach is flatly contradicted by the
      documentary evidence of Gabaee’s bribes. Ms. Gluck’s discovery of Shepos’s
      criminality, including with Gabaee, is what caused her to file for divorce in the first
      place—not the other way around. And far from being in “debt,” Shepos filed for
      fraudulent bankruptcy at a time when he was secretly receiving hundreds of
      thousands of dollars in bribes from developers and contractors doing business with
      the County.
             E.      Since Shepos’s Plea, More Evidence Has Come to Light Confirming
                     that Shepos’s Fraud and Corruption Was Far-Reaching and
                     Tainted Hundreds of Millions of Dollars in County Contracts.
             161. Due to Ms. Gluck’s cooperation, the federal government has indicted
      numerous other individuals beyond Shepos.
             162. For instance, on April 26, 2019, Arman Gabaee pleaded guilty to federal
      program bribery in violation of 18 U.S.C. § 666(a)(2). A true and correct copy of
      Arman Gabaee’s plea agreement is attached as Exhibit B and incorporated by
      reference herein.
             163. After pleading guilty to one count of bribery, Arman Gabaee was
      sentenced to four years in prison. At sentencing, the County submitted a sentencing
      letter indicating that Shepos’s and Arman Gabaee’s guilty pleas were only the tip of
      the iceberg. The County has conducted a wide-ranging investigation, and the County
      now believes that hundreds of millions of dollars of contracts for which Shepos
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      was responsible were tainted by fraud, bribery, and corruption. That wide-ranging
      investigation was possible only because of Ms. Gluck’s efforts to “do the right thing”
      and share the results of her investigation with the FBI, the State, and the County.
       III. Shepos’s Schemes Involved Numerous, Significant Real Estate Developers
            and Hundreds of Millions of Dollars’ Worth of Leases and Agreements.
            164. As detailed further below, Ms. Gluck’s records revealed how developers
      profited from leases obtained through fraudulent schemes with Shepos:
                   a)    Above-Market Leases Worth Hundreds of Millions of Dollars:
                         County leases range between a few hundred thousand dollars per
                         year to a few million dollars per year, with 5- and 10-year terms
                         being most common. Shepos helped developers obtained these
                         substantial leases at above-market rates, and often on a no-bid
                         basis.
                   b)    Fraudulent      Reimbursements:    The    leases   also   included
                         “improvement reimbursements” under which the developers were
                         able to submit for reimbursement expenses they incurred in
                         maintaining the building. Shepos received invoices from
                         developers and simply had the County send reimbursement
                         checks, without any further proof that the work had actually been
                         performed (and in some cases, it had not). Developers obtained
                         substantial reimbursements for improvements that were never
                         made.
                   c)    Maintenance Fees and Utility Costs: The leases established that
                         the developers could charge maintenance fees and pass on utility
                         costs to the County. Some developers obtained additional County
                         money to which they were not entitled by passing on inflated
                         maintenance and utility costs to the County.
            165. On behalf of numerous developers over decades, Shepos routinely
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      defrauded the County in exchange for bribes of various kinds, as detailed below. And
      Shepos went great lengths to conceal his schemes from the County (as well as the
      federal and State governments, which were also victims of Shepos’s fraud). For
      example, Shepos often funneled bribe proceeds with strawmen, including his
      roommate Jeff Kurtz and Gregory Hanes.
            166. Ms. Gluck’s documents and other evidence also identify specific entities
      and individuals as being most involved in the fraudulent scheme, including: (A) Mark
      and Arman Gabaee and their entities (the Gabaee Defendants); (B) Donald Abbey
      and his entities (the Abbey Defendants); (C) Frank Visco and his entities (the Visco
      Defendants); (D) Leon, Yoel, and John Neman and their entities (the Neman
      Defendants); and (E) Gregory Hanes and his entities (the Hanes Defendants):
            A.     Mark Gabaee and Arman Gabaee.
            167.   Founded by Mark and Arman Gabaee in 1979, the Charles Company
      owns 5 million square feet of commercial real estate in Southern California and
      Nevada. The Charles Company—together with other entities owned and controlled
      by the Gabaees—has done over $100 million in transactions with the County as part
      of the Gabaees’ fraudulent scheme with Shepos. Evidence of that scheme is detailed
      below.
            168. Based on the evidence provided to the FBI by Ms. Gluck, Arman
      Gabaee was indicted by the federal government. Arman Gabaee was recorded
      offering Shepos a $1.1 million residential property as a bribe for a no-bid contract.
      In September 2018, Shepos admitted in his guilty plea to receiving bribes from
      Arman Gabaee and, in exchange, “us[ing] his County position to provide assistance
      to Gabaee and financially benefit Gabaee’s businesses.” See Ex. A. And in April
      2022, Arman Gabaee pleaded guilty to bribing Shepos. See Ex. B. On December 15,
      2022, Arman Gabaee began serving his four-year sentence. (And to date, he remains
      in federal prison.) On January 23, 2023, Shepos received a sentence of 24 months of
      probation for tax fraud and lying to the FBI about his misconduct.
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            169. Both Arman and Mark Gabaee understood that Shepos was a high-
      ranking County official with the ability to bind the County to significant real estate
      contracts and influence the County’s real estate decisions. That is why Arman and
      Mark Gabaee bribed him: they intended to corrupt Shepos’s influence over the
      County for their own benefit. And for almost two decades, their scheme succeeded.
            170. Between 1999 and 2017, Arman Gabaee directly paid Shepos hundreds
      of thousands of dollars’ worth of bribes in various forms in exchange for improper,
      official favors benefitting himself, his brother Mark Gabaee, and the entities they
      owned and managed—including the Charles Company (doing business as The
      Charles Company, Inc.), M&A Gabaee, Excel Property Management, Oakshire,
      Wilhurst, Town Investments, Sancam, Greenoak, Maple19, Urban Grove19, and
      Oppidan.
            171. While Arman Gabaee took the lead on paying many of the bribes to
      Shepos—including those bribes described in their guilty pleas—Mark Gabaee held
      the purse strings for the Gabaees’ entities. Mark Gabaee was primarily responsible
      for the Gabaee Defendants’ finances and expenses. Thus, Mark Gabaee was not only
      aware of Arman Gabaee’s improper arrangement with Shepos, but he also directly
      participated in it. Together, as owners, managers, and executives of the entity Gabaee
      Defendants, Mark and Arman Gabaee controlled and directed the actions of those
      entities. Mark and Arman Gabaee also funneled bribes to Shepos through their
      entities, including at least the Charles Company, Excel Property Management, and
      M&A Gabaee.
            172. Indeed, Shepos’s fraudulent schemes with the Gabaees and their
      associates ran deep: for example, Shepos’s guilty plea admits that in approximately
      2013, he “arranged with a[n] associate of Gabaee’s to receive, and did receive, a real
      estate commission kickback of $35,000, through a third party, for the County’s lease
      of a property on Missouri Avenue.” That “associate of Gabaee’s” was John Carroll—
      who has acted as the President of Excel Property Management and another of the
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      Gabaees’ real-estate entities, Noble Investment, LP (formerly Noble Investments,
      LLC), and as a managing member of the Gabaees’ entity (nonparty) Corsair, LLC.
      And the “third party” named in Shepos’s guilty plea was his roommate, Kurtz.
            173. Specifically, around 2013, Shepos, Carroll, and Kurtz concocted a
      scheme through which Carroll would funnel a real estate commission from one of the
      County’s landlords to Shepos through Kurtz. Shepos recruited Carroll, a licensed real
      estate broker, to hold himself out as the County’s broker in its negotiations of a lease
      on Missouri Avenue in Los Angeles, California. Shepos then arranged for the
      County’s landlord to pay Carroll a real-estate commission of $77,823.92. After the
      lease agreement was fully executed, specifically, on May 6, 2014, Carroll emailed
      the landlord’s broker attaching an invoice requesting payment of that commission to
      Carroll’s company Giltner Realty Advisors. The landlord paid Carroll by check dated
      May 20, 2014 in the amount of $77,823.92.
            174. Shepos and Carroll left an (electronic) paper trail of their scheme with
      Kurtz: nine months later, on February 25, 2015—Carroll emailed Shepos on his
      personal email address regarding “W-9,” stating: “Need the info for Kurst [sic] as
      soon as possible.” Shepos replied that day, providing Carroll with Kurtz’s name,
      address, and social security number. Carroll then kicked back $35,000 to Shepos
      through Kurtz—deliberately disguising the kickback to Shepos as Form W-9 income
      to Kurtz from Giltner Realty Advisors. Neither Carroll nor Shepos ever had any
      legitimate business dealings with Kurtz.
            175. Rather, Shepos’s scheme with Carroll and Kurtz reflects Shepos’s
      fraudulent modus operandi of arranging and receiving bribes and kickbacks covertly
      funneled through strawmen and shell entities. The scheme also reflects the corruption
      that ran through every level of the Gabaees’ business dealings. In other words, it
      speaks volumes that when Shepos needed a real estate broker to participate in a
      kickback scheme involving a County real estate transaction, Shepos knew to look no
      further than the Gabaees’ inner circle—specifically, to the Gabaees’ longtime
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      associate, John Carroll. Yet, the kickback scheme with Shepos, Carroll, and Kurtz
      hardly scratches the surface of Shepos’s and the Gabaees’ pattern of corrupt dealings.
                   1.    The Gabaee Defendants’ Bribes to Shepos.
            176. From at least 1999 until at least 2017, Arman Gabaee, on behalf of Mark
      Gabaee and the other Gabaee Defendants, gave Shepos cash, gifts, travel, and other
      things of value in exchange for Shepos’s improper assistance with the Gabaee
      Defendants’ real-estate dealings with the County. The Gabaees’ entities, including at
      least the Charles Company, M&A Gabaee, and Excel Property Management, and
      their respective employees, acted as intermediaries through which Arman and Mark
      Gabaee bribed Shepos.
                        i.      Expensive Trips, Meals, and Gifts.
            177. Beginning in at least 1999, and continuing through 2017, Shepos shared
      and benefitted from Arman Gabaee’s Southwest Airlines account. Not only did
      Shepos have a Southwest Airlines “Rapids Rewards” card, dated November 1999,
      with Arman Gabaee’s name on it, but from at least 2011 through 2017, Shepos also
      received hundreds of emails from Southwest Airlines, addressed to “Arman Gabay,”
      and bearing the same “Rapid Rewards” number as the membership card—including,
      for example, on May 26, 2011 and Arman Gabaee and Shepos regularly traveled
      together to Las Vegas, where they looked at properties, ate expensive meals, and
      received spa treatments at Caesars’ Palace—all on Arman Gabaee’s dime. In May
      1999, Arman Gabaee paid Shepos’s $400 attendance fee for a shopping center
      convention in Las Vegas. At that convention, Shepos held himself out as an employee
      of the Charles Company (despite being a County public official).
            178. In or around January 2006, the Charles Company reimbursed Shepos
      approximately $15,000 for Los Angeles Dodgers tickets that Shepos had purchased.
            179. In or around April 2006 and April 2008, Arman Gabaee (together with
      his cousins) jointly paid for Shepos’s membership to the House of Blues club. After
      Arman Gabaee paid for Shepos’s membership, on May 22, 2008, a representative of
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      the House of Blues Clubs emailed Shepos saying, “I have Arman Gabay’s and your
      new membership cards in,” and asking where to send them. Shepos replied the next
      day, requesting that his and Arman Gabaee’s membership cards be mailed to
      Shepos’s home address.
            180. On or around December 23, 2008, Arman Gabaee, at Shepos’s request,
      paid for a catered lunch for Shepos and his entire department (around 50 County
      employees) as a holiday gift to Shepos. On December 11, 2008, the Charles Company
      employee Millie Grape wrote to Shepos’s personal email address, regarding “List for
      the Holidays”: “Just wanted to check in with you regarding the list for the holiday
      shopping. . . . I will be able to deliver everything before the holiday break.” That day,
      Shepos replied:
                  sorry I forgot here is the list:

                   Thomas Shepos
                   Thomas Shepos
                   Thomas Shepos

                   Not really . . . .
            181. After some back and forth, Shepos wrote to Grape later in the day: “I
      need to talk with arman I believe a gift such as lunch sent in for all staff may be more
      beneficial . . . I will call him Friday and discuss.” On December 15, 2008, Grape
      replied to Shepos: “Arman is in agreement with you regarding the lunch being sent
      to your office. Let me know what food is preferred and I will order and have it
      delivered to your office.” Through subsequent emails, Grape confirmed that she
      would arrange for a catered lunch on December 23, 2008 for 50 County employees
      courtesy of Arman Gabaee—including, at Shepos’s insistence, drinks and “delicious
      desserts.”
            182. Around January 2010, Arman Gabaee gave Shepos a gold watch valued
      at over $20,000. Well aware that this was far from an appropriate gift for a County
      employee to receive from the County’s landlord, Shepos tucked this expensive watch
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      away in his sock drawer next to a wad of $5,000 in cash—attempting to hide it from
      his then-wife, Ms. Gluck.
            183. Arman Gabaee and Shepos also shared a P.O. box—as Ms. Gluck
      learned in 2010—underscoring Shepos’s improper relationship with the Gabaees.
                       ii.        Construction on Shepos’s Bel Air Home.
            184. Between around 2003 and 2007, Arman and Mark Gabaee, through
      Excel Property Management and M&A Gabaee, paid for construction materials and
      renovations on Shepos’s personal property on Roscomare Road in Bel Air.
            185. Around July 2003, Shepos entered several contracts with Center Line
      Construction for construction work on the Roscomare Road property—contracts
      which falsely indicated that the work would be performed on the Hawthorne Mall, a
      property that the Gabaees’ entity M&A Gabaee was then leasing to the County. Per
      its contracts with Shepos, Center Line Construction directed invoices for its work to
      Excel Property Management. At Mark and Arman Gabaee’s direction, Excel
      Property Management paid those invoices for work performed on Shepos’s personal
      property. Then, Mark and Arman Gabaee conspired with Shepos to seek
      reimbursement from the County for the work performed by Center Line Construction
      on the Roscomare Road property. At Mark and Arman Gabaee’s direction, M&A
      Gabaee and Excel Property Management submitted false invoices to the County
      requesting reimbursement for construction work performed on Shepos’s personal
      property—disguised as improvements on the leased Hawthorne Mall property.
            186. Along similar lines, between around 2004 and 2007, Arman and Mark
      Gabaee directed Excel Property Management to pay for stonemasonry work by Cirilo
      Rubalcava on Shepos’s Roscomare Road property. On October 20, 2004, for
      example, Excel Property Management gave Rubalcava a check for $5,000 for work
      performed on Shepos’s property. Again, on January 22, 2007, Excel Property
      Management gave Rubalcava two checks—for $3,000 and $500 respectively—to pay
      for his work on Shepos’s property. An identical notation appeared on all three of
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      those checks: “Hawthorne.” That repeating notation indicated that Mark and Arman
      Gabaee intended to fraudulently seek reimbursement from the County for
      Rubalcava’s work on the Roscomare Road property through M&A Gabaee and Excel
      Property Management by submitting invoices falsely claiming that work was
      performed instead on the Hawthorne Mall property they leased to the County. On
      April 24, 2007, Excel Property Management cut yet another check to Rubalcava for
      work performed on Shepos’s Roscomare Road property.
            187. In April 2006, Arman and Mark Gabaee, through M&A Gabaee,
      purchased $4,053.93 of construction materials for Shepos. The invoice for that
      purchase from Nichols Lumber & Hardware in Baldwin Park, dated April 10, 2006,
      stated: “Customer: M & A Gabaee . . . Job Address: . . . 1330 Roscoemare [sic]
      Rd”—referring to Shepos’s property at 1330 Roscomare Road.
            188. In addition, between around 2003 and at least 2006, an employee of the
      Charles Company, Kang Lee, performed structural engineering work on Shepos’s
      Roscomare Road property at Mark and Arman Gabaees’ direction and at no cost to
      Shepos. Lee’s work for Shepos is evidenced by a report titled “Structural
      Calculations,” originally dated July 6, 2003, and revised on April 7, 2004; May 10,
      2004; and March 27, 2006.
                      iii.     Cash Payments.
            189. Beginning in or around 2010 or 2011 until around April 11, 2017,
      Arman Gabaee made monthly cash payments to Shepos. For around the first six
      months of these regular cash payments, Arman Gabaee gave Shepos $5,000 per
      month. After that, the payments continued at approximately $1,000 per month.
            190. For example, Arman Gabaee paid Shepos: (a) $1,500 on December 20,
      2016; (b) $1,500 on December 3, 2016; (c) $1,000 on January 27, 2017; (d) $1,000
      on March 1, 2017; (e) $900 on March 31, 2017; and (f) $100 on April 11, 2017.
      Those were just the bribes that occurred during meetings recorded as part of the
      federal government’s criminal investigation.
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              191. As described in Arman Gabaee’s guilty plea, these cash payments were
      all bribes and kickbacks to Shepos for the benefit of Arman Gabaee, Mark Gabaee,
      and their entities.
                         iv.      Offer to Buy a $1.1 Million House.
              192. Around 2016, while Arman and Mark Gabaee, through their entities,
      were redeveloping their Hawthorne Mall property in Hawthorne, California, they
      attempted to lease that space to the County. A proposed lease anticipated a 10-year
      term during which the County would have paid the Gabaees (through their entities)
      over $45 million in rent and reimbursable tenant improvements.
              193. In an effort to secure this lease, around December 2016, Arman Gabaee
      offered to bribe Shepos—in addition to the ongoing monthly cash payments—by
      buying Shepos a residential property in Northern California. Arman Gabaee offered
      to buy Shepos a property on Barnes Road in Santa Rosa, California listed at
      $1,199,000. Arman Gabaee also offered to buy Shepos a property on Annadel
      Heights Drive, also in Santa Rosa, listed at $1,199,000. Arman Gabaee made several
      offers on that Annadel Heights Drive property, intending to purchase it for Shepos as
      a bribe. But the FBI intervened, arresting Arman Gabaee before he could close the
      deal.
                    2.      Shepos’s Official Favors to the Gabaee Defendants.
              194. In exchange for the bribes detailed above, Shepos:
                    a)      gave the Gabaee Defendants nonpublic information about the
                            Countys’ leasing needs and development plans;
                    b)      pressured County departments to complete official requests for
                            office space so that Shepos could fast-track formal lease
                            negotiations with the Gabaee Defendants;
                    c)      pretended to engage in the ordinary bidding process for County
                            leases while secretly promising the Gabaee Defendants favorable
                            treatment and ensuring they won lucrative County leases;
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                  d)       pressured subordinate County employees into drafting leases for
                           the Gabaee Defendants;
                  e)       used his influence within the County to cover the Gabaee
                           Defendants’ tracks by ensuring that their tainted leases looked
                           legitimate;
                  f)       secured favorable, often above-market leases for the Gabaee
                           Defendants; and
                  g)       “ran interference” for the Gabaee Defendants on maintenance and
                           other issues relating to their leases and ensured those issues were
                           resolved favorably to the Gabaee Defendants—and to the
                           County’s detriment.
            195. During the period when the Gabaees were bribing Shepos, they often
      called or emailed Shepos to ask him whether the County would lease certain
      properties before the Gabaees purchased them. Shepos obliged. That insider
      information was highly valuable to the Gabaee Defendants because it allowed them
      to reduce or eliminate the typical risks of investing in real estate. Thanks to their
      inside man (Shepos), the Gabaees and their entities could invest in properties they
      knew that the County would be willing to rent for millions of dollars over many
      years—guaranteeing steady income. Conversely, the Gabaees could avoid riskier
      investments in properties that Shepos told them did not fit into the County’s
      (nonpublic) plans.
            196. Numerous emails between Shepos (using his personal email address)
      and the Gabaee Defendants evidence the Gabaee Defendants seeking, and Shepos
      improperly providing, nonpublic County information, for example:
                  a)       On May 7, 2013, Charles Company employee AJ Jaranilla
                           emailed Shepos attaching marketing materials for the Hawthorne
                           Mall.
                  b)       On July 24, 2013, Shepos emailed Millie Grape, a Charles
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                        Company employee, stating “please give to Mark,” and attaching
                        a scanned copy of the County’s internal file relating to its lease of
                        a property from Abbey’s entity AP-Commerce Plaza.
                  c)    On November 22, 2013, Charles Company employee Jack
                        Kurchian emailed Grape saying, “Please forward this to Tom’s
                        personal email.” Grape did so that day. And on November 25,
                        2013, Shepos replied, promising to review the attachment.
                  d)    On September 8, 2014, Mark Gabaee emailed Shepos attaching a
                        listing for an industrial building for sale on Earle Avenue in
                        Rosemead, California—presumably seeking Shepos’s advice
                        about whether the Gabaees (or one of their entities) should
                        purchase that building. The next day, Shepos replied: “scheduled
                        walk thru at Earle location at 3PM Tuesday 9/16”—indicating
                        that Shepos planned to tour the building on the Gabaees’ behalf
                        and let them know whether the County would rent that space.
                  e)    On May 8, 2015, Grape emailed Shepos attaching photos of a
                        property, on behalf of “AG,” meaning Arman Gabaee.
                  f)    On December 1, 2015, Mark Gabaee emailed Shepos attaching a
                        real estate listing for a truck terminal on East 26th Street in
                        Vernon, California, saying, “I am offered the subject and I would
                        appreciate your thoughts.”
            197. As just one example of Shepos running interference for the Gabaee
      Defendants, in 2011, when significant maintenance issues arose in properties the
      Gabaees were leasing to the County, Shepos covered for them. The County
      departments using those properties had raised concerns about broken elevators,
      leaking roofs, and similar maintenance issues. Shepos helped Arman and Mark
      Gabaee by wrongly deflecting blame away from the Gabaees and onto independent
      contractors—buying time for the Gabaees to resolve the issues. Notably, Mark
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      Gabaee directly participated in these discussions with Arman Gabaee and Shepos
      about the plot for Shepos to run interference with the County on these maintenance
      issues.
                     3.     The Gabaee Defendants’ Tainted County Contracts.
            198. During the period when the Gabaees and their entities were bribing
      Shepos, the County entered into and renewed several lease agreements with the Gabaee
      Defendants in order to house County departments and programs. The County paid for
      these leases using money that originated from a mixture of federal, state, and County
      grant funds.
                           i.    3220 Rosemead Boulevard, Building A, Suite No. 2A.
            199.     On or about November 4, 1997, the County and M&A Gabaee entered
      into a lease agreement for 3220 Rosemead Boulevard, Building A, Suite No. 2A in
      El Monte, California (Lease No. 71124). The County used this space to house the
      District Attorney.
            200. Under the lease agreement, the County agreed to pay monthly rent of
      $5,500—totaling $462,000 over its seven-year term. At all times, the County made
      monthly payments as they were due under the lease, in part with federal funds.
            201. On or about September 7, 1999, the County and M&A Gabaee entered
      into Amendment No. 1 to the lease agreement. The amendment increased the square
      footage of space rented at the property, thereby increasing the monthly rent to
      $11,567—totaling additional payments in excess of $376,154.
            202. This amendment was signed during the period when Arman Gabaee was
      bribing Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants,
      including M&A Gabaee. By this time, at a minimum, Arman Gabaee was paying for
      Shepos’s travel, including trips to Las Vegas. Amendment No. 1 was signed by Mark
      Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
            203. Section 23.S of the lease agreement, which term was renewed by virtue
      of Amendment No. 1, contains an express acknowledgment that County employees
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      are forbidden from soliciting consideration “in any form” from landlords and that the
      lease agreement would be immediately terminable “if it is found that consideration,
      in any form, was offered or given by Lessor, either directly or through an
      intermediary, to any County officer, employee or agent with the intent of securing
      the Agreement or securing favorable treatment with respect to the award, amendment
      or extension of the Agreement or the making of any determinations with respect to
      the Lessor’s performance pursuant to the Agreement.”
            204. Shepos was involved with negotiating and securing approval of
      Amendment No. 1 to the Lease.
            205. The amended lease was in effect from September 7, 1999 to April 19,
      2005. During this period, the County paid monthly rent to M&A Gabaee, using a
      mixture of County, State, and federal funds.
            206. In Lease No. 71125 and its amendment, the Gabaees, M&A Gabaee, and
      Sancam made the false representation that they (and the other Gabaee Defendants)
      had not and would not engage in bribery, and in turn, obtained lucrative government
      contracts based on those misrepresentations.
            207. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            208. Had the County known Arman Gabaee was paying bribes to Shepos in
      exchange for Shepos’s help in negotiating and securing the lease amendment and
      other preferential treatment of the Gabaee Defendants, the County would never have
      entered the amendment to the lease or made rent payments thereunder.
                       ii.     3220 Rosemead Boulevard, Building G.
            209. On or about January 15, 2002, the County and M&A Gabaee entered
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      into a lease agreement for 3220 Rosemead Boulevard, Building G in El Monte,
      California (Lease No. L-0793). The County used this space to house the District
      Attorney.
            210. Under the lease agreement, the County agreed to pay a monthly rent of
      $2,485—totaling $89,460 over its three-year term. At all times, the County made
      monthly payments as they were due under the lease, in part with federal funds.
            211. Shepos was involved with negotiating and securing approval of this
      lease, and the lease agreement was signed during the period when Arman Gabaee
      was making bribe payments to Shepos on behalf of himself, Mark Gabaee, and the
      other Gabaee Defendants, including M&A Gabaee. The lease agreement was signed
      by Mark Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
            212. Section 26 of the lease agreement contains an express acknowledgment
      by M&A Gabaee that County employees are forbidden from soliciting consideration
      “in any form” from landlords and that landlords “shall not offer or give, either[]
      directly or through an intermediary, consideration in any form, to a County officer,
      employee or agent for the purpose of securing favorable treatment with respect to the
      award of the Lease.”
            213. On or about April 19, 2005, the County and Town Investments entered
      into a lease agreement for 3220 Rosemead Boulevard in El Monte, California (Lease
      No. 75257). This lease agreement extended the terms of the previous two leases
      (Lease Nos. 71124 and L-0793), merged the two agreements into a single lease
      agreement, and increased the County’s monthly rent by $1,953 per month. The lease
      agreement was signed by Mark Gabaee on behalf of Sancam as Managing Member
      of Town Investments.
            214. Under the new lease agreement (Lease No. 75257), the County agreed
      to pay a monthly rent of $16,611.75—totaling $996,705 over its five-year term.
            215. On or about July 6, 2010, the County and Town Investments entered
      into Amendment No. 1 to the lease agreement (Lease No. 75257). The amendment
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      extended the term of the lease for five years and set a monthly rent at $18,588.92,
      with yearly increases to rent—totaling payments in excess of $1,115,335. The
      amendment was signed by Mark Gabaee on behalf of Town Investments. At all times,
      the County made monthly payments as they were due under the new lease, in part
      with federal funds.
            216. These leases and amendment were signed during the period when
      Arman Gabaee was paying bribes—including travel and construction on Shepos’s
      home—to Shepos on behalf of himself, Mark Gabaee, and the other Gabaee
      Defendants, including M&A Gabaee, Town Investments, and Sancam.
            217. Section 28 of the lease agreement contains an express acknowledgment
      by Town Investments that County employees are forbidden from soliciting
      consideration “in any form” from landlords and that landlords “shall not offer or give,
      either[] directly or through an intermediary, consideration in any form, to a County
      officer, employee or agent for the purpose of securing favorable treatment with
      respect to the award of the lease.”
            218. Shepos was instrumental in negotiating and securing approval of these
      leases and amendments. For example, Shepos authored the Board letter stating “IT
      IS RECOMMENDED THAT YOUR BOARD” take five specific actions: (i)
      “Approve and instruct the Chairman to sign a ten year full service lease with M&A
      Gabaee”; (ii) “Approve and instruct the Chairman to sign Amendment No. 1 to Lease
      No. 71124, with Lessor for office space located at 3220 Rosemead Boulevard, Suite
      B”; “Authorize the Director of the Internal Services Department (ISD) to acquire a
      telephone system for DPSS and relocate the telephone system for the DA”; (iii) “find
      that the project will not have a significant effect on the environment, and find that
      the Negative Declaration reflects the independent judgment of the County and
      approve the Negative Declaration”; and (iv) “Approve the projects and authorize the
      CAO and ISD to implement the projects.”
            219. Further,     Shepos authored a Board letter              stating   “IT   IS
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      RECOMMENDED THAT YOUR BOARD” take three specific actions:
      (i) “Approve and instruct the Chairman to sign the attached lease with Town
      Investments (Landlord)”; (ii) “Find that the lease renewal is categorically exempt
      from the California Environmental Quality Act (CEQA)”; and (iii) “Approve the
      project and authorize the Chief Administrative Office (CAO) and DA to implement
      the project.”
               220. Shepos also obtained the Board’s approval for Amendment No. 1 to the
      lease, authoring a Board letter with the “recommendation” that the Board find the
      lease exempt from CEQA and “[a]pprove and instruct the Chair to sign the lease
      amendment with Town Investment [sic] LLC (Lessor).”
               221. The lease agreements and amendment were in effect from January 15,
      2002 until July 5, 2015. During this period, the County paid monthly rent to M&A
      Gabaee and/or Town Investments, using a mixture of County, State, and federal
      funds.
               222. Through these County leases and amendments, the Gabaees, M&A
      Gabaee, Town Investments, and Sancam made and renewed the false representation
      that they (and the other Gabaee Defendants) had not and would not engage in bribery,
      and in turn, obtained lucrative government contracts based on those
      misrepresentations.
               223. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
               224. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
      recommendations for Board approval and other preferential treatment of the Gabaee
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      Defendants, the County would never have entered into these leases or amendments,
      nor would it have made payments thereunder.
                        iii.     3220 Rosemead Boulevard, Building A.
               225. On or about May 5, 1998, the County and M&A Gabaee entered into a
      lease agreement for 3220 Rosemead Boulevard, Building A in El Monte, California
      (Lease No. 71378). The County used this space to house the Department of Public
      Social Services. Mark Gabaee signed this lease on behalf of Sancam as General Partner
      of M&A Gabaee.
               226. Under the lease agreement, the County agreed to pay a monthly rent of
      $20,435—totaling $2,452,200 over its ten-year term. Throughout the term, the
      County made monthly payments as they were due under the lease, in part with federal
      funds.
               227. On or about August 5, 2008, the County, at Shepos’s recommendation,
      exercised an option to renew the lease for a five-year term at a monthly rent of
      $26,418—totaling approximately $1.6 million over its five-year term.
               228. On or about July 30, 2013, the County and Town Investments entered
      into Amendment No. 1 to the lease agreement. The amendment extended the term of
      the lease for five years and set a monthly rent at $28,328, with yearly increases to
      rent—totaling payments in excess of $1,699,680. Mark Gabaee signed Amendment
      No. 1 on behalf of Town Investments.
               229. The 2008 lease renewal option and the 2013 amendment were signed
      during the period when Arman Gabaee was paying bribes—including travel,
      extravagant gifts, construction on Shepos’s home, and monthly cash payments—to
      Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants,
      including M&A Gabaee and Town Investments.
               230. Shepos was instrumental in negotiating and securing approval of this
      lease. For example, Shepos authored the Board letter recommending approval of the
      lease and that the Board take four specific actions: (i) “Find that the project is exempt
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      from the California Environmental Quality Act (CEQA)”; (ii) “Approve a ten-year
      lease with M&A Gabaee”; (iii) “Authorize the Director of Internal Services
      Department (ISD) to acquire a telephone system for the facility”; and (iv) “Approve
      the project and authorize the Chief Administrative Officer to implement the project.”
            231. Shepos also authored the Board letter recommending the exercise of the
      five-year renewal option, recommending that the Board: (i) “Find that the lease
      renewal is categorically exempt from California Environmental Quality Act
      (CEQA)”; and “Exercise the option to renew the lease for a five-year term with Town
      Investment, LLC.” Additionally, Shepos authored the Board Letter recommending
      the adoption of Amendment No. 1, further extending the lease term by five years,
      specifically recommending that the Board: (i) “Approve and instruct the Chairman
      to sign an amendment for a five-year extension of the lease with Town Investments,
      LLC” and (ii) “Authorize the Chief Executive Office and the Director of Public
      Social Services to implement the project upon Board approval.”
            232. Shepos further authored a memorandum directing the Rent/Budget
      Administration to commence rent payments pursuant to the lease, as well as
      payments for the cost of electricity used during the tenancy.
            233. The lease was in effect from May 5, 1998 until August 4, 2018. During
      this period, the County paid monthly rent to Town Investments, using a mixture of
      County, State, and federal funds.
            234. Section 23.S of the lease, which was renewed by virtue of Amendment
      No. 1, prohibits County employees from soliciting consideration “in any form” from
      landlords and notes that the lease agreement would be immediately terminable “if it
      is found that consideration, in any form, was offered or given by Lessor, either
      directly or through an intermediary, to any County officer, employee or agent with
      the intent of securing the Agreement or securing favorable treatment with respect to
      the award, amendment or extension of the Agreement or the making of any
      determinations with respect to the Lessor’s performance pursuant to the Agreement.”
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            235. Through this lease, renewal, and amendment, the Gabaees, M&A
      Gabaee, Town Investments, and Sancam made and renewed the false representation
      that they (and the other Gabaee Defendants) had not and would not engage in bribery,
      and in turn, obtained lucrative government contracts based on those
      misrepresentations.
            236. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            237. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
      recommendations for Board approval and other preferential treatment of the Gabaee
      Defendants, the County would never have exercised the 2008 lease renewal option
      or entered the 2013 amendment, nor would it have made payments thereunder.
                      iv.      3216 Rosemead Boulevard.
            238. On or about September 7, 1999, the County and M&A Gabaee entered
      into a lease agreement for 3216 Rosemead Boulevard in El Monte, California (Lease
      No. 72387). The County used this space to house the Department of Public Social
      Services. The lease was signed by Mark Gabaee on behalf of Sancam as General
      Partner of M&A Gabaee.
            239. Under the lease agreement, the County agreed to pay a monthly rent of
      $54,386.80—totaling $6.5 million over its ten-year term. At all times, the County
      made monthly payments as they were due under the lease, in part with federal funds.
            240. On or about July 13, 2010, the County, at Shepos’s recommendation,
      exercised an option to renew the lease for a five-year term at a monthly rent of
      $70,433—totaling approximately $4.2 million over its five-year term.
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            241. On or about November 15, 2016, the County and M&A Gabaee entered
      into Amendment No. 1 to the lease agreement. The amendment extended the term of
      the lease for five years and set a monthly rent at $77,396.60, with yearly increases to
      rent—totaling payments in excess of $4.6 million. Amendment No. 1 was signed by
      Mark Gabaee on behalf of M&A Gabaee.
            242. The lease agreement in 1999, the exercise of the renewal option in 2010,
      and Amendment No. 1 in 2016 were all signed during periods when Arman Gabaee
      was paying bribes to Shepos—including travel, extravagant gifts, construction on
      Shepos’s home, and monthly cash payments—on behalf of himself, Mark Gabaee,
      and the other Gabaee Defendants.
            243. Section 29 of the lease agreement contains an express acknowledgment
      by M&A Gabaee that County employees are forbidden from soliciting consideration
      “in any form” from landlords and that landlords “shall not offer or give, either[]
      directly or through an intermediary, consideration in any form, to a County officer,
      employee or agent for the purpose of securing favorable treatment with respect to the
      award of the lease.”
            244. Shepos was instrumental in negotiating and securing this lease and its
      renewal and amendment. For example, Shepos authored the Board letter setting forth
      his recommendation that the Board exercise the five-year renewal option, stating “IT
      IS RECOMMENDED THAT YOUR BOARD” take two specific actions: (i) “Find
      that the lease renewal is categorically exempt from the California Environmental
      Quality Act”; and (ii) “Exercise the option to renew the lease for a five-year term
      with Town Investment, LLC.”
            245. The lease was in effect from September 7, 1999 until November 30,
      2021. During this period, the County paid monthly rent to M&A Gabaee, using a
      mixture of County, State, and federal funds.
            246. Through this lease and its renewal and amendment, the Gabaees, M&A
      Gabaee, and Sancam made the false representation that they (and the other Gabaee
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      Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
      government contracts based on those misrepresentations.
            247. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            248. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
      recommendations for Board approval, and other preferential treatment of the Gabaee
      Defendants, the County would never have entered the lease, exercised the 2010
      renewal option, or entered the 2016 amendment, nor would it have made payments
      thereunder.
                        v.       9107 Wilshire Boulevard.
            249. On or about March 23, 2016, the County and Oakshire entered into a
      lease agreement for 9107 Wilshire Boulevard in Los Angeles, California (Lease No.
      L-1244). The County used this space to house the Department of Mental Health,
      which provides critical mental health services such as assessments, case
      management, crisis intervention, medication support, peer support, and other
      rehabilitative services.
            250. Under this lease, the County agreed to pay a monthly rent of $24,000,
      plus $12,960 per month, for a period of sixty days—totaling payments of $73,920.
      After the initial sixty-day term, the County continued to occupy the premises until
      June 2019 as a holdover tenant. During this period, the County made monthly
      payments as they were due, in part with federal funds.
            251. This lease agreement was signed during the period when Arman Gabaee
      was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the other
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      Gabaee Defendants—travel, extravagant gifts, construction on Shepos’s home, and
      monthly cash payments. The lease was signed by Arman Gabaee on behalf of
      Wilhurst as Managing Member of Oakshire.
            252. Section 32 of the lease agreement contains an express acknowledgment
      by Oakshire that County employees are forbidden from soliciting consideration “in
      any form” from landlords and that landlords “shall not offer or give, either directly
      or through an intermediary, consideration in any form to a County officer, employee
      or agent for the purpose of securing favorable treatment with respect to the award of
      the Lease.”
            253. The lease was in effect from March 23, 2016 to June 9, 2019. During
      this period, the County paid monthly rent to Oakshire, using a mixture of County,
      States, and federal funds.
            254. Through this lease, the Gabaees, Oakshire, and Wilhurst made the false
      representation that they (and the other Gabaee Defendants) had not and would not
      engage in bribery, and in turn, obtained lucrative government contracts based on
      those misrepresentations.
            255. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            256. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease, and his other
      preferential treatment of the Gabaee Defendants, the County would never have
      entered the lease or made payments thereunder.
                       vi.         12000 Hawthorne Boulevard.
            257. On or about September 25, 2000, the County and M&A Gabaee entered
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      into a lease agreement for 12000 Hawthorne Boulevard in Hawthorne, California
      (Lease No. 73655). The County used this space to house the Department of Public
      Social Services.
            258. Under the lease agreement, the County agreed to pay a monthly rent of
      $232,743—totaling $27.9 million over its ten-year term. At all times, the County
      made monthly payments as they were due under the lease, using a mixture of County,
      State, and federal funds.
            259. The lease also provided the County the option to occupy a secondary
      premises for an additional $35,650 per month.
            260. On or about January 13, 2004, the County and M&A Gabaee entered
      into a Memorandum of Acceptance of Expansion Space, whereby the County took
      possession of the secondary premises (4300 West 12th Street) as of December 1,
      2003, resulting in additional payments of approximately $2.9 million over the
      remainder of the lease term.
            261. On or about July 5, 2011, the County and M&A Gabaee entered into
      Amendment No. 1 to the lease agreement. The amendment extended the term of the
      lease for five years and set a monthly rent at $273,722, with yearly increases—
      totaling payments in excess of $16.4 million.
            262. The lease agreement in 2000, the Memorandum of Acceptance of
      Expansion Space in 2004, and Amendment No. 1 in 2011 were signed during periods
      when Arman Gabaee was paying bribes to Shepos on behalf of himself, Mark
      Gabaee, and the other Gabaee Defendants—travel, extravagant gifts, construction on
      Shepos’s home, and monthly cash payments. The lease agreement, the Memorandum
      of Acceptance of Expansion of Space, and Amendment No. 1 were all signed by
      Mark Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
            263. Section     23.R     of   the   lease   agreement     contains   an   express
      acknowledgment by M&A Gabaee that County employees are forbidden from
      soliciting consideration “in any form” from landlords and that the lease agreement
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      would be immediately terminable if consideration “was offered or given by Lessor,
      either directly or through an intermediary, to any County officer, employee or agent
      with the intent of securing the Agreement or securing favorable treatment with
      respect to the award, amendment or extension of the Agreement or the making of any
      determinations with respect to the Lessor’s performance pursuant to the Agreement.”
            264. Shepos was instrumental in negotiating and securing approval of the
      lease, its amendment, and the Memorandum of Acceptance of Expansion Space. He
      authored a Board letter stating, “IT IS RECOMMENDED THAT YOUR
      BOARD,” among other things, “Approve and instruct the Mayor, Los Angeles
      County, to sign the attached ten-year lease with M & A Gabaee (Lessor).” He also
      authored a letter stating his “recommendation [] to exercise an option to renew the
      lease term for an additional five-year period . . . .”
            265. The lease was in effect from September 25, 2000 until August 31, 2017.
      During this period, the County paid monthly rent to M&A Gabaee, using a mixture
      of County, State, and federal funds.
            266. In their County lease and amendments, the Gabaees, M&A Gabaee, and
      Sancam made the false representation that they (and the other Gabaee Defendants)
      had not and would not engage in bribery, and in turn, obtained lucrative government
      contracts based on those misrepresentations.
            267. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            268. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease, Shepos’s
      recommendations for Board approval, and other preferential treatment of the Gabaee
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      Defendants, the County would never have entered the lease, Amendment No. 1, or
      the Memorandum of Acceptance of Expansion Space, nor would it have made
      payments thereunder.
                      vii.      532 East Colorado Boulevard.
            269. On or about May 18, 1999, the County and M&A Gabaee entered into
      a lease agreement for 532 E. Colorado Boulevard in Pasadena, California (Lease No.
      72116). The County used this space to house the Department of Children and Family
      Services.
            270. Under the lease agreement, the County agreed to pay monthly rent of
      $116,631—totaling $14 million over its ten-year term. At all times, the County made
      monthly payments as they were due under the lease.
            271. The lease also provided the County the option to occupy a secondary
      premises for an additional $35,650 per month.
            272. On or about February 16, 2010, the County, at Shepos’s
      recommendation, exercised an option to renew the lease for a five-year term with
      Greenoak as the counterparty, at a monthly rent of $33,418—totaling approximately
      $2 million over its five-year term.
            273. On or about December 8, 2015, the County and M&A Gabaee entered
      into Amendment No. 1 to the lease agreement. The amendment extended the term of
      the lease for five years and set a monthly rent at $176,811.62, with yearly rent
      increases—totaling payments in excess of $10.6 million.
            274. The lease agreement in 1999, the 2010 renewal option, and Amendment
      No. 1 in 2015, were signed during periods when Arman Gabaee was paying bribes
      to Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants—
      travel, extravagant gifts, construction on Shepos’s home, and monthly cash
      payments. The lease agreement and Amendment No. 1 were both signed by Mark
      Gabaee on behalf of Sancam as the General Partner of M&A Gabaee.
            275. Section     22.R    of     the
                                        lease agreement contains            an   express
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      acknowledgment by M&A Gabaee that County employees are forbidden from
      soliciting consideration “in any form” from landlords and that the lease agreement
      would be immediately terminable if consideration “was offered or given by Lessor,
      either directly or through an intermediary, to any County officer, employee or agent
      with the intent of securing the Agreement or securing favorable treatment with
      respect to the award, amendment or extension of the Agreement or the making of any
      determinations with respect to the Lessor’s performance pursuant to the Agreement.”
            276. Shepos authored the Board letter recommending approval of the five-
      year lease renewal, stating, “IT IS RECOMMENDED THAT YOUR BOARD”
      take two specific actions: (i) “Find that the lease renewal is categorically exempt
      from the California Environmental Quality Act pursuant to Class 1, of the
      Environmental Document Reporting Procedures and Guidelines”; and (ii) “Exercise
      the option to renew the lease for a five-year term with Greenoak Investments, LLC
      (Lessor).”
            277. Shepos also authored the Board letter recommending approval of
      Amendment 1 in 2015, stating, “IT IS RECOMMENDED THAT THE BOARD”
      take three specific actions: (i) “Find that the proposed lease amendment is
      categorically exempt from the provisions of the California Environmental Quality
      Act”; (ii) “Approve and instruct the Chairwoman to sign the five-year lease
      amendment with M&A Gabaee”; and (iii) “Authorize the Chief Executive Officer
      and the Director of Children and Family Services to implement the lease
      amendment.”
            278. Shepos also authored a memorandum directing commencement of rent
      payments under the original lease, which was adopted at Shepos’s recommendation.
      The lease was in effect from May 18, 1999 until December 31, 2020. During this
      period, the County paid monthly rent to M&A Gabaee, using a mixture of County,
      State, and federal funds.
            279. Through this lease and its renewal and amendment, the Gabaees, M&A
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      Gabaee, Greenoak, and Sancam made and adopted the false representation that they
      (and the other Gabaee Defendants) had not and would not engage in bribery, and in
      turn, obtained lucrative government contracts based on those misrepresentations.
            280. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            281. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease documents,
      Shepos’s recommendations for Board approval, and other preferential treatment of
      the Gabaee Defendants, the County would never have entered the lease, the renewal
      option or Amendment No. 1, nor would it have made payments thereunder.
                     viii.     15531 Ventura Boulevard.
            282. On or about July 28, 1992, the County and M&A Gabaee entered into a
      lease agreement for 15531 Ventura Boulevard in Sherman Oaks, California (Lease
      No. 66261). The County used this space to house the District Attorney and
      Department of Child Support Services, which enforces child support and medical
      support orders, establishes parentage, and collects and disburses support payments.
            283. Under the lease agreement, the County agreed to pay a monthly rent of
      $80,692—totaling $9.7 million over its ten-year term. At all times, the County made
      monthly payments as they were due under the lease, using a mixture of County, State,
      and federal funds.
            284. On or about October 1, 2002, the County and M&A Gabaee entered into
      Amendment No. 2 to the lease agreement. The amendment extended the term of the
      lease for five years and set a monthly rent at $94,286.29—totaling payments in excess
      of $5.6 million.
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            285. On or about December 18, 2007, the County and M&A Gabaee entered
      into Amendment No. 3 to the lease agreement. The amendment extended the term of
      the lease for five years and set a monthly rent at $111,837.15, providing for annual
      increases in rent—totaling payments in excess of $6.7 million.
            286. On or about April 2, 2013, the County and M&A Gabaee entered into
      Amendment No. 4 to the lease agreement. The amendment extended the term of the
      lease for five years and set a monthly rent at $125,257.59, providing for annual
      increases in rent—totaling payments in excess of $7.5 million.
            287. Amendment No. 2 in 2002, Amendment No. 3 in 2007, and Amendment
      No. 4 in 2013 were signed during periods when Arman Gabaee was paying bribes to
      Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants—
      travel, extravagant gifts, construction on Shepos’s home, and monthly cash
      payments. Amendment No. 2 was signed by Mark and Arman Gabaee on behalf of
      M&A Gabaee. Amendment Nos. 3 and 4 were signed by Mark Gabaee on behalf of
      Sancam as General Partner of M&A Gabaee.
            288. Shepos was directly involved in negotiating and securing the lease
      amendments outlined above. For example, Shepos directed a subordinate to author a
      Board letter recommending approval of Amendment No. 2, and Shepos himself
      authored Board letters recommending approval of Amendment Nos. 3 and 4. In the
      Board letter recommending Amendment No. 3, Shepos stated: “IT IS
      RECOMMENDED THAT YOUR BOARD” take two specific actions: (i)
      “Approve Amendment No. 3 to renew the lease for a five-year term with M&A
      Gabaee, L.P.”; and (ii) “Find that this Amendment No. 3 is exempt from the
      provisions of the California Environmental Quality Act (CEQA).” Shepos made
      nearly identical recommendations with respect to Amendment No. 4.
            289. The lease was in effect from July 28, 1992 until November 7, 2015.
      During this period, the County paid monthly rent to M&A Gabaee, using a mixture
      of County, State, and federal funds.
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            290. In this lease and amendments, the Gabaees, M&A Gabaee, and Sancam
      made the false representation that they (and the other Gabaee Defendants) had not
      and would not engage in bribery, and in turn, obtained lucrative government contracts
      based on those misrepresentations.
            291. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            292. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease amendments,
      Shepos’s recommendations for Board approval, and other preferential treatment of
      the Gabaee Defendants, the County would not have entered Amendment Nos. 2, 3,
      or 4, nor would it have made payments thereunder.
                       ix.      2910 West Beverly Boulevard.
            293. On or about March 14, 1969, the County entered into a lease agreement
      for 2910 West Beverly Boulevard in Los Angeles, California (Lease No. 14714) with
      non-party the Oswin Company.
            294. Oppidan acquired the subject property at 2910 West Beverly Boulevard
      in or around October 2000.
            295. On or about February 20, 2007, the County and Oppidan entered into
      Amendment No. 4 to the lease agreement. The amendment extended the term of the
      lease for five years and set a monthly rent at $66,815 per month, providing for annual
      increases in rent—totaling payments in excess of $4 million. At all times, the County
      made monthly payments as they were due under the lease, in part with federal funds.
            296. Shepos authored a Board letter recommending that the Board “Approve
      and instruct the Chairman to sign the attached Amendment No. 4 with OPPIDAN,
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      LLC, to extend the term of Lease No. 14714 for a five-year period . . . .”
               297. Amendment No. 4 in 2007 was signed during a period when Arman
      Gabaee was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the
      other Gabaee Defendants—travel, extravagant gifts, and renovations on Shepos’s
      home. Indeed, the County signed Amendment No. 4 approximately one month after
      the Gabaees, through the Charles Company, reimbursed Shepos for nearly $15,000
      in Dodgers tickets. Amendment No. 4 was signed by Mark Gabaee on behalf of
      Sancam as Managing Member of Oppidan.
               298. The lease was in effect until November 30, 2011. From the time the
      County entered Amendment No. 4 in February 2006 until November 30, 2011, the
      County paid monthly rent to Oppidan, using a mixture of County, State, and federal
      funds.
               299. Through this lease and amendments, the Gabaees, Oppidan, and Sancam
      made and adopted the false representation that they (and the other Gabaee
      Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
      government contracts based on those misrepresentations.
               300. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
               301. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease amendment,
      Shepos’s recommendations for Board approval, and other preferential treatment of
      the Gabaee Defendants, the County would not have entered Amendment No. 4, nor
      would it have made payments thereunder.


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                         x.       3303 North Broadway Street.
               302. On or about October 4, 2016, the County and Oppidan entered into a
      lease agreement for 3303 North Broadway Street in Los Angeles, California (Lease
      No. 78530). The County used this space to house the Department of Mental Health.
               303. Under the lease agreement, the County agreed to pay a monthly rent of
      $129,487.93—totaling $23.3 million over its fifteen-year term. At all times, the
      County made monthly payments as they were due under the lease, in part with federal
      funds.
               304. In or about February 2020, Oppidan assigned “all of its right, title and
      interest” in the foregoing lease to Maple19.
               305. Section    32.2   of   the   lease   agreement     contains   an   express
      acknowledgment by Oppidan that landlords “shall not offer or give, either directly or
      through an intermediary, consideration in any form to a County officer, employee or
      agent for the purpose of securing favorable treatment with respect to the award of the
      Lease.”
               306. This lease agreement was signed during a period when Arman Gabaee
      was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the other
      Gabaee Defendants— travel, extravagant gifts, renovations on Shepos’s home, and
      monthly cash payments. The lease was signed by Mark Gabaee on behalf of Sancam
      as Managing Member of Oppidan.
               307. As Oppidan’s successor-in-interest, Maple19 is liable for Oppidan’s
      misconduct and assumed Oppidan’s obligations and representations under the lease.
               308. Shepos was instrumental in negotiating and securing approval of this
      lease. For example, he authored a Board letter stating, “IT IS RECOMMENDED
      THAT THE BOARD,” among other things, “Approve and instruct the Chair to sign
      the lease with OPPIDAN, LLC (Landlord).”
               309. The County entered the lease on October 4, 2016 and had a fifteen-year
      term. The County paid monthly rent to Oppidan and/or Maple19 when due pursuant
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      to the terms of the lease, in part with federal funds.
            310. In their County lease, the Gabaees, Oppidan, Sancam, and Maple19
      made and adopted the false representation that they (and the other Gabaee
      Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
      government contracts based on those misrepresentations.
            311. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Gabaee Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Gabaee Defendants knowingly included a false implied certification
      that the Gabaee Defendants had complied with these legal requirements.
            312. Had the County known that Arman Gabaee was paying bribes to Shepos
      in exchange for Shepos’s help in negotiating and securing the lease documents,
      Shepos’s recommendations for Board approval, and other preferential treatment of
      the Gabaee Defendants, the County would never have entered this lease, nor would
      it have made payments thereunder.
                   4.     The Gabaees and Shepos Concealed Their Scheme.
            313. Arman Gabaee, Mark Gabaee, and Shepos mutually agreed, and then
      took steps, to conceal their bribery scheme. Specifically, Arman Gabaee and Shepos
      often met in person to discuss their improper arrangement—avoiding reducing their
      bribery scheme to writing. When the Gabaees and their employees did communicate
      with Shepos in writing—for example, to improperly received nonpublic County
      information—they were careful to hide their communications from the County by
      using Shepos’s personal email address. For years, Shepos hid cash and gifts he
      received from Arman Gabaee from his then-wife, Ms. Gluck. Shepos did not report
      any of that cash or those gifts on his Statement of Economic Interest Form 700s (a
      State form requiring State and local government officials to disclose certain financial
      interests, personal assets, and income that could be materially affected by their own
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      official acts). Nor did he otherwise inform the County about the things of value he
      received from the Gabaees. Arman and Mark Gabaee also used their entities and
      employees as intermediaries to funnel bribes to Shepos.
             314. In their leases with the County, the Gabaee Defendants represented—
      and repeatedly reaffirmed—their understanding that County employees like Shepos
      were prohibited from having any financial interest in County contracts and that
      landlords (including the Gabaee Defendants) are prohibited from giving County
      employees any consideration in exchange for favorable treatment. The County relied
      on those representations by the Gabaee Defendants in paying rent under their leases
      with the Gabaee Defendants.
                      5.   The    Gabaee     Defendants’     Agency     and     Alter-Ego
                           Relationships.
             315. As detailed above, the Gabaees acted as executives and managers of the
      entity Gabaee Defendants. Arman and Mark Gabaee bribed Shepos, including
      through at least M&A Gabaee, Excel Property Management, and the Charles
      Company, for the benefit of each of the other Gabaee Defendants. In addition, Mark
      Gabaee signed leases with the County on behalf of the other Gabaee Defendants.
      These facts show that the Gabaees own, control, and/or direct the actions of the
      Charles Company (doing business as The Charles Company, Inc.), M&A Gabaee,
      Excel Property Management, Oakshire, Wilhurst, Town Investments, Sancam,
      Greenoak, Maple19, Urban Grove19, and Oppidan, who, in doing the acts alleged
      herein, acted at their direction and/or with their permission, knowledge, consent, or
      ratification.
             316. In the alternative, based on the facts described above—including that the
      Gabaees acted as executives and managers of the entity Gabaee Defendants; that
      Arman and Mark Gabaee bribed Shepos, including through at least M&A Gabaee,
      Excel Property Management, and the Charles Company, for the benefit of each of the
      other Gabaee Defendants; and Mark Gabaee signed leases with the County on behalf
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      of the other Gabaee Defendants—the Gabaees were alter egos of the Charles
      Company (doing business as The Charles Company, Inc.), M&A Gabaee, Excel
      Property Management, Oakshire, Wilhurst, Town Investments, Sancam, Greenoak,
      Maple19, Urban Grove19, and Oppidan; the Gabaees dominated and controlled the
      other Gabaee Defendants; a unity of interest and ownership existed between the
      Gabaees and the other Gabaee Defendants; the other Gabaee Defendants were mere
      shells and conduits for the Gabaees’ affairs; the other Gabaee Defendants were
      inadequately capitalized; the Gabaees and the other Gabaee Defendants failed to abide
      by the formalities of corporate existence; and the Gabaees used the other Gabaee
      Defendants’ assets as their own and, in doing the things alleged herein, acted with
      such a unity of interest that the separate personalities of these corporate entities do not
      in reality exist and honoring their separate identities would bring about an inequitable
      result. The Gabaee Defendants did not respect corporate formalities because they used
      their companies as mere shells to carry out their bribery scheme. As one example,
      M&A Gabaee and Excel Property Management both paid bribes in connection with
      the Roscomare Road property, which were intended to induce Shepos to provide illicit
      benefits to the Gabaees and their companies. As another example, the Gabaees
      directed employees of the Charles Company to participate in their bribery scheme by
      emailing Shepos on his personal email address to request nonpublic County
      information on behalf of the entity Gabaee Defendants.
            B.     Donald G. Abbey.
            317. Donald Abbey runs one of the largest commercial real estate
      development companies in the country. Through the Abbey Company and dozens of
      project-specific LLCs, Donald Abbey has done numerous transactions with the
      County. The evidence of Abbey’s involvement in the bribery scheme is detailed
      below.
            318. Shepos and Abbey met in or around the early 2000s. They had both
      attended Penn State University and bonded over their shared alma mater. After their
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      first meeting, Shepos invited Abbey to do business with the County.
            319. Abbey understood that Shepos was a high-ranking County employee
      with authority to bind the County to significant contracts and influence the County’s
      real estate decisions. Thus, Abbey bribed Shepos intending to corrupt Shepos’s
      influence over the County for Abbey’s own (and his entities’) benefit.
                   1.    The Abbey Defendants’ Bribes.
            320. In exchange for Shepos’s help securing three County leases for the
      Abbey Defendants—in 2004, 2006, and 2007, respectively—Abbey and his entities
      bribed Shepos with free home renovations to his property in Bel Air. Not only did
      Abbey, through his entities (and along with the Gabaees), pay for and execute the
      construction of Shepos’s and Ms. Gluck’s home, but Abbey also provided Shepos
      with a Home Depot credit card billed to, and paid for by, Abbey’s company NL
      Services. Credit card statements dated between May 2005 and December 2005
      indicate that during that time period alone, Shepos spent up to hundreds of dollars
      per month on construction materials at Home Depot—all of which was billed to and
      paid for by NL Services (courtesy of Abbey).
            321. On August 12, 2005—around one year after Shepos authored a letter to
      the County Board of Supervisors recommending approval of the Abbey Defendants’
      first County lease—Shepos signed a proposal contract with NL Services to perform
      home renovations on his Roscomare Road property in exchange for $476,500. That
      proposal contract indicates that it was submitted by President of NL Services, Sam
      Aldrich. Abbey caused NL Services to enter into the proposal contract—which
      resulted in a massive financial benefit to Shepos in the form of hundreds of thousands
      of dollars’ worth of labor and material—in exchange for his improper help securing
      County leases for the Abbey Defendants.
             322. Shepos’s records indicate that NL Services and Nittany Lion
      Landscaping performed approximately $480,000 worth of renovations on Shepos’s
      Roscomare Road property. Shepos received that labor and material as a bribe from
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      Donald Abbey and never actually paid any invoices.
            323. Abbey’s company NL Services provided Shepos with a check for
      $25,000, dated November 23, 2005, made out to CME Windows & Doors, the
      company that supplied the windows and doors for Shepos’s Roscomare Road
      property.
            324. Shepos gave that check to CME Windows & Doors as a “deposit check
      to place window & door order.”
            325. Shepos then submitted a false claim to Indy Mac Bank on his home
      construction loan, indicating that the $25,000 check was one that he had paid and
      asking that he be reimbursed from the construction loan. Indy Mac Bank indeed
      reimbursed Shepos $25,000 even though it had been paid by NL Landscaping
      Services, Inc. rather than by Shepos.
            326. Below are excerpts showing (a) the $25,000 check from NL
      Landscaping Services, Inc.; (b) Shepos’s handwriting on an invoice he paid to CME
      Windows & Doors; (c) Shepos’s letter to IndyMac bank requesting reimbursements,
      including for the $25,000 window and door order; and (d) a deposit to Shepos’s bank
      account a few days later from IndyMac bank.




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            327. Abbey bribed Shepos through Nittany Lion (doing business as NL
      Services) for the benefit of his other companies, The Abbey Company, Abbey-
      Properties, DGA-Properties, AP-Palmdale, AP-Palmdale Place, AP-Commerce
      Plaza (to which CDCF III is a successor-in-interest), The Abbey Management
      Company, AP-Sierra, Abbey-Properties II, and DGA-Properties II.
                  2.    The Abbey Defendants’ Tainted County Contracts.
            328. During the period when Abbey and Nittany Lion (doing business as NL
      Services) were bribing Shepos, the County entered into and renewed several lease
      agreements with the Abbey Defendants in order to house County departments and

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      programs. The County paid for these leases using money that originated from a mixture
      of federal, state, and County grant funds.
                        i.      39959 Sierra Highway.
            329. On or about May 18, 2004, the County and AP-Sierra entered into a
      lease agreement for 39959 Sierra Highway in Palmdale, California (Lease No.
      74876). The County used this space to house the Department of Children and Family
      Services. Before the County began to occupy the space, the County and Abbey signed
      a work letter, pursuant to which Abbey would provide tenant improvements to the
      property before the County moved in. Per the work letter, the tenant representative
      was Shepos, and the landlord representative was Abbey.
            330. The lease commenced on March 1, 2005 and set a monthly rent of
      $71,775, with bi-annual rent increases over ten years—totaling payments to AP-
      Sierra of approximately $9.1 million (including $2.4 million in County-funded tenant
      improvements). The lease also provided for the County to purchase $1.5 million in
      furniture from AP-Sierra. Abbey-Properties executed the lease on behalf of DGA-
      Properties which, in turn, executed the lease on behalf of AP-Sierra.
            331. Shepos represented the County as the real property agent on this lease.
      Indeed, Shepos was instrumental in negotiating and securing approval of this lease.
      Among other things, he authored the Board letter recommending approval of the
      lease, prepared an Initial Study and Negative Declaration pursuant to CEQA
      determining that the project would not significantly affect the environment, and
      represented the County as the counterparty to Abbey in connection with County
      funded improvements on the property.
            332. Specifically, the Board letter recommended that the Board “[a]pprove
      and instruct the Chairman to sign the attached ten-year lease and addendum with AP-
      Sierra LLC, Landlord, for the occupancy of 49,500 rentable square feet of office
      space,” and “[a]uthorize the Chief Administrative Office (CAO) to acquire financing
      for furniture systems for DCFS at a cost not to exceed $1,500,000.”
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            333. Section 32(b) of the lease contains an express acknowledgement by AP-
      Sierra that County employees are forbidden from soliciting consideration “in any
      form” from landlords and that landlords “shall not offer or give [] consideration in
      any form to a County officer, employee or agent for the purpose of securing favorable
      treatment with respect to the award of the Lease.”
            334. Abbey entered into the lease with the intent to pay Shepos bribes in
      exchange for the business opportunity with the County. The Abbey Defendants
      performed free renovations on Shepos’s home in exchange for Shepos’s help in
      negotiating and securing approval of the lease and any amendments thereto.
            335. On or about February 3, 2015, the County and AP-Sierra entered into an
      amendment to the lease. The amendment extended the term of the lease for a period
      of five years and increased the monthly rent to $79,200 for the first year; $81,180 for
      the second year; $83,160 for the third year; $85,140 for the fourth year and $87,120
      for the fifth year—totaling approximately $5 million over the full term.
            336. At all times, the County made monthly payments as they were due under
      the lease, using a mixture of County, State, and federal funds.
            337. Abbey-Properties executed the amendment on behalf of DGA-
      Properties, which, in turn, executed the lease on behalf of AP-Sierra. Abbey signed
      the amendment.
            338. Through their County lease and amendment, Abbey, AP-Sierra, DGA-
      Properties, and Abbey-Properties made the false representation that they (and the
      other Abbey Defendants) had not and would not engage in bribery, and in turn,
      obtained lucrative government contracts based on those misrepresentations.
            339. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Abbey Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Abbey Defendants knowingly included a false implied certification
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      that the Abbey Defendants had complied with these legal requirements.
             340. Had the County known Abbey and the entity Abbey Defendants were
      bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease
      and amendment, Shepos’s recommendations for Board approval, and other
      preferential treatment of the Abbey Defendants, the County would never have
      entered the lease or amendment, nor would it have made payments thereunder.
                       ii.      2323 East Palmdale Boulevard.
             341. On or about October 10, 2006, the County and AP-Palmdale—of which
      Abbey is the Chief Executive Officer—entered into a lease agreement for 2323 East
      Palmdale Boulevard in Palmdale, California (Lease No. 75892). The County used
      this space to house the Department of Mental Health.
             342. Before the County occupied the space, Abbey and the County signed a
      work letter, under which Abbey would provide tenant improvements to the property
      prior to the County’s move-in. Per the work letter, Shepos was the tenant
      representative, and Abbey was the landlord representative.
             343. Under this lease, the County agreed to pay AP-Palmdale: a base monthly
      rent of $14,808 with fixed, periodic rent increases during its term; a one-time
      payment of over $100,000 for tenant improvements; and $350,000 in furniture—
      totaling payments to AP-Palmdale of over $2.3 million over the ten-year term.
             344. The lease was in effect for ten years (until October 2016), during which
      time the County paid AP-Palmdale monthly rent as it was due, along with the
      $100,000 for tenant improvements and $350,000 in furniture costs—all using a
      mixture of County, State, and federal funds. After the initial term, the County
      continued to occupy the property until April 2020 as a holdover tenant, and as of
      February 2018, paid rent to AP-Palmdale Place, AP-Palmdale’s successor-in-
      interest.
             345. Shepos was instrumental in negotiating and securing approval of this
      lease. Among other things, he authored a Board letter recommending approval of the
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      lease, prepared an Initial Study and Negative Declaration pursuant to CEQA
      determining that the project would not significantly affect the environment, and
      represented the County as the counterparty to AP-Palmdale in connection with
      County-funded improvements on the property. Shepos did this because he had
      received, and was continuing to receive, hundreds of thousands of dollars in free
      renovations of his Bel Air residence from Abbey. The Board letter specifically
      recommended that the Board “[a]pprove and instruct the Mayor to sign the attached
      ten-year lease with AP-Palmdale, LLC, Landlord, for the occupancy of 9,255
      rentable square feet of office space…plus a one-time payment of $107,550 for
      additional Tenant Improvements (TI) and $350,000 for furniture.” The Board letter
      attached the Negative Declaration Shepos authored finding that “the project will not
      have a significant effect on the environment.”
            346. The County made payments to the AP-Palmdale for Lease No. 75892
      using a mixture of Federal, State, and County funds.
            347. Section 32(b) of the lease prohibits County employees from soliciting
      consideration “in any form” from landlords and states that landlords “shall not offer
      or give [] consideration in any form to a County officer, employee or agent for the
      purpose of securing favorable treatment with respect to the award of the Lease.”
            348. The lease was signed by the Abbey Defendants at the time Abbey was
      bribing Shepos in exchange for Shepos’s influence on County leases.
            349. In their County lease and renewal, Abbey, AP-Plaza, AP-Palmdale, and
      AP-Palmdale Place (as AP-Palmdale’s successor-in-interest) made and adopted the
      false representation that they (and the other Abbey Defendants) had not and would
      not engage in bribery, and in turn, obtained lucrative government contracts based on
      those misrepresentations.
            350. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Abbey Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
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      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Abbey Defendants knowingly included a false implied certification
      that the Abbey Defendants had complied with these legal requirements.
            351. Had the County known Abbey and the entity Abbey Defendants were
      bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease,
      Shepos’s recommendations for Board approval and other preferential treatment of
      the Abbey Defendants, the County would not have entered the lease, nor would it
      have made payments thereunder.
                       iii.     5701 South Eastern Avenue.
            352. On or about August 21, 2007, the County and AP-Commerce (to which
      Defendant CDCF III is the successor-in-interest) entered into a lease agreement for
      5701 South Eastern Avenue in Commerce, California (Lease No. 76324). The
      County used this space to house the Department of Child Support Services.
            353. Abbey-Properties II executed the lease on behalf of AP-Commerce.
      Abbey signed the lease on behalf of Abbey-Properties II.
            354. Under this lease, the County agreed to pay a base rent of $131,430 per
      month for the first year, with annual rent increases over the seven-year term—totaling
      approximately $12 million in rent payments. At all times, the County made monthly
      rent payments under the lease as they were due, using a mixture of County, State, and
      federal funds.
            355. Like the County’s other leases, Section 31(b) of the 5701 South Eastern
      Avenue lease contains an express acknowledgment that County employees are
      forbidden from soliciting consideration “in any form” from landlords and that
      landlords “shall not offer or give [] consideration in any form to a County officer,
      employee or agent for the purpose of securing favorable treatment with respect to the
      award of the Lease.”
            356. Shepos was instrumental in negotiating and securing approval of the
      lease. Among other things, according to the County’s subsequent investigation,
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      stemming from information the County received from Ms. Gluck, Shepos was the
      County point-person with CBRE, the commercial agent, and he oversaw rent
      payment and space adjustments for the property. Shepos did these things in exchange
      for the hundreds of thousands of dollars in home renovations Abbey provided him.
      Abbey signed the lease knowing that it was procured as a result of his bribery.
            357. The original lease was in effect from August 21, 2007 to August 20,
      2014, during which time the County paid monthly rent as it was due, using a mixture
      of County, State, and federal funds.
            358. On or about July 13, 2010, the County and AP-Commerce entered into
      the First Amendment to the lease, reducing the size of the rented premises by 3,111
      square feet and reducing the rent proportionately.
            359. From August 2014 to March 2018, the County leased the property on a
      month-to-month holdover basis, paying over $6 million in rent.
            360. On July 11, 2014, Shepos authored a memorandum to the County
      Section Head, Rent/Budget Administration providing notice that the monthly rental
      payments “will continue on a month-to-month holdover effective August 21, 2014”
      at a monthly rate of $149,108.83.
            361. On or about March 20, 2018, the County and CDCF III entered into a
      Second Amendment to Lease, extending its term by a period of seven years at a
      monthly rent of $54,584.20, with annual rent increases of up to 3%—totaling
      payments to CDCF III in an amount of at least $4.6 million.
            362. In their County lease and amendments, Abbey, AP-Commerce (to which
      Defendant CDCF III is the successor-in-interest), and Abbey-Properties II made the
      false representation that they (and the other Abbey Defendants) had not and would
      not engage in bribery, and in turn, obtained lucrative government contracts based on
      those misrepresentations.
            363. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Abbey Defendants would comply with
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      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Abbey Defendants knowingly included a false implied certification
      that the Abbey Defendants had complied with these legal requirements.
            364. Had the County known Abbey and the entity Abbey Defendants were
      bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease
      and other preferential treatment of the Abbey Defendants, the County would not have
      entered the lease or amendments thereto, nor would it have made payments
      thereunder.
                    3.   Abbey and Shepos Concealed Their Scheme.
            365. Shepos and Abbey mutually agreed, and took steps, to conceal their
      bribery scheme. Rather than paying Shepos directly, Abbey indirectly funded
      renovations to Shepos’s home using Abbey’s construction and landscaping company
      Nittany Lion (doing business as NL Services). Abbey caused NL services to enter a
      proposal contract and subsequently invoice Shepos in order to give their arrangement
      the false appearance of legitimacy. But Abbey never intended to collect any payment
      from Shepos for the hundreds of thousands of dollars of labor and materials Abbey
      provided to Shepos through his NL Landscaping and NL Services. Shepos never
      disclosed his home-renovation dealings with Abbey to the County.
            366. In their leases with the County, the Abbey Defendants represented—and
      repeatedly reaffirmed—their understanding that County employees like Shepos were
      prohibited from having any financial interest in County contracts and that landlords
      (including the Abbey Defendants) are prohibited from giving County employees any
      consideration in exchange for favorable treatment. The County relied on those
      representations by the Abbey Defendants in paying rent under their leases with the
      Abbey Defendants.
                    4.   The Abbey Defendants’ Agency and Alter-Ego Relationships.
            367. Based on Abbey’s ownership and respective management roles within
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      each of the other Abbey Defendants, and the actions those companies took at Abbey’s
      direction, all detailed above, Abbey owns, controls, and/or directs the actions of
      Nittany Lion (doing business as NL Services), The Abbey Company, Abbey-
      Properties, DGA-Properties, AP-Palmdale, AP-Palmdale Place, AP-Commerce
      Plaza (to which CDCF III is a successor-in-interest), The Abbey Management
      Company, AP-Sierra, Abbey-Properties II, and DGA-Properties II, who, in doing the
      acts alleged herein, acted at their direction and/or with their permission, knowledge,
      consent or ratification.
             368. In the alternative—based on Abbey’s ownership and respective
      management roles within each of the other Abbey Defendants, and the actions those
      companies took at Abbey’s direction, detailed above—Abbey was the alter ego of
      the other Abbey Defendants; Abbey dominated and controlled the other Abbey
      Defendants; a unity of interest and ownership existed between Abbey and the other
      Abbey Defendants; the other Abbey Defendants were mere shells and conduits for
      Abbey’s affairs; the other Abbey Defendants were inadequately capitalized; Abbey
      and the other Abbey Defendants failed to abide by the formalities of corporate
      existence; and Abbey used the other Abbey Defendants’ assets as their own and, in
      doing the things alleged herein, acted with such a unity of interest that the separate
      personalities of these corporate entities do not in reality exist and honoring their
      separate identities would bring about an inequitable result. The Abbey Defendants
      did not respect corporate formalities because they used their companies as mere shells
      to carry out their bribery scheme. As one example, NL Services, at Abbey’s direction,
      gave Shepos labor and material in connection with the Roscomare Road property as
      bribes in exchange for Shepos’s help securing County leases benefitting Abbey’s
      other entities.
             C.     Frank A. Visco.
             369. Lancaster, California businessman Frank Visco played a significant role
      in organizing the bribery scheme, including organizing no-bid deals in the Antelope
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      Valley. Shepos met with Visco each Wednesday in Lancaster to coordinate their
      fraudulent conduct.
            370. Visco understood that Shepos was a high-ranking County employee
      with authority to bind the County to significant contracts and influence the County’s
      real estate decisions. Thus, Visco bribed Shepos intending to corrupt Shepos’s
      influence over the County for his own benefit.
                   1.     Visco’s Improper Relationship with Shepos.
            371. As described above, Shepos and Visco had a strange and improper
      relationship. Visco often called Shepos on weekends, sometimes inviting Shepos to
      go for rides in his Maybach. At least once, Visco visited Shepos at the Bel Air
      property during the renovations.
            372. Beginning in the late 1990s or early 2000s, Visco paid for Shepos’s trips
      to various destinations, where they frequented resorts and casinos tougher. Shepos
      and Visco attended a golf tournament together in September 2007. They traveled to
      casinos, resorts, and other destinations, including Las Vegas in 2008, Palm Springs
      in 2009, and Santa Barbara in 2010. And they gambled together frequently over the
      years—including at least four or five times at Agua Caliente in Palm Springs.
            373. On information and belief, Visco also gave Shepos cash payments—
      including, for example, payments of $27,500 in or around November 2008, and
      $18,500 in or around November 2009. The basis for this informed belief is a
      handwritten note that Shepos gave to Ms. Gluck, and which he explained to her was
      a list of gambling trips and transactions with both Visco and Arman Gabaee. In
      particular, Shepos’s handwritten note stated: “Nov 09 . . . W/F [Frank] . . . 18500”
      and “Nov 08 PS [Palm Springs] W/F . . . 27,500.” In the same note, Shepos affirmed
      those dates and dollar amounts of Visco’s payments: “11/17/08 . . . Frank $27,500”
      and “Nov 09 . . . 18,500 . . . Frank.”
            374. In January 2010, Shepos celebrated his birthday with Ms. Gluck and
      some friends at a high-end spa resort, which resulted in a substantial invoice. Ms.
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      Gluck discovered that invoice years later, which revealed that their room had been
      booked under Frank Visco’s name, and Visco had covered their weekend by
      providing Shepos with a $5,000 gift certificate.
            375. In or around 2012, Visco gave Shepos frequent flyer miles allowing
      Shepos to upgrade his flight to New Orleans.
            376. Shepos also took out a $1 million life insurance policy for his daughter
      from Visco’s company, Visco Financial Insurance Services. Shepos’s name was
      misspelled “Stepos” on that policy. A few years later, Shepos cashed in the policy
      without Ms. Gluck’s knowledge.
            377. Rather than representing the County in Visco’s real estate transactions
      with the County—which was Shepos’s job—Shepos instead referred to Visco as a
      “County client.” For years, Shepos traveled to Lancaster to meet with Visco every
      Wednesday. During one of these meetings, Shepos accidentally called Ms. Gluck and
      left a voicemail. Visco can be heard on the recording saying, “no bid.” Visco and
      Shepos also discussed cash payments and square footage. Shepos mentioned
      “Marissa”—referring to the daughter of Visco’s employee Michelle Lantz—to
      which Visco replied, “get the family out.”
            378. Deepening Shepos’s strange and improper ties with Visco, Shepos
      developed a romantic relationship and took frequent trips with an employee of
      Visco’s company Visco Financial, Michele Lantz.
            379. Lantz has worked with Visco since the late 1990s, around the time when
      Shepos met them both. After Shepos’s and Ms. Gluck’s 2011 separation and her
      subsequent divorce filing, Shepos and Lantz developed a romantic relationship. At
      that time and continuing until around April 2017, Shepos had significant influence
      over Visco’s real estate transactions with the County. Shepos and Lantz have
      remained in a romantic relationship since approximately 2012. During that time, they
      have attended several parties at Visco’s home.
            380. Around July 2014, Shepos and Lantz vacationed at the Ritz-Carlton in
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      Saint Thomas. In July 2015, Lantz gave Shepos Dodgers tickets. Shepos and Lantz
      also traveled together to Nashville in April 2016 and Los Cabos, Mexico in May
      2017. And between 2018 and 2019, Shepos and Lantz took many other trips
      throughout the United States and internationally, including to Hawaii, New York,
      Italy, and Berlin.
            381. Shepos leveraged his close ties to Visco—a prominent, wealthy
      developer—to offer favors to other businesspersons in the Lancaster area. For
      example, on October 13, 2008, the owner of Antelope Valley Equipment & Truck
      Parts, emailed Shepos complaining about the company’s problems obtaining
      approvals from the City of Lancaster relating to its property. The owner asked if
      Shepos could help by getting Visco to talk to Rex Parris, the Mayor of Lancaster, on
      behalf of the Company. Shepos replied: “will contact visco tomorrow.”
            382. In exchange for Visco’s cash payments and gifts, Shepos ensured that
      the Visco Defendants received lucrative County contracts. From 2004 through 2016,
      Shepos authored at least ten letters to the County Board of Supervisors, plus related
      correspondence, recommending Visco for various projects. All told, Shepos authored
      and signed more than 100 memoranda approving and requesting payments to Visco
      totaling over $5 million.
                   2.       The Visco Defendants’ Tainted County Contracts.
            383. During the period when Visco was bribing Shepos, the County entered
      into and renewed several lease agreements involving Visco in order to house certain
      County departments and programs. The County paid for these leases using money
      originating from a mixture of federal, State, and County grant funds.
                           i.     335 & 349 East Avenue K-6.
            384. Since 1987, the County has leased property from Visco, in his personal
      capacity, located at 335 and 349 East Avenue K-6 in Lancaster, California (Lease
      No. 58046). The County used this property to house departments that provide critical
      services to its citizens, including: the Department of Public Social Services, the
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      Department of Public Works, the Department of Children and Family Services, the
      Department of Mental Health, and the Antelope Valley Health Center (which
      operates under the Department of Health Services).
            385. In November 1987, the County entered into a Donation Agreement
      whereby Visco would donate the property under Lease No. 58046 to the County 25
      years after the lease commenced, in exchange for a plaque commemorating Visco
      (Donation Agreement No. 58048).
            386. After Shepos and Visco developed an improper relationship, Shepos
      became involved in this lease. Shepos negotiated and oversaw the making of
      amendments to the lease and Donation Agreement. On or about October 19, 2004,
      the County and Visco entered into Amendment No. 2 to Lease No. 58046.
      Amendment No. 2 to the lease shortened the lease period by several months and
      authorized tenant improvements for DPSS up to $1,530,000, payable by the County
      to Visco as additional rent. Shepos was the County’s work letter representative in
      connection with these tenant improvements.
            387. Shepos authored the Board letter recommending Amendment No. 2 to
      the lease. The Board letter stated, “IT IS RECOMMENDED THAT YOUR
      BOARD: “Approve and instruct the Chairman to sign the Amendment No. 2 with
      Frank A. Visco (Lessor) to shorten the term of Lease No. 58046 and Donation
      Agreement No. 58048,” and “Authorize the CAO and DPSS to reimburse the Lessor
      for Tenant Improvements (TI) in an amount not to exceed $1,530,000.”
            388. On or about October 19, 2004, the County and Visco also entered into
      Amendment No. 1 to the Donation Agreement No. 58048, which moved up the date
      by which Visco would transfer the property to the County to align with the lease
      termination date.
            389. Amendment No. 2 to Lease 58046 and Amendment No. 1 to Donation
      Agreement No. 58048 were signed by Visco during the period where Shepos and
      Visco were participating in the bribery scheme, as alleged in detail above.
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            390. The County paid monthly rent to Visco on this lease—in part with
      federal funds—from November 3, 1987 to December 16, 2013, when ownership
      transferred to the County. All of the County’s payments to Visco from October 2004
      to December 2013 were tainted by Shepos’s and Visco’s bribery scheme.
            391. Through Lease No. 58046 and its amendments and renewals, Visco
      made the false representation that he had not and would not engage in bribery, and in
      turn, obtained lucrative government contracts based on those misrepresentations.
            392. Moreover, each invoice submitted pursuant to County leases or other
      agreements impliedly certified that the Visco Defendants would comply with
      California law, which forbids County employees from receiving bribes or having a
      financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
      submitted by the Visco Defendants knowingly included a false implied certification
      that the Visco Defendants had complied with these legal requirements.
            393. Had the County known Visco was paying bribes to Shepos in exchange
      for Shepos’s help in negotiating and securing these amendments and other
      preferential treatment of the Visco Defendants, the County would not have entered
      into Amendment No. 2 to Lease 58046 or Amendment No. 1 to the Donation
      Agreement No. 58048, and it would not have made rent payments thereunder.
                       ii.      251 East Avenue K-6.
            394. On or about September 10, 1991, the County and Visco, in his personal
      capacity, entered into a lease for 251 East Avenue K-6 in Lancaster, California (Lease
      No. 65436). The County used the space to house the Office of the Assessor and the
      Department of Mental Health.
            395. On or about April 8, 2008, the County and Visco entered into
      Amendment No. 1 to this lease authorizing payments to Visco of up to $250,000 in
      tenant improvements and basic structural maintenance for the property. Shepos
      controlled this project and participated in the negotiation and making of this
      amendment. He also prepared a recommendation that the Board authorize and
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       approve the amendment.
             396. Specifically, Shepos’s Board letter recommended the authorization of
       “$250,000,000 in expenditures” used for TI. Shepos recommended that the Board
       “[f]ind that this Lease Amendment No. 1 is exempt from the provisions of California
       Environmental Quality Act (CEQA), and “[a]pprove and instruct the Chair to sign
       the attached Amendment No. 1 with Frank A. Visco (Lessor).”
             397. Approximately seven months after the County and Visco entered into
       Amendment No. 1, and in exchange for Shepos’s assistance therewith, Visco paid
       Shepos $27,500 in cash.
             398. The County paid Visco monthly rent under this lease using a mixture of
       County, State, and federal funds until the lease expired in February 2017. The
       County’s payments to Visco from April 2008 to February 2017 were tainted by the
       bribery scheme.
             399. Through Lease No. 65436 and its amendment, Visco made the false
       representation that they had not and would not engage in bribery, and in turn,
       obtained lucrative government contracts based on those misrepresentations.
             400. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Visco Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Visco Defendants knowingly included a false implied certification
       that the Visco Defendants had complied with these legal requirements.
             401. Had the County known that Visco was paying bribes to Shepos in
       exchange for Shepos’s help in negotiating and securing the amendment, Shepos’s
       recommendation for Board approval and other preferential treatment of the Visco
       Defendants, the County would not have entered into Amendment No. 1, nor would it
       have made payments thereunder.


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                       iii.      335-337 East Avenue K-10.
             402. On or about May 30, 2006, the County and Visco, in his personal
       capacity, entered into a lease agreement for 335-337 East Avenue K-10 in Lancaster,
       California (Lease No. 75678). The County used this space to house the Department
       of Public Social Services, the Department of Agricultural Commissioner/Weights
       and Measures, the Department of Military and Veterans Affairs, and the Housing
       Authority.
             403. Under this lease, the County agreed to pay Visco monthly rent of
       $43,859.60—totaling approximately $8 million over the fifteen-year term. At all
       times, the County made monthly payments as they were due under the lease, using a
       mixture of County, State, and federal funds.
             404. Section 31(b) of the lease contains an express acknowledgement by
       Visco that County employees are forbidden from soliciting consideration “in any
       form” from landlords and that landlords “shall not offer or give [] consideration in
       any form to a County officer, employee or agent for the purpose of securing favorable
       treatment with respect to the award of the Lease.” Visco signed this during the period
       when he was paying Shepos bribes, as alleged in detail above.
             405. Shepos was instrumental in negotiating and securing approval of this
       lease. Among other things, he: recommended that the Board approve the lease,
       prepared an Initial Study and Negative Declaration pursuant to CEQA determining
       that the project would not significantly affect the environment, and represented the
       County as the counterparty to Visco in connection with $1.5 million in County-
       funded improvements on the property.
             406. Specifically, Shepos authored a Board letter recommending that the
       Board “[a]pprove and instruct the Mayor to sign the attached 15-year lease with
       Frank. A Visco, Landlord” and authorize the Chief Administrative Office “to
       reimburse the landlord and acquire substitute financing for furniture systems for
       DPSS at a cost not to exceed $600,000.”
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             407. On or about December 8, 2009, approximately one month after Visco
       paid Shepos $18,500 in cash in exchange for Shepos’s assistance, the County and
       Visco entered into Amendment No. 1 to the lease. This amendment expanded the
       space occupied by the County by 3,126 square feet and increased the County’s rent
       payments by over $1 million.
             408. Shepos was heavily involved in negotiating and securing Amendment
       No. 1. For example, he recommended that the Board “find that the project will not
       have a significant effect on the environment” and “[a]pprove and instruct the Chair
       to sign Amendment No. 1 to Lease No. 75678 with Frank A. Visco (Landlord) for
       the occupancy of 3,126 rentable square feet of office space.”
             409. From January 1, 2007 to May 29, 2021, the County made monthly rental
       payments pursuant to this lease, using a mixture of County, State, and federal funds.
             410. Through Lease No. 75678 and its amendment, Visco made the false
       representation that they had not and would not engage in bribery, and in turn,
       obtained lucrative government contracts based on those misrepresentations.
             411. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Visco Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Visco Defendants knowingly included a false implied certification
       that the Visco Defendants had complied with these legal requirements.
             412. Had the County known that Visco was paying bribes to Shepos in
       exchange for Shepos’s help in negotiating and securing the lease and amendment,
       Shepos’s recommendations for Board approval, and other preferential treatment of
       the Visco Defendants, the County would never have entered the lease or Amendment
       No. 1, nor would it have made payments thereunder.
                       iv.      The Castaic Library.
             413. In or around January 2008, the County entered into a lease agreement
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       for 27971 Sloan Canyon Road in Castaic, California with a series of entities as to
       whom the successor-in-interest is nonparty Castaic FCG (Lease No. 76453). This
       property houses the Castaic Library (a branch of the Los Angeles County Library),
       which provides library services to over 3.4 million County residents in a service area
       extending over 3,000 square miles.
             414. Section 31(b) of the lease contains an express acknowledgment that
       County employees are forbidden from soliciting consideration “in any form” from
       landlords and that landlords “shall not offer or give [] consideration in any form to a
       County officer, employee or agent for the purpose of securing favorable treatment
       with respect to the award of the Lease.”
             415. The County’s lease with Castaic FCG was later amended to provide for
       tenant improvements, payable by the County to Castaic FCG, in an amount of up to
       $1,968,120. The contract authorized an administrative fee of 3% on the tenant
       improvements.
             416. In or around January 2013, Castaic FCG transferred its right to perform
       these tenant improvements, and its concomitant right to payment, to Visco Financial,
       whose CEO was Visco. This assignment required approval by the County and was
       orchestrated by Shepos. Shepos recommended to the Board that Visco Financial be
       awarded the contract for the tenant improvements. In doing so, Shepos circumvented
       a competitive bidding process. Visco Financial was not a licensed contractor and
       subsequently subcontracted the work to Sawyer Construction & Associates. At the
       time Shepos made this recommendation to the Board, he was taking bribes from
       Visco and had been doing so for years.
             417. Shepos was also responsible for approving requests for payment for
       tenant improvements under the contract with Visco Financial. In December 2014,
       Shepos authored at least ten memoranda to the County’s Section Head for
       Rent/Budget Administration, directing the County to “make a lump sum payment” to
       Visco personally for tenant improvements. The amounts Shepos approved repeatedly
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       exceeded what was permitted under the contract or what had been authorized by the
       Board. For example, although the contract only permitted tenant improvements of up
       to $1,968,120, Shepos arranged for payments to Visco Financial totaling
       $2,542,449—an excess of over $570,000. Further, although the contract only
       permitted payment for telephone, data, and low-voltage system implementation of up
       to $200,000, Shepos arranged for payments to Visco Financial totaling $448,056—
       more than double what the contract allowed. And although the contract only
       permitted a 3% administrative fee for tenant improvements, Visco Financial
       submitted 12% in fees (over $300,000) for approval. Shepos approved the 12% fee
       when he had no authority to do so. Shepos also approved fees based on services that
       did not qualify for payment under the contract.
             418. The County paid these fees directly to Visco personally—in part with
       federal funds—sending the payments to his P.O. box in Lancaster.
             419. At the time Visco’s fees were approved by the County, Shepos was
       taking bribes from Visco and had been doing so for years.
             420. Had the County known that Visco was paying bribes to Shepos in
       exchange for Shepos’s help in negotiating and securing the assignment, Shepos’s
       recommendation for Board approval, Shepos’s approval of inflated invoices, and
       other preferential treatment of the Visco Defendants, the County would not have
       approved Visco Financial for the improvement project or made any payments to
       Visco Financial in connection with the assignment.
             421. Each invoice submitted pursuant to County leases or other agreements
       impliedly certified that the Visco Defendants would comply with California law,
       which forbids County employees from receiving bribes or having a financial interest
       in any such contract. See Cal. Gov. Code § 1090. Every invoice submitted by the
       Visco Defendants knowingly included a false implied certification that the Visco
       Defendants had complied with these legal requirements.


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                            v.      43423 Division Street.
             422. On or about May 21, 2013, the County entered into a lease agreement
       with Fraber II, a company managed by Visco, for 43423 Division Street in Lancaster,
       California (Lease No. 77946) to house the County’s Probation Department.
             423. The lease has a base monthly rent of $24,150, totaling approximately
       $2.3 million in rent payments to Fraber II over an eight-year term.
             424. The lease was in effect from May 21, 2013 until May 20, 2021. The
       County paid Fraber II monthly rent through May 20, 2021, using a mixture of County,
       State, and federal funds.
             425. Section 31(b) of the lease prohibits County employees from soliciting
       consideration “in any form” from landlords and states that landlords “shall not offer
       or give [] consideration in any form to a County officer, employee or agent for the
       purpose of securing favorable treatment with respect to the award of the Lease.”
             426. Shepos was instrumental in the making of this contract and provided
       Visco with non-public County information in order to make it happen. Specifically,
       he told Visco the County needed a space for its Probation Department in Lancaster
       and asked if Visco knew anyone who might be willing to do a deal and work with the
       City of Lancaster. A few weeks later, Visco and Shepos made an arrangement for the
       County to lease Visco’s property. Shepos was the County’s agent with respect to the
       lease transaction.
             427. Shepos also authored a Board letter recommending approval of the lease
       with Visco. Specifically, the Board letter recommended that the Board “find that the
       project will not have a significant effect on the environment,” and “[a]pprove and
       instruct the chairman to sign the eight-year lease with Fraber II, LLC…for the
       occupancy of 13,800 rentable square feet of office space and 52 parking spaces.”
       Shepos also authored the Negative Declaration to the Board determining that “the
       project will not have a significant effect on the environment.” Shepos recommended
       the Board approve the lease because he had received and was continuing to receive
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       cash and other benefits from Visco.
             428. Additionally, Shepos served as the County’s representative for the Work
       Letter supplementing the lease that approved tenant improvements in the amount of
       $1,035,000 payable to Fraber II, LLC.
             429. In Lease No. 77946, Visco and Fraber II made the false representation
       that they (and the other Visco Defendants) had not and would not engage in bribery,
       and in turn, obtained lucrative government contracts based on those
       misrepresentations.
             430. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Visco Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Visco Defendants knowingly included a false implied certification
       that the Visco Defendants had complied with these legal requirements.
             431. Had the County known that Visco was paying bribes to Shepos in
       exchange for Shepos’s help in negotiating and securing the lease, Shepos’s
       recommendation for Board approval and other preferential treatment of the Visco
       Defendants, the County would not have entered the lease and the tenant improvement
       work contract, nor would it have made payments thereunder.
                    3.    Visco and Shepos Concealed Their Scheme.
             432. Shepos and Visco mutually agreed to take steps (and did take steps) to
       conceal the bribery scheme. They met in person to discuss their scheme, rather than
       putting anything in writing. Shepos hid Visco’s cash bribes from Ms. Gluck. Shepos
       did not report the cash or gifts he received from Visco on his Form 700s, or through
       any other means that could have provided the County with visibility into the scheme.
             433. In their leases with the County, as outlined above, the Visco Defendants
       also represented and affirmed their understanding that County employees like Shepos
       are prohibited from having any financial interest in County leases, and that landlords
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       are prohibited from giving County employees like Shepos any consideration in
       exchange for favorable treatment. The County relied on these representations and
       confirmations from the Visco Defendants.
                    4.    The Visco Defendants’ Agency and Alter-Ego Relationships.
             434. Based on Visco’s ownership and respective management roles within
       each of the other Visco Defendants, and the actions those entities took at Visco’s
       direction, all detailed above, Visco owns, controls, and/or directs the actions of the
       other Visco Defendants who, in doing the acts alleged herein, acted at their direction
       and/or with their permission, knowledge, consent or ratification.
             435. In the alternative—based on Visco’s ownership and respective
       management roles within each of the other Visco Defendants, and the actions those
       entities took at Visco’s direction, all detailed above—Visco was the alter ego of the
       other Visco Defendants; Visco dominated and controlled the other Visco Defendants;
       a unity of interest and ownership existed between Visco and the other Visco
       Defendants; the other Visco Defendants were mere shells and conduits for Visco’s
       affairs; the other Visco Defendants were inadequately capitalized; Visco and the
       other Visco Defendants failed to abide by the formalities of corporate existence; and
       Visco used the other Visco Defendants’ assets as their own and, in doing the things
       alleged herein, acted with such a unity of interest that the separate personalities of
       these corporate entities do not in reality exist and honoring their separate identities
       would bring about an inequitable result. The Visco Defendants did not respect
       corporate formalities because they used their companies as mere shells to carry out
       their bribery scheme. As one example, Visco provided Shepos with various trips and
       gifts, including a $5,000 gift certificate, which were intended to induce Shepos to
       provide illicit benefits to the Visco Defendants, such as lucrative County leases and
       Shepos’s approval of fraudulent reimbursement requests under Visco’s County
       contracts.


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             D.     The Neman Brothers.
             436. The Neman brothers—Leon, Yoel, and John—own Neman Brothers &
       Associates Inc., a wholesale fabric business operating out of New York and Los
       Angeles. The Nemans also own commercial real estate through holding companies
       such as Vertigo Real Estate Holdings LP and Legend Real Estate Management, Inc.
             437. The Nemans understood that Shepos was a high-ranking County
       employee with authority to bind the County to significant contracts and influence the
       County’s real estate decisions. For years, the Neman Defendants paid Shepos in cash
       and checks—both directly to Shepos and to his side business CT Management—in
       exchange for nonpublic County information and Shepos’s help securing a lucrative
       County lease in Palmdale, California.
             438. In 1998, for example, Neman Brothers paid Shepos $4,058. In 1999,
       Neman Brothers paid Shepos $4,531.93. In 2001, Neman Brothers paid Shepos
       $2,945. In 2006, Vertigo paid Shepos $5,000 through CT Management. And in 2010,
       Vertigo again paid Shepos $5,000 through CT Management. These payments from
       the Neman Defendants—all at the Nemans’ direction—are memorialized in
       contemporaneous Form 1099s issued to Shepos.
             439. On June 1, 2010, Shepos (using his personal email address) emailed
       Leon Neman instructing him to “make any commissions payable to CT Management
       as has been done in the past.”
             440. On or around September 1, 2010, Shepos deposited a check for $5,000
       from Legend—signed by Leon Neman—and made payable to CT Management, into
       his bank account.
             441. In total, the Nemans, through their entities, have paid Shepos at least
       $26,545 during Shepos’s tenure as a County employee—and without any legitimate
       business purpose. Those payments were bribes, which the Nemans intended to
       influence Shepos to provide nonpublic information about the County’s leasing needs
       and help them secure a lucrative County lease benefitting the Nemans.
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             442. On or about October 20, 1999, the County and the Neman brothers, in
       their personal capacities, entered into a lease agreement for 1529 East Palmdale
       Boulevard in Palmdale, California (Lease No. 72555). The County used this space to
       house the Department of Mental Health and the Sheriff’s Department.
             443. Under this lease, the County agreed to pay a monthly rent of $11,848.75
       for a period of ten years—totaling payments of approximately $1.4 million. The lease
       had two five-year renewal options. Throughout the term of the lease—including its
       subsequent renewals—the County made monthly rent payments as they became due,
       using a mixture of County, State, and federal funds.
             444. Shepos was the real property agent associated with the lease. Indeed,
       Shepos was instrumental in negotiating and securing approval of the lease. When the
       County needed a site to house the Department of Mental Health, Shepos steered the
       business to the Nemans, who had been unsuccessful in renting out their Palmdale
       space. Shepos also authored the Board letter recommending approval of the lease.
       Specifically, the Board letter recommended that the Board “[a]pprove and instruct
       the Chairman to sign the attached ten year lease with John Neman, Yoel Neman and
       Leon Neman (Lessors), for 7,656 rentable square feet of office space,” and “find that
       the project will not have a significant effect on the environment.”
             445. In June 2010, the County renewed the lease for a five-year term. Shepos
       authored the Board letter recommending that the Board “[e]xercise the option to
       renew the lease for a five-year term with John Neman, Leon Neman, and Yoel Neman
       (Lessors) for 9,479 rentable square feet of office space and 28 parking spaces.”
             446. After the initial 10-year term and the first five-year renewal, the County
       exercised its second option to renew the lease for another five years, under the same
       terms and conditions, with the rent adjusted for inflation per the U.S. Bureau of Labor
       Statistics’ Consumer Price Index (“CPI”).
             447. When the second renewal term lapsed, the County continued to occupy
       the premises until September 30, 2023 as a holdover tenant. During this period, the
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       County made monthly rental payments as they were due, using a mixture of County,
       State, and federal funds.
             448. In exchange for Shepos’s assistance in securing the Neman Lease, the
       Nemans bribed Shepos and gave him kickbacks in the form of cash payments
       between 1998 and 2010. As set forth above, the Neman Defendants were paying
       Shepos thousands of dollars both during the time when they negotiated the lease with
       the County and for years thereafter.
             449. Section 31(b) of the lease prohibits County employees from soliciting
       consideration “in any form” from landlords and states that landlords “shall not offer
       or give, either [] directly or through an intermediary, consideration, in any form, to a
       County officer, employee or agent for the purpose of securing favorable treatment
       with respect to the award of the lease.”
             450. In their County lease and renewals, the Nemans made the false
       representation that they (and the other Neman Defendants) had not and would not
       engage in bribery, and in turn, obtained lucrative government contracts based on
       those misrepresentations.
             451. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Neman Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Neman Defendants knowingly included a false implied certification
       that the Neman Defendants had complied with these legal requirements.
             452. Had the County known the Neman Defendants were bribing Shepos and
       paying him kickbacks in exchange for Shepos’s help in negotiating and securing the
       lease, Shepos’s recommendations for Board approval, and other preferential
       treatment of the Neman Defendants, the County would never have entered the Neman
       Lease, nor would it have made payments thereunder.
             453. Shepos and the Nemans mutually agreed, and took steps, to conceal their
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       bribery scheme. Rather than paying Shepos directly, the Nemans indirectly bribed
       Shepos through their entities, Neman Brothers, Vertigo, and Legend. Shepos
       disguised many of these bribe payments by receiving them through his side business,
       CT Management. Shepos never disclosed the payments he received from the Neman’
       entities to the County.
             454. In their lease with the County, the Nemans represented and affirmed
       their understanding that County employees like Shepos were prohibited from having
       any financial interest in County contracts and that landlords (including the Nemans)
       are prohibited from giving County employees any consideration in exchange for
       favorable treatment. The County relied on those representations by the Nemans in
       paying rent under their leases.
             455. Based on the Nemans’ ownership and respective management roles
       within each of the other Neman Defendants, and the actions those entities took at the
       Nemans’ direction, all detailed above, Leon, Yoel, and John Neman own, control,
       and/or directs the actions of Neman Brothers, Vertigo, and Legend, who, in doing the
       acts alleged herein, acted at their direction and/or with their permission, knowledge,
       consent or ratification.
             456. In the alternative—based on the Nemans’ ownership and respective
       management roles within each of the other Neman Defendants, and the actions those
       companies took at Leon, John, and Yoel Nemans’ direction, detailed above—the
       Neman brothers were alter egos of the other Neman Defendants; the Neman brothers
       dominated and controlled the other Neman Defendants; a unity of interest and
       ownership existed between the Neman and the other Neman Defendants; the other
       Neman Defendants were mere shells and conduits for the Neman brothers’ affairs;
       the other Neman Defendants were inadequately capitalized; the Neman and the other
       Neman Defendants failed to abide by the formalities of corporate existence; and the
       Neman brothers used the other Neman Defendants’ assets as their own and, in doing
       the things alleged herein, acted with such a unity of interest that the separate
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       personalities of these corporate entities do not in reality exist and honoring their
       separate identities would bring about an inequitable result. The Neman Defendants
       did not respect corporate formalities because they used their companies as mere shells
       to carry out their bribery scheme. As one example, Neman Brothers, Legend, and
       Vertigo paid bribes to Shepos and CT Management, which were intended to induce
       Shepos to provide the Neman Defendants with nonpublic information and secure a
       lucrative County lease for the Nemans.
             E.        Gregory Hanes.
             457. Gregory Hanes, a real estate developer in Lancaster, California, operates
       limited liability companies 300 K-6 and 43917 Division as the managing member of
       both LLCs.
             458. In or around 2010, after Shepos had helped Visco obtain several
       lucrative County leases, Visco introduced Shepos to his longtime associate Hanes,
       also a wealthy developer in Lancaster.
             459. Shepos and Hanes became fast friends. According to the County’s
       subsequent investigation, stemming from information the County received from Ms.
       Gluck, Hanes considered Shepos “a good friend” with an “extraordinary
       personality.”
             460. Around 2013 or 2014, Hanes invited Shepos to vacation with him and
       his son on a cross-country road trip. Shepos accepted and flew to New Orleans, where
       Shepos stayed as a guest in Hanes’s son’s hotel rooms in New Orleans, then in
       Memphis, and then in St. Louis. During this vacation, Hanes paid for Shepos’s hotel
       room and meals.
                       1.   Hanes’s Storage and Laundering of Bribery Proceeds.
             461. Hanes funneled hundreds of thousands of dollars in bribery proceeds to
       Shepos—including bribes from several other Defendants—helping conceal those
       bribes by storing large sums of cash for Shepos. In exchange, Shepos helped Hanes
       obtain lucrative County leases and tenant-improvements projects.
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             462. Hanes understood that Shepos was a high-ranking County employee
       with authority to bind the County to significant contracts and influence the County’s
       real estate decisions. Thus, Hanes helped Shepos conceal bribery proceeds intending
       to corrupt Shepos’s influence over the County for Hanes’s own (and his entities’)
       benefit.
             463. Shepos provided Hanes hundreds of thousands of dollars representing
       proceeds from his bribery schemes to store in bank accounts under Hanes’s and his
       entities’ names.
             464. Hanes is referred to as “Individual A” in Shepos’s guilty plea, which is
       attached as Exhibit A and incorporated by reference herein. In that plea agreement,
       Shepos admitted to giving Hanes cash to store for him on multiple occasions,
       including approximately $150,000 on one occasion, and on another occasion,
       between $25,000 and $40,000.
             465. On yet another occasion, according to the County’s subsequent
       investigation, stemming from information the County received from Ms. Gluck,
       Shepos gave Hanes $128,000 in cash to store in Hanes’s safe—telling Hanes it was
       a “real estate commission” that he needed to hide from his then-wife, Ms. Gluck. In
       Shepos’s plea agreement, he admitted that he had “arranged to receive improper
       kickbacks from real estate commissions on properties leased by the County.” Ex. A,
       at 15. According to the County’s subsequent investigation, stemming from
       information the County received from Ms. Gluck, Hanes agreed to store cash from
       Shepos’s real estate commission kickbacks in his office safe in a bank bag with
       Shepos’s name and the amount of money listed on the outside.
             466. According to the County’s subsequent investigation, stemming from
       information the County received from Ms. Gluck, Hanes said he agreed to store cash
       that Shepos received as “real estate commissions” as a “favor.”
             467. Hanes also helped Shepos launder bribe proceeds by funneling bribes to
       Shepos from other developers and contractors. For example, on multiple occasions
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       after approximately August 2013, at Shepos’s direction, Hanes cashed $25,000
       checks from an electrical contractor who was bribing Shepos in connection with
       County contracts. According to the County’s subsequent investigation, stemming
       from information the County received from Ms. Gluck, the electrical contractor wrote
       the checks to Hanes or his entities with falsified memo lines, and Hanes cashed those
       checks to store the cash proceeds in Shepos’s bank bag in Hanes’s safe.
             468. On another occasion, at Shepos’s direction, Hanes deposited a cashier’s
       check from the electrical contractor for Shepos into Hanes’s own bank account, and
       then used the funds to purchase a cashier’s check for Shepos. According to the
       County’s subsequent investigation, stemming from information the County received
       from Ms. Gluck, Hanes admitted that no one else had access to his US Bank account,
       and he signed the withdrawal slip for that cashier’s check. In Shepos’s plea
       agreement, he admitted to using the cashier’s check—which reflected bribe
       proceeds—to buy his daughter a car.
                    2.    The Hanes Defendants’ Tainted County Contracts.
             469. During the period when Hanes was storing and laundering bribe
       proceeds for Shepos, the County entered into and renewed several lease agreements
       involving Hanes in order to house certain County departments and programs. The
       County paid for these leases using money originating from a mixture of federal, State,
       and County grant funds.
             470. Shepos negotiated Hanes’s real estate contracts with the County on the
       County’s behalf, and Shepos recommended that the Board approve those contracts—
       all of which were signed while Shepos and the Hanes Defendants were engaged in
       the scheme described above. Shepos also acted as the County’s agent in overseeing
       and approving millions of dollars in renovations and tenant improvements on the
       properties Hanes leased to the County.
                         i.       300 East Avenue K-6.
             471. Through his company, 300 K-6, Hanes owned a building adjacent to
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       Visco’s properties on East Avenue K-6 in Lancaster. Immediately after Visco
       introduced them, Shepos began negotiating directly with Hanes to lease the property
       for the Department of Children and Family Services (“DCFS”).
             472. In or around January 2010, Shepos prepared an Initial Study and
       Negative Declaration pursuant to CEQA determining that the lease project would not
       significantly affect the environment. The Initial Study, which was posted publicly on
       January 15, 2010, states that it was “prepared by Thomas Shepos of the Los Angeles
       County Chief Executive Office, Real Estate Division,” and “completed on January
       14, 2010.” The Negative Declaration, which was also completed on January 14, 2010,
       and posted publicly on January 15, 2010, lists Shepos as the Real Property Agent.
             473. Shepos then authored a Board letter, which was submitted to the Board
       on March 30, 2010, stating “IT IS RECOMMENDED THAT YOUR BOARD”
       take several specific actions, including: (i) find “that there is no substantial evidence
       that the project will have a significant effect on the environment”; (ii) “find that the
       Negative Declaration reflects the independent judgment and analysis of the Board
       and adopt the Negative Declaration”; (iii) “[a]pprove and instruct the Chair to sign
       the lease with Gregory Hanes (Landlord) for 11,000 rentable square feet of office
       space located at 300 East Avenue K-6, Lancaster, for [DCFS] at a maximum annual
       first year rent of $592,680,” which included annual base rent of $262,680 and
       reimbursement of lump sum payments of $55,000 for tenant improvements and
       $270,000 for furniture expenses; and (iv) authorize the landlord, “at the discretion
       ofthe Chief Executive Officer, to acquire telephone, data and low voltage systems for
       [DCFS] at a cost not to exceed $300,000,” reimbursable by the County in addition to
       other tenant improvements.
             474. On or about March 30, 2010, the Board adopted Shepos’s
       recommendations, and the County entered into a lease agreement with Hanes, in his
       personal capacity, for 300 East Avenue K-6 in Lancaster, California (Lease No.
       77260), under which the County agreed to pay a base monthly rent of $21,890 for a
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       period of five years—totaling payments of approximately $1.3 million. At all times,
       the County made monthly rent payments as they were due under the lease, in part
       with federal funds.
             475. As Shepos recommended, the lease also authorized reimbursement of
       up to $55,000 for tenant improvements, and up to $270,000 in furniture expenses.
       300. Shepos was the primary County employee who oversaw all of the tenant
       improvements, and he dealt directly with Hanes. According to the County’s
       subsequent investigation, stemming from information the County received from Ms.
       Gluck, Shepos and Hanes spoke daily, and every Wednesday, Shepos visited the
       property. Shepos often spent the entire day with Hanes, and Visco would meet with
       them for lunch prepared by Hanes’s chef.
             476. During the first year of the lease, the County reimbursed Hanes for
       tenant improvements and furniture expenses pursuant to the terms of the lease that
       Shepos negotiated on its behalf, in addition to hundreds of thousands of dollars in
       additional tenant improvements above those authorized by the lease. These additional
       tenant improvements were reimbursed at Shepos’s direction.
             477. On November 8, 2010, Shepos authored a memorandum directing the
       County’s Rent/Budget Administration Section to “reimburse landlord Gregory Hanes
       in the amount of $52,946 for the over standard Tenant Improvements for 300 East
       Avenue K-6.”
             478. On June 21, 2011, Shepos authored a memorandum informing the
       County’s Rent/Budget Administration Section that additional “expenses ha[d] been
       reconciled and TI reimbursement payments shall commence.” It further directed that
       “[f]urniture expenses in the amount of $281,234.76 shall be reimbursed over 60
       months at an amortization rate of 8%, resulting in a monthly reimbursement payment
       of $5,702.43” and therefore “[t]he total monthly payment shall increase to
       $27,592.43 by combining the reimbursement payment of $5,702.43 with the monthly
       base rental payment of $21,890.00.” The memorandum further stated that “A LUMP
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       SUM PAYMENT MAY BE REQUIRED FOR PAYMENTS IN ARREARS.”
             479. On June 21, 2011, Shepos authored a memorandum directing the
       County’s Rent/Budget Administration Section to “make a lump sum payment to pay
       off Tenant Improvements in the amount of $251,895.56.” The memorandum included
       a note stating “[h]old check for Thomas Shepos, Real Property Agent.”
             480. Shepos subsequently negotiated to amend the lease with Hanes, and he
       authored a letter recommending that the Board approve the amendment. Specifically,
       the letter, which was submitted to the Board on October 30, 2012, stated “IT IS
       RECOMMENDED THAT THE BOARD” take three specific actions, including: (i)
       “[a]pprove and instruct the Chairman to sign the lease amendment with Gregory
       Hanes (Landlord), for [DCFS] to add approximately 35,000 rentable square feet of
       space to the 11,000 rentable square feet square space of existing space located at 300
       East Avenue K-6, Lancaster, at an annual first year base rent of $1,076,400, plus first
       year payment of $1,400,000 reimbursement for additional tenant improvements,
       furniture, and change order allowances via lump sum, or amortized at 332,660
       annually over a five-year period”; (ii) “[f]ind that the lease amendment is
       categorically exempt from the provisions of the California Environmental Quality
       Act”; and (iii) authorize the landlord, “at the discretion of the Chief Executive
       Officer, to acquire telephone systems for [DCFS] at a cost not to exceed $1,200,000,”
       reimbursable by the County in addition to other tenant improvements.
             481. On or about October 30, 2012, the Board adopted Shepos’s
       recommendations, and the County and Hanes entered into Amendment No. 1 to the
       lease. The amendment expanded the scope of the lease to a secondary premises of
       35,000 additional square feet and extended the lease term through October 14, 2020
       at a monthly rent of $89,700—totaling in excess of $8 million. The amendment also
       authorized reimbursement of $1.4 million in additional tenant improvements, as
       Shepos recommended.
             482. As with the initial lease, Shepos acted as the County’s agent in
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       overseeing the tenant improvements on the additional space, and he authored
       numerous memoranda directing the County to make reimbursement payments to
       Hanes.
             483. On April 15, 2013, Shepos authored a memorandum that directed the
       County’s Rent/Budget Administration Section to “make a lump sum payment to pay
       off furniture in the amount of $1,095,140.45,” and again included a note stating
       “[h]old check for Thomas Shepos, Real Property Agent.”
             484. On May 9, 2013, Shepos authored three memoranda to the County’s
       Rent/Budget Administration Section:
                   a)    The first memorandum directed the County’s Rent/Budget
                         Administration Section to “make a lump sum payment to pay off
                         Tenant Improvements . . . in the amount of $307,213.34.” This
                         memorandum also included a note stating “[h]old check for
                         Thomas Shepos, Real Property Agent.”
                   b)    The second memorandum directed the County’s Rent/Budget
                         Administration Section to “make a lump sum payment to pay off
                         CCTV System (Security) . . . in the amount of $39,850.75.”
                         Again, the memorandum included a note stating “[h]old check for
                         Thomas Shepos, Real Property Agent.”
                   c)    The third memorandum advised the County’s Rent/Budget
                         Administration Section that “Rental Payments shall be increased
                         to $89,700.00 pursuant to the DCFS expansion as approved by
                         the Board of Supervisors on October 30, 2012.” Notably, this
                         expansion and rent increase was approved pursuant to the Board
                         recommendation letter authored by Shepos on October 30, 2012,
                         as alleged in detail above.
             485. On July 11, 2013, Shepos authored yet another a memorandum directing
       the County’s Rent/Budget Administration Section to “make a lump sum payment to
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       pay off Tenant Improvements in the amount of $2,500.00.”
             486. Shepos subsequently negotiated to further amend the lease with Hanes,
       and he authored a letter recommending that the Board approve the second
       amendment. Specifically, the letter, which was submitted to the Board on November
       1, 2016, stated “IT IS RECOMMENDED THAT THE BOARD” take three
       specific actions, including: (i) “[a]pprove and instruct the Chairman to sign the lease
       amendment with Gregory Hanes (Landlord), for [DCFS] at 300 East Avenue K-6,
       Lancaster, to extend the normal working hours by one hour to start at 6:00 a.m. and
       allow the County to reimburse the Landlord for after-hours heating ventilation and
       air conditioning at the rate of $45.00 per hour as additional rent”; (ii) “[f]ind that the
       proposed lease amendment is categorically exempt from the provisions of the
       California Environmental Quality Act”; and (iii) “[a]uthorize and direct the Chief
       Executive Officer, or her designee, to execute any other ancillary documentation
       necessary to effectuate the lease amendment, and authorize the Chief Executive
       Officer and the Director of [DCFS] to take actions necessary and appropriate to
       implement the project.”
             487. On or about November 1, 2016, the Board adopted Shepos’s
       recommendations, and the County and 300 K-6 entered into Amendment No. 2 to the
       lease. The Landlord’s Work Letter attached to Amendment No. 2 authorized
       $1,190,000 in additional tenant improvements and listed Shepos as the County’s
       Work Letter Representative.
             488. On December 22, 2016, Shepos authored a memorandum directing the
       County’s Rent/Budget Administration Section to make a lump sum payment in the
       amount of $23,850.00 to reimburse 300 K-6 “for after-hours HVAC for June through
       October 2016.”
             489. Section 31(b) of the lease agreement contains an express
       acknowledgment by Hanes that County employees are forbidden from soliciting
       consideration “in any form” from a landlord “with the implication, suggestion or
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       statement that the landlord’s provision of the consideration may secure more
       favorable treatment for the landlord in the award of the Lease or that landlord’s
       failure to provide such consideration may negatively affect the County’s
       consideration of the landlord's offer to lease.” It further provides that “[a] landlord
       shall not offer or give, either directly or through an intermediary, consideration in
       any form to a County officer, employee or agent for the purpose of securing favorable
       treatment with respect to the award of the Lease.”
             490. Neither Amendment No. 1 nor Amendment No. 2 altered or invalidated
       Hanes’s express acknowledgment in section 31(b), which was reaffirmed by Hanes
       through his execution of both amendments.
             491. The lease and both amendments were signed during the period when the
       Hanes Defendants were participating in Shepos’s bribery scheme—storing and
       laundering money for Shepos in exchange for lucrative County contracts, as set forth
       above.
             492. As alleged in detail above, Shepos negotiated the lease and its
       amendments, authored the Board letters recommending approval of the five-year
       lease and its amendments, oversaw the tenant improvements, and authored numerous
       memoranda directing the County’s Rent/Budget Administration Section to make rent
       and reimbursement payments under this lease.
             493. In their County lease, Hanes and 300 K-6 made the false representation
       that they had not and would not engage in bribery, and in turn, obtained lucrative
       government contracts based on those misrepresentations.
             494. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Hanes Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Hanes Defendants knowingly included a false implied certification
       that the Hanes Defendants had complied with these legal requirements.
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             495. Had the County known that Hanes was storing and laundering cash for
       Shepos in exchange for Shepos’s help in negotiating and securing the lease and
       amendments, Shepos’s recommendations for Board approval, and other preferential
       treatment of the Hanes Defendants, the County would not have entered the lease,
       Amendment No. 1, or Amendment No. 2, nor would it have made payments
       thereunder.
                        ii.      43917 North Division Street.
             496. After successfully orchestrating the lease for DCFS at 300 East Avenue
       K-6, Shepos then offered for lease by the County another property Hanes owned,
       through his entity 43917 Division.
             497. On or about June 16, 2015, the County and 43917 Division entered into
       a lease agreement for 43917 North Division Street in Lancaster, California (Lease
       No. 78386). The County used the space to house the County’s Probation Department.
             498. Under this lease, the County agreed to pay a base monthly rent of
       $27,125—totaling in excess of $2.6 million over its eight-year term. The base
       monthly rent payments were also subject to annual CPI adjustments of up to 4%.
       Additionally, the lease provided for tenant improvements in the amount of
       $1,085,000, with a change order allowance of $77,500, as well as $475,000 for
       telephone, data, and low voltage systems, all reimbursable by the County.
             499. At all times, the County made monthly rent payments—in part with
       federal funds—as they were due under the lease terms Shepos negotiated, including
       increased rent payments pursuant to the provision requiring annual CPI adjustments.
       Specifically, pursuant to Section 5 of the lease, the County’s rent payments increased
       to: (i) $27,840.03 on September 1, 2017; (ii) $28,916.38 on September 1, 2018; (iii)
       $29,774.55 on September 1, 2019; (iv) $30,374.97 on September 1, 2020; (v)
       $31,459.97 on September 1, 2021; and (vi) $32,544.97 on September 1, 2022.
             500. The County also made numerous reimbursement payments to 43917
       Division pursuant to the terms of the lease and memoranda authored or approved by
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       Shepos directing such payments.
             501. For example, on February 9, 2016, Shepos directed another CEO-RED
       employee, Scott Garrett, to author a memorandum directing the County’s
       Rent/Budget Administration Section to make a lump sum progress payment of
       $171,098.48 as reimbursement for low voltage costs pursuant to the lease.
             502. On April 29, 2016, Shepos approved another memorandum directing the
       County’s Rent/Budget Administration Section to make a lump sum progress payment
       of $260,943.84 as reimbursement for additional tenant improvements pursuant to the
       lease. Over the next few months, the County made additional lump sum progress
       payments of $241,524.35 (on June 2, 2016) and $485,500.82 (on July 7, 2016) as
       reimbursement for further tenant improvements. On July 6, 2016, the County also
       made a payment of $193,020.85 as reimbursement for low voltage costs pursuant to
       the lease.
             503. Similarly, on September 22, 2016, Shepos approved a memorandum
       directing the County’s Rent/Budget Administration Section to make a lump sum
       progress payment of $174,449.74 to reimburse additional tenant improvements
       pursuant to the lease.
             504. On July 18, 2017, Shepos also authored a memorandum directing the
       County’s Rent/Budget Administration Section to make a payment of $5,576.52 as
       reimbursement for low voltage costs pursuant to the lease.
             505. Section 31(b) of the lease contains an express acknowledgment by
       43917 Division that County officers and employees may not solicit consideration “in
       any form” from a landlord to secure favorable treatment for the landlord. Under the
       same provision, 43917 Division agreed that it “shall not offer or give [] consideration
       in any form to a County officer, employee or agent for the purpose of securing
       favorable treatment with respect to the award of the Lease.
             506. Shepos negotiated the lease on behalf of the County, and he directed or
       approved hundreds of thousands of dollars in reimbursement payments under the
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       lease, all during the period when the Hanes Defendants were participating in
       Shepos’s bribery scheme, as set forth above.
             507. In their County lease, Hanes and 43917 Division made the false
       representation that they had not and would not engage in bribery, and in turn,
       obtained lucrative government contracts based on those misrepresentations.
             508. Moreover, each invoice submitted pursuant to County leases or other
       agreements impliedly certified that the Hanes Defendants would comply with
       California law, which forbids County employees from receiving bribes or having a
       financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
       submitted by the Hanes Defendants knowingly included a false implied certification
       that the Hanes Defendants had complied with these legal requirements.
             509. Had the County known that Hanes was storing and laundering cash for
       Shepos in exchange for Shepos’s help in negotiating and securing the lease and other
       preferential treatment of the Hanes Defendants, the County would not have entered
       the lease, nor would it have made payments thereunder.
                    3.    Hanes and Shepos Concealed Their Bribery and Money-
                          Laundering Scheme.
             510. As alleged above, Hanes is referred to as “Individual A” in Shepos’s
       plea agreement. Shepos and the Hanes Defendants mutually agreed to take steps (and
       did take steps) to conceal the bribery scheme and their money laundering. Shepos
       never disclosed to the County that he had a personal financial relationship with
       Hanes, or that Hanes was assisting him by funneling bribe payments to him from
       other County contractors.
             511. In their leases with the County, as outlined above, the Hanes Defendants
       also represented and affirmed their understanding that County employees like Shepos
       are prohibited from having any financial interest in County leases, and that landlords
       are prohibited from giving County employees like Shepos any consideration in
       exchange for favorable treatment. The County relied on these representations and
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       confirmations from the Hanes Defendants.
                    4.    The Hanes Defendants’ Agency and Alter-Ego Relationships.
             512.   Based on Hanes’s ownership and management role within the other
       Hanes Defendants, 300 K-6 and 43917 Division, and the actions those entities took
       at Hanes’s direction, all detailed above, Hanes owns, controls, and/or directs the
       actions of the other Hanes Defendants who, in doing the acts alleged herein, acted at
       their direction and/or with their permission, knowledge, consent or ratification.
             513. In the alternative—based on Hanes’s ownership and management role
       within the other Hanes Defendants, 300 K-6 and 43917 Division, and the actions
       those entities took at Hanes’s direction, all detailed above—Hanes was the alter ego
       of the other Hanes Defendants; Hanes dominated and controlled the other Hanes
       Defendants; a unity of interest and ownership existed between Hanes and the other
       Hanes Defendants; the other Hanes Defendants were mere shells and conduits for
       Hanes’s affairs; the other Hanes Defendants were inadequately capitalized; Hanes
       and the other Hanes Defendants failed to abide by the formalities of corporate
       existence; and Hanes used the other Hanes Defendants’ assets as their own and, in
       doing the things alleged herein, acted with such a unity of interest that the separate
       personalities of these corporate entities do not in reality exist and honoring their
       separate identities would bring about an inequitable result. The Hanes Defendants
       did not respect corporate formalities because they used their companies as mere shells
       to carry out their bribery scheme. As one example, Hanes stored hundreds of
       thousands of dollars for Shepos, derived from Shepos’s bribery schemes with other
       developers and businesspersons, and laundered bribery proceeds for Shepos by
       cashing checks made out to Hanes’s entities—all to induce Shepos to provide illicit
       benefits to Hanes and his entities, 300 K-6 and 43917 Division.
             514. On information and belief—based on Hanes’s longtime association with
       Visco, and Visco’s introduction of Hanes to Shepos, seemingly for the purpose of
       facilitating an improper relationship between Hanes and Shepos resembling the
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       improper relationship between Visco and Shepos—the Hanes Defendants also
       conspired with the Visco Defendants.
       IV.   Ms. Gluck Is the Original Source of Multiple Federal Indictments and the
             County’s Far-Reaching Investigation.
             515. As described above, Ms. Gluck cooperated with the federal government,
       disclosing documents and electronic devices and meeting with FBI agents on
       numerous occasions. Ms. Gluck’s cooperation directly led to the indictments of, and
       guilty pleas from, at least Shepos and Arman Gabaee.
             516. Ms. Gluck also cooperated with the County and its investigators,
       meeting with agent Bell on many occasions and disclosing evidence to assist him in
       his investigation. Ms. Gluck’s assistance triggered the County’s investigation
       revealing that Shepos tainted hundreds of millions of dollars of County contracts with
       his fraud and corruption.
             517. Ms. Gluck also cooperated with—and was the original source of
       information about Shepos’s bribery schemes provided to—State investigators Pollie
       Pent and Randy Hudson, who visited Ms. Gluck along with County investigator Bell.
             518. Ms. Gluck’s Original Complaint, filed on March 11, 2019, exposed
       Shepos’s bribery scheme and revealed that he was at the center of a multi-pronged
       conspiracy involving numerous government contractors, a shared modus operandi,
       and coordination of the scheme with Frank Visco and his associates.
             519. Ms. Gluck alleged that Shepos provided those who bribed him with
       broad-ranging benefits, including contracts; “non-public information” as to the
       County’s future plans; “above market rents, phantom improvement charges, and
       inflated management costs and utilities”; payments “on fraudulent invoices to the
       County for inflated utility costs and improvements that were never made”; and more.
       Dkt. 1 ¶¶ 2, 9, 17.
             520. Ms. Gluck’s Original Complaint outlined the ways in which she had
       cooperated with the FBI in 2015 and 2016 and County and State investigators
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       beginning in 2017, naming specific individuals she met with from each agency. Dkt.
       1 ¶¶ 27-30. Ms. Gluck also explained that the information she provided to the FBI
       (and subsequently to County and State investigators) is what “resulted in the
       indictment of Arman Gabaee, the initiation of a County investigation into Tom
       Shepos’s deals for the County, and the guilty plea of Tom Shepos . . . .” Id. ¶ 32.
             521. Ms. Gluck’s Original Complaint also made clear that while the facts
       underlying her complaint included those in Shepos’s guilty plea, her complaint was
       not so limited. Instead, Ms. Gluck alleged that Shepos’s bribery scheme included
       numerous Defendants other than those named in federal indictments and also
       included DOE Defendants who “advance[d] fraudulent acts” carried out by Shepos
       but whose identities were not yet known. Id. ¶ 6.
             522. Ms. Gluck described Shepos’s modus operandi in connection with his
       bribery scheme in great detail: that he received bribes in numerous forms ranging
       from “cash and bank deposits,” to “hundreds of thousands of dollars in free home
       construction,” to “tickets to concerts and sporting events,” and more. Id. ¶ 2. Ms.
       Gluck also explained how Shepos went to great lengths to conceal such bribes,
       including by hiding them in the names of other individuals. Id. ¶ 19 (noting one
       example in which he hid a bribe under the name of his “roommates”).
             523. Ms. Gluck satisfied her obligation as a relator to provide material
       evidence to the government after filing her qui tam action.
             524. Based on the foregoing, Ms. Gluck is an original source of the
       information underlying this Complaint because, at the very least, she (a) voluntarily
       disclosed to Los Angeles County, the federal government, and the State the
       information on which the allegations are based and (b) has knowledge that is
       independent of, and materially adds to, any previous public disclosure relating to
       these allegations and provided those facts to Los Angeles County before filing this
       action.


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                                    FIRST CLAIM FOR RELIEF
       (on behalf of the United States of America against Shepos, the Gabaee Defendants,
          the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                         Hanes Defendants)
                   Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A)
              525. The allegations contained in paragraphs 1 through 524 are incorporated
      in full as if set forth herein.
              526. The allegations contained in the County of Los Angeles’ Amended
      Complaint in Intervention are incorporated in full as if set forth herein.
              527. Through the acts described above, the Defendants, their agents, and
      employees, knowingly presented and caused to be presented materially false and
      fraudulent claims to the County, State, and federal governments, and knowingly failed
      to disclose material facts, in order to obtain payment and approval from the County,
      State, and federal governments. Defendants presented false and fraudulent claims in
      not only obtaining leases and related contracts from the County, but also each time
      Defendants submitted invoices pursuant to an existing lease or contract.
              528. The County, State, and federal governments, unaware of the falsity of
      the claims made and submitted by the Defendants, their agents, and employees, and
      as a result thereof paid money that they otherwise would not have paid.
              529. By reason of the payments made by the County, State, and federal
      governments as a result of the Defendants’ fraud, the County, State, and federal
      governments each suffered millions of dollars in damages.
              530. Wherefore, Qui Tam Plaintiff prays for relief as set forth below.




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                                  SECOND CLAIM FOR RELIEF
       (on behalf of the United States of America against Shepos, the Gabaee Defendants,
          the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                         Hanes Defendants)
                   Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)
              531. The allegations contained in paragraphs 1 through 524 are incorporated
      in full as if set forth herein.
              532. The allegations contained in the County of Los Angeles’ Amended
      Complaint in Intervention are incorporated in full as if set forth herein.
              533. Through the acts described above, the Defendants, their agents, and
      employees, knowingly made, used, and caused to be made and used materially false
      records and statements, which also omitted material facts, in order to induce the
      County, State, and federal governments to approve and pay false and fraudulent
      claims. Defendants made and used false and fraudulent records and statements in not
      only obtaining leases and related contracts from the County, but also each time
      Defendants submitted invoices pursuant to an existing lease or contract.
              534. The County, State, and federal governments, unaware of the falsity of
      the claims made and submitted by the Defendants, their agents, and employees, and
      as a result thereof paid money that they otherwise would not have paid.
              535. By reason of the payments made by the County, State, and federal
      governments as a result of the Defendants’ fraud, the County, State, and federal
      governments each suffered millions of dollars in damages.
              536. Wherefore, Qui Tam Plaintiff prays for relief as set forth below.




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                                   THIRD CLAIM FOR RELIEF
       (on behalf of the United States of America against Shepos, the Gabaee Defendants,
            the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                           Hanes Defendants)
                     Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(C)
              537. The allegations contained in paragraphs 1 through 524 are incorporated
      in full as if set forth herein.
              538. The allegations contained in the County of Los Angeles’ Amended
      Complaint in Intervention are incorporated in full as if set forth herein.
              539. Through the acts described above, the Defendants, their agents, and
      employees, conspired to knowingly make, use, and cause to be made and used
      materially false records and statements, which also omitted material facts, in order to
      induce the County, State, and federal governments to approve and pay false and
      fraudulent claims. Defendants conspired to make false and fraudulent records and
      statements in not only obtaining leases and related contracts from the County, but also
      each time Defendants submitted invoices pursuant to an existing lease or contract.
              540. The County, State, and federal governments, unaware of the falsity of
      the records, statements, and claims made and submitted by the Defendants, their
      agents, and employees, and as a result thereof paid money that they otherwise would
      not have paid.
              541. By reason of the payments made by the County, State, and federal
      governments as a result of the Defendants’ fraud, the County, State, and federal
      governments have each suffered millions of dollars in damages.
              542. Wherefore, Qui Tam Plaintiff prays for relief as set forth below.
                                        PRAYER FOR RELIEF
              543. Qui Tam Plaintiff prays for judgment against the Defendants, and each
      of them, as follows:
                     a)      For damages in an amount equal to three times the amount of
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                        damages the federal government sustained as a result of the
                        Defendants’ unlawful conduct;
                  b)    For civil monetary penalties for each false and fraudulent claim
                        submitted to the County, State, and federal governments;
                  c)    For attorneys’ fees and costs, including the Qui Tam Plaintiffs’
                        attorneys’ fees and costs;
                  d)    For an order awarding the Qui Tam Plaintiff the maximum
                        awards allowed by the California False Claims Act and federal
                        False Claims Act; and
                  e)    For such other further relief as the Court may deem just and
                        proper.
                                     JURY DEMAND
            544. Qui Tam Plaintiff Karen Gluck demands a trial by jury.




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       Dated: November 22, 2024          SUSMAN GODFREY L.L.P.
                                         By: /s/ Connor Cohen
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